                Case 21-02590-dd                  Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Rockland Industries, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  235 Calhoun Street
                                  Bamberg, SC 29003
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bamberg                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  253 Calhoun Street Bamberg, SC 29003
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.Roc-Lon.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Rockland Industries, Inc.                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3133

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    Rockland Industries, Inc.                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Rockland Industries, Inc.                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 5, 2021
                                                  MM / DD / YYYY


                             X   /s/ Mark Berman                                                          Mark Berman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Michael M. Beal                                                       Date October 5, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael M. Beal
                                 Printed name

                                 Beal, LLC
                                 Firm name

                                 PO Box 11277
                                 Columbia, SC 29211
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     803-728-0803                  Email address      ccooper@bealllc.com

                                 1253 SC
                                 Bar number and State




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Rockland Industries, Inc.
Consolidated Balance Sheet




                                         August-21         July-21
ASSETS
Current Assets

Cash                                          275,344           286,758
Accounts Receivable-Trade                     244,749           225,055
Inventories
    Raw Materials                            1,390,434        1,581,393
    WIP                                        382,897          307,453
    Finished Goods                              96,456          199,420
    Less:Reserve                            (1,754,905)      (1,897,478)
      Total Inventory                          114,882          190,788

Prepaids                                        20,650           23,970

Total Current Assets                          655,626           726,571

Property, Plant & Equipt                     2,393,822        2,416,253
Deferred Tax Assets                            322,513          322,513

Total Assets                                 3,371,961        3,465,337


LIABILITIES & EQUITY
Current Liabilities

Accounts Payable                             3,239,400        3,251,157
Notes Payable                                  219,833          219,833
Accruals & Other                              (106,790)        (276,844)

Total Current Liabilities                    3,352,443        3,194,146

Other Long-Term Liabilities                  1,770,693        1,770,693
Deferred Income Tax                           (611,660)        (611,660)

Total Liabilities                            4,511,476        4,353,179

Shareholders' Equity                        (1,139,515)        (887,842)

Total Liabilities & Equity                  $3,371,961       $3,465,337

                                                     $0              $0
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Rockland Industries, Inc.
Income Statement
Year-to-Date


                                       August                    August
                                        2021                      2020

Outside Sales                              75,907                   178,633
Less: Returns and Allowances                  -                       3,391

 Net Sales                                 75,907     100.00%       182,024    100.00%


Cost of Goods Sold                        153,045     201.62%       337,196    185.25%


Gross Profit                               (77,138)   -101.62%     (155,172)    -85.25%


SG&A Expenses                             171,778     226.30%       207,083    113.77%


Operating Income                          (248,916)   -327.92%     (362,255)   -199.01%


Interest                                       339      0.45%           658      0.36%
Other                                        2,791      3.68%        42,416     23.30%


Pretax                                    (252,046)   -332.05%     (405,329)   -222.68%


Tax Provision                                           0.00%                    0.00%


Net Income                                (252,046)   -332.05%     (405,329)   -222.68%
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Rockland Industries, Inc.
Cash Flow Statement
For the Year-to-Date Period Ended               Aug-21


Cash flow from operating activities

Net Income (Loss)                                  (252,046)
Depreciation                                         19,149
Amortization
Other                                                    373
Gain on Disposal Of Assets

Change in Assets and Liabilities

 Change in AR                                      (19,694)
 Change in Inventory                                75,906
 Change in Prepaids                                  3,320
 Change in AP                                      (11,757)
 Change in Accruals                                170,054
 Change in Deferred IncomeTax                          -
 Change in Retirement Benefits                         -


Net Fixed Asset Change                                3,281

Net change in Line of Credit
Net change in Long-Term Debt
Change in Related Party Notes                            -
Dividends                                                -

Net Increase (Decrease) in Cash                     (11,414)

Cash, beginning of Fiscal Year                     286,758     286,758

Cash, end of Period                                275,344     275,344
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Rockland Industries, Inc.
Cash Flow Projections
Beginning October 4, 2021
                                                                                             Estimated      Payment         Payment
             Vendor Name                                     Description                      Amount        Due Date        Frequency


Estimated AR Cash Collections            future collections estimate                            152,254
Estimated Duty Drawback                  future collections estimate                            230,000
Furniture, Fixture & Office Equipment    future collections estimate
Equipment Proceeds                       future collections estimate                          1,000,000
Real Estate Proceeds                     future collections estimate


Total Cash Proceeds


Payroll
 ADP                                     weekly payroll and vacation payout
 FICA
Total Payroll


Employee Benefits

ADP Processing Charges                   payroll administration                                           end of month        monthly
Health Plan Termination Penalty          potential liability                                     27,500
Delta Dental                             employee paid
Workmen's Compensation                   Estimate subject to year-end audit                       5,375   Feb                 annual
ARPS Administration                      401K adminstration - balance to be confirmed             1,300                      quarterly
Assured Partners                         1094/1095 tax reporting for calendar 2021
Total Employee Benefits


Utilities
Baltimore Gas & Electric                 corporate office occupancy through November              1,300               15      monthly
SC Board of Public Works                 SC utilities                                            20,000                21     monthly
Edisto Butane                            forklift propane                                           500               10      monthly
SCE&G/Dominion/city & Denmark            Warehouse property utilities                               460                1      monthly
AT&T - Bamberg DSL for SIP               phone lines for Bamberg                                     64                30     monthly
AT&T - Park Phone and Alarm              $35 per line - 2 lines + taxes and fees                    100                30     monthly
AT&T - Bamberg Office Fax and Alarm      $35 per line - 2 lines + taxes and fees                    100                30     monthly
AT&T - Warehouse Property                $35 per line - 2 lines + taxes and fees                    350                30     monthly
AT&T Mobility                            cell phones                                                230                30     monthly
Verizon - Remote Call Forwarding                                                                     41                30     monthly
Comcast                                  MD internet providor or post-lease alternatie              880               22      monthly
Atlantic Broadband                       SC internet provider or post-lease alternative           1,078               22      monthly
Mitel                                    Data connection/MPLS phone circuit to SC & MD            4,916               25      monthly
                                         local phone lines (SC/MD MPLS charges end Nov
                                         2021)
Vertical Communications                  SC phone systems                                          230                10      montly
Total Utilities


Insurance
 Westfield                              CGL. Auto, Umbrella 3/15/22                                                   15      monthly
 HMS Property - First Insurance Funding property insurance (9 installments through 4/1/20)        4,517                1      monthly
                                        Prepay 6 payment upon bankruptcy filing
 Travelers                              ERISA Bond                                                        Jan 31st            annual
 Chubb fiduciary                        401K plan                                                 2,113   Sept 28th           annual
 Total Insurance




                                                                                                                               1 of 3                                          Monthly Cash Flow Projections as of 10-1-2021 Cash Flow Projections
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Rockland Industries, Inc.
Cash Flow Projections
Beginning October 4, 2021
                                                                                       Estimated    Payment         Payment
            Vendor Name                              Description                        Amount      Due Date        Frequency

Information Technology
 Anysystem (MD)                  Sunserver maintenance contract (no charges at this                                 semi-annual
                                 time)                                                             April/October
Anysystem (SC)                   Sunserver maintenance contract (no charges at this                                   annual
                                 time)                                                             November
Vertical Communications          MD phone system maintenance                               2,738   March              annual
Apiphani                         SAP basis support                                         2,090                     monthly
TRG Networking                   Network support and nightly cloud backup                    804              31     quarterly
Sonic Wall 2400 - quarterly      IT firewall security - email & file servers (TRG or       1,296                     quarterly
                                 alternative)
Baracuda - annual January        IT spamware security - email & file servers (TRG or
                                 alternative                                               3,193 January              annual
Total IT & Communications cost


Administrative
Hill Management                  Corporate Office Lease                                   12,000               1      monthly
Wells Fargo - SC Ricoh Copier    SC copier                                                   206              25      monthly
Advanced Business Systems        MD copier                                                   720              15      monthly
Postage                                                                                      -                        weekly
Office Supplies                                                                              -                        weekly
Plant Maintenance and Supplies                                                               -                        weekly
Auto & Truck                                                                                 -                        monthly
Multi-Corp                       office clearning service                                                      7      monthly
Waste Management of Maryland     trash removal                                               -                15      monthly
Total Administrative Expenses


Professional Services
 Shapiro                         liquidation
 Posner                          auction
 TM Capital                      potential commission
 Michael Beal                    legal services
 Nexsen Pruet                    legal services
 SC&H                            401K 401K audit and estimated income tax
                                 preparation

Total Professional Services


Commissions
Jones
Lim
Guy
Nuno
Total Commissions




                                                                                                                       2 of 3                                          Monthly Cash Flow Projections as of 10-1-2021 Cash Flow Projections
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Rockland Industries, Inc.
Cash Flow Projections
Beginning October 4, 2021
                                                                                 Estimated     Payment           Payment
              Vendor Name                        Description                      Amount       Due Date          Frequency

Taxes
 MD Sales and Use Tax
 SC Sales and Use Tax
 Property Tax - MD personal   MD personal property                                           July                  annual
 Alice P. Johnson             SC real and personal property in advance of
                              liquidation
Total Taxes


Financing Costs
Bank of America               bank service charges                                                          1      monthly
CIT                           factor commissions                                                                   monthly
Merchant Services             credit card fees                                                              6      monthly
Family Notes
Total Financing Costs




                                                                                                                    3 of 3                                          Monthly Cash Flow Projections as of 10-1-2021 Cash Flow Projections
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May 10, 2021


Ms. Donna Neimiller
Rockland Industries, Inc.
4969 Mercantile Road Suite A
Baltimore, MD 21236


Dear Donna:

We have prepared and enclosed your 2019 Corporation income tax returns for the year ended July 31,
2020.

This return has been prepared for electronic filing. If you wish to have it transmitted electronically to the
IRS, please sign, date, and return Form 8879-C to our office. We will then submit your electronic return to
the IRS. Do not mail the paper copy of the return to the IRS. Return federal Form 8879-C to us by May
17, 2021.

No payment is required with this return when filed.

The Maryland Form 500 return has been prepared for electronic filing. If you wish to have it transmitted
electronically to the MDDOR, please sign, date, and return Form EL101B to our office. We will then
submit your electronic return to the MDDOR. Do not mail the paper copy of the return to the MDDOR.
Return Form EL101B to us by June 15, 2021.

No payment is required with this return when filed.

The South Carolina Form SC1120 return has been prepared for electronic filing. If you wish to have it
transmitted electronically to the SCDOR, please sign, date, and return Form SC8453C to our office. We
will then submit your electronic return to the SCDOR. Do not mail the paper copy of the return to the
SCDOR. Return Form SC8453C to us by May 17, 2021.

No payment is required with this return when filed.

Your overpayment in the amount of $44 has been applied to your South Carolina estimated tax.

If you are required to mail a tax return or payment voucher, we recommend that you use certified mailing
envelopes with postmarked receipts for timely filing. However, please note that you must add the
appropriate postage before mailing.

We have prepared the returns from information you furnished to us without verification. Upon examination
of the returns by taxing authorities, requests may be made for underlying data. We therefore recommend
that you preserve all records which you may be called upon to produce in connection with such an
examination.

We have provided you tax advice in connection with the preparation of your U.S. federal tax return and
associated tax planning services we have furnished. This advice is not intended or written to be used by
any taxpayer for the purpose of avoiding penalties that may be imposed on the taxpayer by the Internal
Revenue Service, and it cannot be used by any taxpayer for such purpose.

A copy of the return is enclosed for your files. We suggest that you retain this copy indefinitely.
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We sincerely appreciate the opportunity to serve you. Please contact us if you have any questions
concerning the tax returns.

Very Truly Yours,




Lori S. Burghauser
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                     2019 TAX RETURN FILING INSTRUCTIONS
                                U.S. CORPORATION INCOME TAX RETURN

                                        FOR THE YEAR ENDING
                                                July 31, 2020

Prepared For:


                Rockland Industries, Inc
                4969 Mercantile Road Suite A
                Baltimore, MD 21236

Prepared By:

                SC&H Group, Inc.
                910 Ridgebrook Road
                Sparks, MD 21152


To be Signed and Dated By:

                The appropriate corporate officer(s).

Amount of Tax:

                Total tax                          $                             0
                Less: payments and credits         $                             0
                Plus: interest and penalties       $                             0
                No payment required                $

Overpayment:
                Not applicable

Make Check Payable To:

                Not Applicable

Mail Tax Return and Check (if applicable) To:

                This return has been prepared for electronic filing. To have it transmitted electronically to
                the IRS, please sign, date, and return Form 8879-C to our office. We will then submit
                your electronic return.

Return Must be Mailed on or Before:

                Return federal Form 8879-C to us by May 17, 2021.

Special Instructions:
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                                                     CORPORATION
                                               Two-Year Comparison                                                 2019
   Name                                                                                          Employer Identification Number

     ROCKLAND INDUSTRIES, INC                                                                                  3210

                                                                                                                 Increase
                         Description                           Prior Year         Current Year                  (Decrease)

   INCOME:

   GROSS RECEIPTS OR SALES LESS
     RETURNS AND ALLOWANCES                                  33,854,231.         19,241,626. -14,612,605.
   COST OF GOODS SOLD                                        29,382,456.         18,162,460. -11,219,996.
   GROSS PROFITS                                              4,471,775.          1,079,166.  -3,392,609.
   INTEREST                                                         834.                739.         -95.
   CAPITAL GAIN NET INCOME FROM
     SCHEDULE D                                                 221,780.                 0.                   -221,780.
   NET GAIN (LOSS) FROM FORM 4797                                     0.         2,035,689.                  2,035,689.
   OTHER INCOME                                                  17,299.         1,161,355.                  1,144,056.
     TOTAL INCOME                                             4,711,688.         4,276,949.                   -434,739.

   DEDUCTIONS:

   COMPENSATION OF OFFICERS                                   1,814,213.          1,765,973.                      -48,240.
   SALARIES AND WAGES LESS
     EMPLOYMENT CREDITS                                       1,891,421.          1,305,038.                    -586,383.
   REPAIRS AND MAINTENANCE                                      238,548.             79,865.                    -158,683.
   BAD DEBTS                                                      4,990.             19,388.                      14,398.
   RENTS                                                        139,423.            137,032.                      -2,391.
   TAXES AND LICENSES                                           918,759.            797,174.                    -121,585.
   INTEREST                                                         834.                739.                         -95.
   DEPRECIATION                                                 446,206.            333,392.                    -112,814.
   ADVERTISING                                                   20,348.             15,638.                      -4,710.
   PENSION, PROFIT-SHARING, ETC.,
     PLANS                                                       44,427.            25,890.                   -18,537.
   EMPLOYEE BENEFIT PROGRAMS                                     27,334.            13,076.                   -14,258.
   OTHER DEDUCTIONS                                           5,322,018.         3,483,057.                -1,838,961.
     TOTAL DEDUCTIONS                                        10,868,521.         7,976,262.                -2,892,259.

   TAXABLE INCOME:

   TAXABLE INCOME BEFORE NOL DEDUCTION
     AND SPECIAL DEDUCTIONS                                  -6,156,833.         -3,699,313.                 2,457,520.
     TAXABLE INCOME                                          -6,156,833.         -3,699,313.                 2,457,520.

   TAX COMPUTATION:

       TAX BEFORE CREDITS                                                   0.                    0.                          0.

       TAX AFTER CREDITS                                                    0.                    0.                          0.

       TOTAL TAX                                                            0.                    0.                          0.

   PAYMENTS AND CREDITS:




   912841
   04-01-19


15280510 769024 ROC160                                  2019.05094 ROCKLAND INDUSTRIES, INC                             ROC160_1
              Case 21-02590-dd         Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29           Desc Main
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                                                     CORPORATION
                                               Two-Year Comparison                                              2019
   Name                                                                                       Employer Identification Number

     ROCKLAND INDUSTRIES, INC                                                                               3210

                                                                                                              Increase
                         Description                           Prior Year      Current Year                  (Decrease)


   REFUNDABLE CREDIT FROM FORM 8827,
     LINE 8C                                                  1,158,529.                       0.       -1,158,529.
     TOTAL PAYMENTS AND CREDITS                               1,158,529.                       0.       -1,158,529.

   BALANCE DUE OR REFUND:

       OVERPAYMENT                                            1,158,529.                       0.       -1,158,529.
       AMOUNT REFUNDED                                        1,158,529.                       0.       -1,158,529.

   SCHEDULE M-2:

   BALANCE AT BEGINNING OF YEAR -
     UNAPPROPRIATED RETAINED EARNINGS                        13,816,734.      3,888,785.                -9,927,949.
   NET INCOME (LOSS) PER BOOKS                               -8,513,608.     -3,030,219.                 5,483,389.
   OTHER INCREASES                                                    0.      1,414,341.                 1,414,341.
   OTHER DECREASES                                            1,414,341.         95,489.                -1,318,852.
   BALANCE AT END OF YEAR -
     UNAPPROPRIATED RETAINED EARNINGS                         3,888,785.      2,177,418.                -1,711,367.

   SCHEDULE M-3:

   INTEREST INCOME                                                 834.         739.                           -95.
   COST OF GOODS SOLD                                      -30,776,593. -17,177,420.                    13,599,173.
   INCOME STATEMENT GAIN/LOSS ON
     DISPOSITION OF ASSETS                                      221,780.      3,032,492.                  2,810,712.
   OTHER INCOME (LOSS) ITEMS WITH
     DIFFERENCES                                              -153,502.      32,177.                       185,679.
     TOTAL INCOME (LOSS) ITEMS                             -30,707,481. -14,112,012.                    16,595,469.

   INTEREST EXPENSE                                             769,305.         575,546.                    -193,759.
   MEALS AND ENTERTAINMENT                                       19,933.           5,617.                     -14,316.
   PENSION AND PROFIT-SHARING                                   -76,030.           6,437.                      82,467.
   CHARITABLE CONTRIBUTION OF CASH
     AND TANGIBLE PROPERTY                                          300.               0.                         -300.
   DEPRECIATION                                                 348,111.         317,823.                      -30,288.
   BAD DEBT EXPENSE                                              36,000.          36,000.                            0.
   OTHER EXPENSE/DEDUCTION ITEMS WITH
     DIFFERENCES                                              5,645,247.      3,524,148.                -2,121,099.
     TOTAL EXPENSE/DEDUCTION ITEMS                            6,742,866.      4,465,571.                -2,277,295.

   OTHER ITEMS WITH NO DIFFERENCES                           28,936,739.     15,547,364. -13,389,375.

   1120 SUBGROUP RECONCILIATION TOTALS                       -8,513,608.     -3,030,219.                  5,483,389.

       RECONCILIATION TOTALS                                 -8,513,608.     -3,030,219.                  5,483,389.




   912841
   04-01-19


15280510 769024 ROC160                                  2019.05094 ROCKLAND INDUSTRIES, INC                          ROC160_1
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          8879-C                      IRS e-file Signature Authorization for Form 1120                                                                     OMB No. 1545-0123

   Form


                                                                                                                                                              2019
                                    For calendar year 2019, or tax year beginning   AUG 1        , 2019, ending   JUL 31             , 20   20
   Department of the Treasury                                 | Do not send to the IRS. Keep for your records.
   Internal Revenue Service
                                                       | Go to www.irs.gov/Form8879C for the latest information.
   Name of corporation                                                                                                                      Employer identification number
                         ROCKLAND INDUSTRIES, INC                                                                                                        3210
    Part I            Tax Return Information (Whole dollars only)
     1 Total income (Form 1120, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   1       4,276,949.
     2 Taxable income (Form 1120, line 30) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  2      -3,699,313.
     3 Total tax (Form 1120, line 31) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   3
     4 Amount owed (Form 1120, line 35) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    4
     5 Overpayment (Form 1120, line 36)                                                                     5
    Part II           Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation's return.
   Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation's 2019 electronic
   income tax return and accompanying schedules and statements and to the best of my knowledge and belief, it is true, correct, and complete. I further
   declare that the amounts in Part I above are the amounts shown on the copy of the corporation's electronic income tax return. I consent to allow my
   electronic return originator (ERO), transmitter, or intermediate service provider to send the corporation's return to the IRS and to receive from the
   IRS (a) an acknowledgement of receipt or reason for rejection of the transmission, (b) the reason for any delay in processing the return or refund, and
   (c) the date of any refund. If applicable, I authorize the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal
   (direct debit) entry to the financial institution account indicated in the tax preparation software for payment of the corporation's federal taxes owed
   on this return, and the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial
   Agent at 1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
   in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve issues related to
   the payment. I have selected a personal identification number (PIN) as my signature for the corporation's electronic income tax return and, if
   applicable, the corporation's consent to electronic funds withdrawal.

   Officer's PIN: check one box only

          X I authorize SC&H GROUP, INC.                                                                                                    to enter my PIN
                                                                  ERO firm name                                                                               do not enter all zeros
                as my signature on the corporation's 2019 electronically filed income tax return.
                As an officer of the corporation, I will enter my PIN as my signature on the corporation's 2019 electronically filed income tax return.


   Officer's signature |                                                                Date |                             Title |   OTHER

    Part III          Certification and Authentication

   ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.
                                                                                                                  do not enter all zeros
   I certify that the above numeric entry is my PIN, which is my signature on the 2019 electronically filed income tax return for the corporation indicated
   above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application and Participation,
   and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


   ERO's signature | SC&H         GROUP, INC.                                                                          Date |     05/10/21

                                                ERO Must Retain This Form - See Instructions
                                        Do Not Submit This Form to the IRS Unless Requested To Do So
   For Paperwork Reduction Act Notice, see instructions.                                                                                                 Form 8879-C (2019)
   LHA




   910211 10-31-19


15280510 769024 ROC160                                                                2019.05094 ROCKLAND INDUSTRIES, INC                                                ROC160_1
                 Case 21-02590-dd                      Doc 1         Filed 10/05/21 Entered 10/05/21 12:54:29                                              Desc Main
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   Form
           7004
   (Rev. December 2018)
                                               Application for Automatic Extension of Time To File Certain
                                                 Business Income Tax, Information, and Other Returns                                                              OMB No. 1545-0233
   Department of the Treasury                               | File a separate application for each return.
   Internal Revenue Service                    | Go to www.irs.gov/Form7004 for instructions and the latest information.
                     Name                                                                                                                                 Identifying number


   Print             ROCKLAND INDUSTRIES, INC                                                                                                                            3210
                     Number, street, and room or suite no. (If P.O. box, see instructions.)
   or
   Type              4969 MERCANTILE ROAD SUITE A
                     City, town, state, and ZIP code (If a foreign address, enter city, province or state, and country (follow the country's practice for entering postal code).)


                     BALTIMORE, MD                      21236
   Note: File request for extension by the due date of the return. See instructions before completing this form.
    Part I Automatic Extension for Certain Business Income Tax, Information, and Other Returns. See instructions.
   1  Enter the form code for the return listed below that this application is for  12
   Application                                                                      Form         Application                                                                   Form
   Is For:                                                                          Code         Is For:                                                                       Code
   Form 706-GS(D)                                                                     01         Form 1120-ND (section 4951 taxes)                                                  20
   Form 706-GS(T)                                                                     02         Form 1120-PC                                                                       21
   Form 1041 (bankruptcy estate only)                                                 03         Form 1120-POL                                                                      22
   Form 1041 (estate other than a bankruptcy estate)                                  04         Form 1120-REIT                                                                     23
   Form 1041 (trust)                                                                  05         Form 1120-RIC                                                                      24
   Form 1041-N                                                                        06         Form 1120S                                                                         25
   Form 1041-QFT                                                                      07         Form 1120-SF                                                                       26
   Form 1042                                                                          08         Form 3520-A                                                                        27
   Form 1065                                                                          09         Form 8612                                                                          28
   Form 1066                                                                          11         Form 8613                                                                          29
   Form 1120                                                                          12         Form 8725                                                                          30
   Form 1120-C                                                                        34         Form 8804                                                                          31
   Form 1120-F                                                                        15         Form 8831                                                                          32
   Form 1120-FSC                                                                      16         Form 8876                                                                          33
   Form 1120-H                                                                        17         Form 8924                                                                          35
   Form 1120-L                                                                        18         Form 8928                                                                          36
   Form 1120-ND                                                                       19
    Part II       All Filers Must Complete This Part
   2      If the organization is a foreign corporation that does not have an office or place of business in the United States,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
   3      If the organization is a corporation and is the common parent of a group that intends to file a consolidated return,
          check here ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            |
          If checked, attach a statement listing the name, address, and employer identification number (EIN) for each member
          covered by this application.
   4      If the organization is a corporation or partnership that qualifies under Regulations section 1.6081-5, check here                      ~~~~~~~~~~~~ |
   5 a The application is for calendar year            , or tax year beginning AUGUST 1, 2019                                     , and ending        JULY 31, 2020
     b Short tax year. If this tax year is less than 12 months, check the reason:    Initial return                                    Final return
                Change in accounting period                Consolidated return to be filed                Other (See instructions - attach explanation.)


   6      Tentative total tax    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                       6                                  0.

   7      Total payments and credits. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              7                                  0.

   8 Balance due. Subtract line 7 from line 6. See instructions                                                            8                                  0.
   LHA For Privacy Act and Paperwork Reduction Act Notice, see separate instructions.                                                                        Form 7004 (Rev. 12-2018)




   919741 04-01-19


15280510 769024 ROC160                                                                2019.05094 ROCKLAND INDUSTRIES, INC                                                      ROC160_1
                                                                              Case 21-02590-dd                                 Doc 1 Filed 10/05/21 Entered 10/05/21 12:54:29                                                           Desc Main
                                                                                                                              U.S. Corporation Income
                                                                                                                                    Document               Tax
                                                                                                                                                  Page 23 of 175Return
                                                                       1120
                                                                                                                                                                                                                                                       OMB No. 1545-0123

   Form                                                                                     For calendar year 2019 or tax year beginning   AUGUST 1, 2019                                   , ending   JULY 31, 2020
   Department of the Treasury
   Internal Revenue Service                                                                                                  | Go to www.irs.gov/Form1120 for instructions and the latest information.                                                  2019
   A Check if:                                                                                                     Name                                                                                                                B   Employer identification number
  1a Consolidated return
     (attach Form 851) ......                                                                                              ROCKLAND INDUSTRIES, INC                                                                                                       3210
   b Life/nonlife consoli-                                                                         TYPE                                                                                                                                C   Date incorporated
     dated return ..............                                                                                   Number, street, and room or suite no. If a P.O. box, see instructions.
  2 Personal holding co.                                                                           OR
     (attach Sch. PH) ........
                                                                                                   PRINT
                                                                                                                           4969 MERCANTILE ROAD SUITE A                                                                                    01/01/1927
  3 Personal service corp.                                                                                                                                                                                                             D   Total assets (see instructions)
     (see instructions) ......                                                                                     City or town, state or province, country, and ZIP or foreign postal code
  4 Schedule M-3
     attached ...................                                                         X                                BALTIMORE, MD                            21236                                                             $          9,831,053.
                                                                                                     E Check if: (1)                 Initial return   (2)         Final return      (3)          Name change      (4)     Address change
                                                                        1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                1a         19,339,475.
                                                                          b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~           1b                                                                   97,849.
                                                                         c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           1c            19,241,626.
                                                                        2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              2            18,162,460.
                                                                        3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3             1,079,166.
                                                                        4 Dividends and inclusions (Schedule C, line 23) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
        Income




                                                                                                                                                                                                                                  4
                                                                                                                   SEE STATEMENT 2
                                                                        5 Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                              5                               739.
                                                                        6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             6
                                                                        7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          7
                                                                        8 Capital gain net income (attach Schedule D (Form 1120)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     8
                                                                        9 Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~                                                           9              2,035,689.
                                                                       10 Other income (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~    SEE STATEMENT 3                                                              10              1,161,355.
                                                                       11 Total income. Add lines 3 through 10                        |                                                        11              4,276,949.
                                                                       12    Compensation of officers (attach Form 1125-E)           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                        12              1,765,973.
                                                                                                                                                                                                                                                 1,305,038.
        Deductions (See instructions for limitations on deductions.)




                                                                       13 Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          13
                                                                       14 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      14                 79,865.
                                                                       15 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             15                 19,388.
                                                                       16 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               16                137,032.
                                                                                                                             SEE STATEMENT 4
                                                                       17 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        17                797,174.
                                                                       18 Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18                    739.
                                                                       19 Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~       SEE STATEMENT 5                                                              19                      0.
                                                                       20 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) ~~~~~~~~                                              20                333,392.
                                                                       21 Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             21
                                                                       22 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            22                       15,638.
                                                                       23 Pension, profit-sharing, etc., plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             23                       25,890.
                                                                       24 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     24                       13,076.
                                                                       25 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     25
                                                                                                                                 SEE STATEMENT 6
                                                                       26 Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              26             3,483,057.
                                                                       27 Total deductions. Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                           27             7,976,262.
                                                                       28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ~~~~~~~~~~~~~                                 28            -3,699,313.
                                                                                                                              STATEMENT 7
                                                                       29 a Net operating loss deduction (see instructions) ~~~~~~~~~~~~~~~~                                                 29a                          0.
                                                                          b Special deductions (Schedule C, line 24) ~~~~~~~~~~~~~~~~~~~             29b
                                                                         c Add lines 29a and 29b                                                                                     29c
                                                                       30 Taxable income. Subtract line 29c from line 28. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~                                                              30            -3,699,313.
   Tax, Refundable Credits,




                                                                       31 Total tax (Schedule J, Part I, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           31                     0.
                                                                       32 2019 net 965 tax liability paid (Schedule J, Part II, line 12) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             32
        and Payments




                                                                       33 Total payments, credits, and section 965 net tax liability (Schedule J, Part III, line 23) ~~~~~~~~~~~~~~~                                             33
                                                                       34 Estimated tax penalty. See instructions. Check if Form 2220 is attached ~~~~~~~~~~~~~~~~~ |                                                            34
                                                                       35 Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed ~~~~~~~~~~~~                                              35                                     0.
                                                                       36 Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid ~~~~~~~~~~~~                                           36
                                                                       37 Enter amount from line 36 you want: Credited to 2020 estimated tax |                                                                 Refunded    |     37
                                                                               Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                                                                               correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
   Sign                                                                                                                                                                                                                                       May the IRS discuss this



                                                                              =                                                                                                    =OTHER
                                                                                                                                                                                                                                              return with the preparer
                                                                                                                                                                                                                                              shown below?
   Here                                                                                                                                                                                                                                             X Yes
                                                                                  Signature of officer                                                  Date                                                                                                             No
                                                                                                                                                                                    Title
                                                                              Print/Type preparer's name                                                    Preparer's signature                          Date             Check                PTIN
   Paid     LORI S. BURGHAUSER                  LORI S. BURGHAUSER 05/10/21                                                                                                                                                if self-
                                                                                                                                                                                                                           employed            P
   Preparer Firm's name |   SC&H GROUP, INC.                                                                                                                                                                               Firm's EIN   |                       1824
   Use Only Firm's address |910 RIDGEBROOK ROAD                                                                                                                                                                            Phone no.
                            SPARKS, MD 21152                                                                                                                                                                                     (410) 403-1500
   911601
   12-30-19                                                                 LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                          Form 1120 (2019)
                                                                                                                                                                     1
15280510 769024 ROC160                                                                                                                                            2019.05094 ROCKLAND INDUSTRIES, INC                                                           ROC160_1
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              ROCKLAND INDUSTRIES, INC
   Form 1120 (2019)                                                                                                                             3210 Page 2
     Schedule C Dividends, Inclusions, and Special Deductions                                       (a) Dividends and                    (c) Special deductions
                          (see instructions)                                                                              (b) %
                                                                                                        inclusions                              (a) x (b)
    1 Dividends from less-than-20%-owned domestic corporations (other than
      debt-financed stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   50
    2 Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
      stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          65
                                                                                                                             see
                                                                                                                        instructions
    3 Dividends on certain debt-financed stock of domestic and foreign corporations ~~~~~


    4 Dividends on certain preferred stock of less-than-20%-owned public utilities ~~~~~~                                 23.3


    5 Dividends on certain preferred stock of 20%-or-more-owned public utilities ~~~~~~~                                  26.7


    6 Dividends from less-than-20%-owned foreign corporations and certain FSCs ~~~~~~                                       50


    7 Dividends from 20%-or-more-owned foreign corporations and certain FSCs ~~~~~~                                         65


    8 Dividends from wholly owned foreign subsidiaries       ~~~~~~~~~~~~~~~~~                                             100
                                                                                                                             see
                                                                                                                        instructions
    9 Subtotal. Add lines 1 through 8 ~~~~~~~~~~~~~~~~~~~~~~~~~
   10 Dividends from domestic corporations received by a small business investment
        company operating under the Small Business Investment Act of 1958 ~~~~~~~~~                                        100


   11 Dividends from affiliated group members       ~~~~~~~~~~~~~~~~~~~~~                                                  100


   12 Dividends from certain FSCs ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              100
   13 Foreign-source portion of dividends received from a specified 10%-owned foreign
        corporation (excluding hybrid dividends) (see instructions) ~~~~~~~~~~~~~~                                         100
   14 Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
      (including any hybrid dividends) ~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                                             see
                                                                                                                        instructions
   15 Section 965(a) inclusion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   16 a Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
        the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
        (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                100
      b Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
        5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      c Other inclusions from CFCs under subpart F not included on line 15, 16a, 16b, or 17
        (attach Form(s) 5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~


   17 Global intangible Low-Taxed income (GILTI) (attach Form(s) 5471 and Form 8992) ~~~


   18 Gross-up for foreign taxes deemed paid ~~~~~~~~~~~~~~~~~~~~~~


   19 lC -DISC and former DISC dividends not included on line 1, 2, or 3     ~~~~~~~~~~


   20 Other dividends     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   21 Deduction for dividends paid on certain preferred stock of public utilities ~~~~~~~~


   22 Section 250 deduction (attach Form 8993) ~~~~~~~~~~~~~~~~~~~~~
   23 Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
        page 1, line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   24 Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b 
                                                                                                                                              Form 1120 (2019)


   911611
   12-30-19
                                                                                     2
15280510 769024 ROC160                                                            2019.05094 ROCKLAND INDUSTRIES, INC                                   ROC160_1
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                                                             Document      Page 25 of 175
   Form 1120 (2019)       ROCKLAND INDUSTRIES, INC                                                                                          3210 Page 3
     Schedule J            Tax Computation and Payment (see instructions)
   Part I - Tax Computation
    1 Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)) ~~~~~~~~~~ |
     2       Income tax. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             2                    0.
     3       Base erosion minimum tax amount (attach Form 8991) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   3
     4       Add lines 2 and 3                                                    4                    0.
     5a Foreign tax credit (attach Form 1118) ~~~~~~~~~~~~~~~~~~~~~~                             5a
      b Credit from Form 8834 (see instructions) ~~~~~~~~~~~~~~~~~~~~                            5b
      c General business credit (attach Form 3800) ~~~~~~~~~~~~~~~~~~~                           5c
         d Credit for prior year minimum tax (attach Form 8827) ~~~~~~~~~~~~~~~                  5d
         e Bond credits from Form 8912 ~~~~~~~~~~~~~~~~~~~~~~~~~           5e
     6       Total credits. Add lines 5a through 5e ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        6
     7       Subtract line 6 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             7                    0.
     8       Personal holding company tax (attach Schedule PH (Form 1120))                             8
     9a Recapture of investment credit (attach Form 4255) ~~~~~~~~~~~~~~~~                       9a
      b Recapture of low-income housing credit (attach Form 8611) ~~~~~~~~~~~~                   9b
         c Interest due under the look-back method-completed long-term contracts
           (attach Form 8697) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     9c
         d Interest due under the look-back method-income forecast method (attach Form 8866) ~   9d
         e Alternative tax on qualifying shipping activities (attach Form 8902) ~~~~~~~~~        9e
         f   Other (see instructions - attach statement) ~~~~~~~~~~~~~~~~~~~~                    9f
   10        Total. Add lines 9a through 9f ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            10
   11        Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31                       11                   0.
   Part II - Section 965 Payments (see instructions)
    12 2019 net 965 tax liability paid from Form 965-B, Part II, column (k), line 3. Enter here and on page 1, line 32    12
   Part III - Payments, Refundable Credits, and Section 965 Net Tax Liability
    13 2018 overpayment credited to 2019 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 13
   14        2019 estimated tax payments    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            14
   15        2019 refund applied for on Form 4466   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        15   (                  )
   16        Combine lines 13, 14, and 15   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            16
   17        Tax deposited with Form 7004 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              17
   18        Withholding (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18
   19        Total payments. Add lines 16, 17, and 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       19
   20         Refundable credits from:
         a Form 2439 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          20a
         b Form 4136 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           20b
         c Form 8827, line 5c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     20c
         d Other (attach statement - see instructions) ~~~~~~~~~~~~~~~~~~~~                              20d
   21        Total credits. Add lines 20a through 20d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       21
   22        2019 net 965 tax liability from Form 965-B, Part I, column (d), line 3. See instructions ~~~~~~~~~~~~~~~~~          22
   23        Total payments, credits, and section 965 net tax liability. Add lines 19, 21, and 22. Enter here and on page 1,
             line 33                                                          23
                                                                                                                                          Form 1120 (2019)




   911621
   12-30-19
                                                                                3
15280510 769024 ROC160                                                       2019.05094 ROCKLAND INDUSTRIES, INC                                  ROC160_1
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   Form 1120 (2019)     ROCKLAND INDUSTRIES, INC                                                                                                             210 Page 4
       Schedule K         Other Information (see instructions)
   1     Check accounting method: a   Cash     b X Accrual                          c         Other (specify) |                                                     Yes         No
   2     See the instructions and enter the:
       a Business activity code no. | 314000
       b Business activity | MANUFACTURING
       c Product or service | TEXTILES
   3     Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group? ~~~~~~~~~~~~~~~~~~~~~~~~~                                              X
         If "Yes," enter name and EIN of the parent corporation |


   4     At the end of the tax year:
       a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
         organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
         corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~~~~~~~~                                       X
       b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
         classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~                   X
    5 At the end of the tax year, did the corporation:
     a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of any
         foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions ~~~~~~                          X
         If "Yes," complete (i) through (iv) below.
                                                                                             (ii) Employer                                                    (iv) Percentage
                                   (i) Name of Corporation                              Identification Number                    (iii) Country of            Owned in Voting
                                                                                                                                 Incorporation
                                                                                                  (if any)                                                          Stock




       b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
         (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions ~~~~~~                  X
         If "Yes," complete (i) through (iv) below.
                                                                                             (ii) Employer                       (iii) Country of                (iv) Maximum
                                       (i) Name of Entity                               Identification Number                                                Percentage Owned in
                                                                                                  (if any)                       Organization
                                                                                                                                                             Profit, Loss, or Capital




    6 During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
      excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316 ~~~~~~~~~~~~~~~~~~~~~                                                  X
         If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
         If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
    7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
      classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock? ~~~~~~~~~~~~                            X
         For rules of attribution, see section 318. If "Yes," enter:
         (a) Percentage owned |                             and (b) Owner's country |
         (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
         Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached |
    8 Check this box if the corporation issued publicly offered debt instruments with original issue discount ~~~~~~~~~~~~~~~~~ |
      If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
    9 Enter the amount of tax-exempt interest received or accrued during the tax year | $
   10 Enter the number of shareholders at the end of the tax year (if 100 or fewer) |                     15
   11 If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here ~~~~~~~~~~~~~~~~ |
         If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
         or the election will not be valid.
   12 Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
      page 1, line 29a.)  | $                                                            6,876,980.
                                                                                                                                                         Form 1120 (2019)
   911632
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15280510 769024 ROC160                                                             2019.05094 ROCKLAND INDUSTRIES, INC                                               ROC160_1
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   Form 1120 (2019)    ROCKLAND INDUSTRIES, INC                                                                                              3210 Page 5
     Schedule K         Other Information (continued from page 4)
   13 Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the      Yes   No
      tax year less than $250,000? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 X
       If "Yes," the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
       distributions and the book value of property distributions (other than cash) made during the tax year | $
   14 Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions ~~~~~~~~~~~~~~~~                  X
      If "Yes," complete and attach Schedule UTP.
   15a Did the corporation make any payments in 2019 that would require it to file Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~                        X
     b If "Yes," did or will the corporation file required Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    X
   16 During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
      own stock? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            X
   17 During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
      of its assets in a taxable, non-taxable, or tax deferred transaction? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        X
   18 Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
      market value of more than $1 million? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
   19 During the corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
      under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? ~~~~~~~~~~~~~~~~~~~~                           X
   20 Is the corporation operating on a cooperative basis? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    X
   21 During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
       267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
       If "Yes," enter the total amount of the disallowed deductions | $
   22 Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
      and (3)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            X
       If "Yes," complete and attach Form 8991.
   23 Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
      during the tax year? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
   24 Does the corporation satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 X
     a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
       current tax year are more than $26 million and the corporation has business interest expense.
     c The corporation is a tax shelter and the corporation has business interest expense.
       If "Yes," to any, complete and attach Form 8990.
   25 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               X
      If "Yes," enter amount from Form 8996, line 14  | $
                                                                                                                                            Form 1120 (2019)




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   Form 1120 (2019)           ROCKLAND INDUSTRIES, INC
                                                Document                               Page 28 of 175                                                                     3210       Page   6
     Schedule L                  Balance Sheets per Books                           Beginning of tax year                                            End of tax year

                              Assets                                          (a)                                 (b)                        (c)                             (d)
     1 Cash ~~~~~~~~~~~~~~~~~                                                                                    67,311.                                                    50,474.
     2a Trade notes and accounts receivable ~~~                       6,108,315.                                                          2,161,193.
      b Less allowance for bad debts ~~~~~~                      (      217,067.)                        5,891,248. (                       233,679.)                  1,927,514.
     3 Inventories ~~~~~~~~~~~~~~                                                                        9,238,713.                                                    3,238,469.
     4 U.S. government obligations ~~~~~~
     5 Tax-exempt securities ~~~~~~~~~
     6   Other current assets (att. stmt.)         STMT 8
                                                  ~~~~~~~                                                1,111,830.                                                       398,010.
     7 Loans to shareholders ~~~~~~~~~
     8 Mortgage and real estate loans~~~~~~
     9   Other investments (att. stmt.)      ~~~~~~~~
   10a Buildings and other depreciable assets ~~                   18,329,988.                                        17,226,262.
     b Less accumulated depreciation ~~~~~                       ( 14,311,899.)                          4,018,089. ( 14,538,401.)                                     2,687,861.
   11a Depletable assets ~~~~~~~~~~~
     b Less accumulated depletion ~~~~~~~                        (                            )                                   (                         )
   12 Land (net of any amortization) ~~~~~~
   13a Intangible assets (amortizable only) ~~~
     b Less accumulated amortization ~~~~~                       (                            )                                   (                         )
                                     STMT 9
   14 Other assets (att. stmt.) ~~~~~~~~                                                                   68,666.                                                     1,528,725.
   15 Total assets                                                                        20,395,857.                                                     9,831,053.
      Liabilities and Shareholders' Equity
   16 Accounts payable ~~~~~~~~~~~                                                                       3,547,378.                                                    3,680,542.
   17    Mortgages, notes, bonds payable in less than 1 year

   18                                   STMT
                                         ~~~~~~
         Other current liabilities (att. stmt.)      10                                                  9,993,295.                                                      408,230.
   19 Loans  from   shareholders     ~~~~~~~~                                                              240,503.                                                      219,834.
   20 Mortgages, notes, bonds payable in 1 year or more                                                          0.                                                      481,861.
                                        STMT 11
   21 Other liabilities (att. stmt.) ~~~~~~~~                                                            1,668,415.                                                    1,805,687.
   22 Capital stock: a Preferred stock ~~~~~
                     b Common stock ~~~~~                                    52,277.                        52,277.                          52,277.                      52,277.
   23 Additional paid-in capital ~~~~~~~~                                                                1,023,700.                                                    1,023,700.
      Retained earnings -
   24 Appropriated (attach statement) ~~~~~~~
   25 Retained earnings - Unappropriated ~~~                                                             3,888,785.                                                    2,177,418.
         Adjustments to shareholders'
   26    equity (attach statement) ~~~~~~~~~~
   27 Less cost of treasury stock ~~~~~~~                                          18,496.)       (                                                             (         18,496.)
   28 Total liabilities and shareholders' equity                            20,395,857.                                                                              9,831,053.
     Schedule M-1                      Reconciliation of Income (Loss) per Books With Income per Return
                                       Note: The corporation may be required to file Schedule M-3. See instructions.
     1 Net income (loss) per books ~~~~~~~                                                             7 Income recorded on books this year not
     2 Federal income tax per books ~~~~~~~                                                              included on this return (itemize):
     3 Excess of capital losses over capital gains ~~                                                       Tax-exempt interest       $
     4   Income subject to tax not recorded on books this year

         (itemize):
                                                                                                       8 Deductions on this return not charged
     5 Expenses recorded on books this year not                                                          against book income this year (itemize):
       deducted on this return (itemize):                                                                   a Depreciation ~~ $
                                                                                                              Charitable
       a Depreciation~~ $                                                                                   b contributions ~~~ $
              Charitable
         b    contributions    ~~ $
              Travel and
         c    entertainment      ~ $
                                                                                                       9 Add lines 7 and 8
     6 Add lines 1 through 5                                                               10 Income (page 1, line 28) - line 6 less line 9 
     Schedule M-2             Analysis of Unappropriated Retained Earnings per Books (Line 25, Schedule L)
     1   Balance at beginning of year ~~~~~~~       3,888,785. 5 Distributions: a Cash ~~~~~~~~~~
     2   Net income (loss) per books ~~~~~~~      -3,030,219.                    b Stock ~~~~~~~~~~
     3 Other increases (itemize):                                                                                        c Property ~~~~~~~~
         SEE STATEMENT 12                                                                              6 Other decreases (itemize) :
                                                                                        SEE STATEMENT 13                                                                    95,489.
                                                                         1,414,341. 7 Add lines 5 and 6 ~~~~~~~~~~~~~                                                       95,489.
     4 Add lines 1, 2, and 3                                  2,272,907. 8 Balance at end of year (line 4 less line 7)                                   2,177,418.
                                                                                                                                                                        Form 1120 (2019)
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   Form          1125-A                                             Cost of Goods Sold
   (Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
   Department of the Treasury                         | Go to www.irs.gov/Form1125A for the latest information.
   Internal Revenue Service
   Name                                                                                                                             Employer Identification number

            ROCKLAND INDUSTRIES, INC                                                                                                          3210
   1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1            12,438,485.
   2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2             7,503,444.
   3     Cost of labor    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3             2,175,338.
   4     Additional section 263A costs (attach schedule)               SEE STATEMENT 14
                                                           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4               311,755.
   5     Other costs (attach schedule)                       SEE STATEMENT 15
                                         ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5             1,071,346.
   6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6            23,500,368.
   7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7             5,337,908.
   8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
         appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8            18,162,460.
   9 a Check all methods used for valuing closing inventory:
       (i)        Cost
         (ii)     X Lower of cost or market
         (iii)        Other (Specify method used and attach explanation) |


       b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
       d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
         under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
       e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~       X Yes               No
       f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes     X No
         If "Yes," attach explanation.


   For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)




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   SCHEDULE G
   (Form 1120)                                     Information on Certain Persons Owning the
   (Rev. December 2011)
   Department of the Treasury
                                                          Corporation's Voting Stock                                                                                      OMB No. 1545-0123


   Internal Revenue Service
                                                                                     J    Attach to Form 1120.
   Name                                                                                                                                                  Employer identification number (EIN)

          ROCKLAND INDUSTRIES, INC                                                                                                                                          3210
     Part I  Certain Entities Owning the Corporation's Voting Stock.                                                       (Form 1120, Schedule K, Question 4a). Complete columns
                     (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or
                     tax-exempt organization that owns directly 20% or more, or owns, directly or indirectly, 50% or more of the total voting power of all
                     classes of the corporation's stock entitled to vote (see instructions).
                                                                                                                                                                                 (v) Percentage
                        (i) Name of Entity                         (ii) Employer Identification     (iii) Type of Entity               (iv) Country of Organization                 Owned in
                                                                          Number (if any)                                                                                         Voting Stock




     Part II         Certain Individuals and Estates Owning the Corporation's Voting Stock.                                                      (Form 1120, Schedule K, Question 4b).
                     Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or more, or owns, directly or indirectly,
                     50% or more of the total voting power of all classes of the corporation's stock entitled to vote (see instructions).
                                                                                                                                             (iii) Country of                    (iv) Percentage
                                (i) Name of Individual or Estate                                      (ii) Identifying                      Citizenship (see                         Owned in
                                                                                                     Number (if any)                          instructions)                        Voting Stock



   PAMELA BERMAN                                                                                                            UNITED STATES                                         74.99%

   ERICA BERMAN                                                                                                             UNITED STATES                                         31.33%

   ARIEL BERMAN                                                                                                             UNITED STATES                                         31.33%

   NOAH BERMAN                                                                                                              UNITED STATES                                         31.33%

   ADAM LEADERMAN                                                                                                           UNITED STATES                                         72.64%

   SCOTT LEADERMAN                                                                                                          UNITED STATES                                         28.97%

   DAVID LEADERMAN                                                                                                          UNITED STATES                                         28.52%

   STEPHEN LEADERMAN                                                                                                        UNITED STATES                                         72.64%

   MARK BERMAN                                                                                                              UNITED STATES                                         26.57%


   For Paperwork Reduction Act Notice, see the Instructions for Form 1120.                                                                             Schedule G (Form 1120) (Rev. 12-2011)
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   SCHEDULE M-3
   (Form 1120)
                                       Net Income (Loss) Reconciliation for Corporations
   (Rev. December 2019)                     With Total Assets of $10 Million or More                                                                          OMB No. 1545-0123

   Department of the Treasury                                             | Attach to Form 1120 or 1120-C.
   Internal Revenue Service                             | Go to www.irs.gov/Form1120 for instructions and the latest information.
   Name of corporation (common parent, if consolidated return)                                                                                    Employer identification number


         ROCKLAND INDUSTRIES, INC                                                                                                                                 3210
     Check applicable box(es): (1) X Non-consolidated return                                       (2)        Consolidated return (Form 1120 only)
                                     (3)        Mixed 1120/L/PC group                              (4)        Dormant subsidiaries schedule attached

     Part I             Financial Information and Net Income (Loss) Reconciliation                                  (see instructions)

     1 a Did the corporation file SEC Form 10-K for its income statement period ending with or within this tax year?
               Yes. Skip lines 1b and 1c and complete lines 2a through 11 with respect to that SEC Form 10-K.
            X No. Go to line 1b. See instructions if multiple non-tax-basis income statements are prepared.
         b Did the corporation prepare a certified audited non-tax-basis income statement for that period?
                 Yes. Skip line 1c and complete lines 2a through 11 with respect to that income statement.
            X No. Go to line 1c.
         c Did the corporation prepare a non-tax-basis income statement for that period?
            X Yes. Complete lines 2a through 11 with respect to that income statement.
               No. Skip lines 2a through 3c and enter the corporation's net income (loss) per its books and records on line 4a.
     2 a Enter the income statement period: Beginning 08/01/2019                         Ending 07/31/2020
       b Has the corporation's income statement been restated for the income statement period on line 2a?
                 Yes. (If "Yes," attach an explanation and the amount of each item restated.)
            X No.
         c Has the corporation's income statement been restated for any of the five income statement periods immediately preceding the period on line 2a?
                Yes. (If "Yes," attach an explanation and the amount of each item restated.)
            X No.
     3 a Is any of the corporation's voting common stock publicly traded?
                 Yes.
            X No. If "No," go to line 4a.
         b Enter the symbol of the corporation's primary U.S. publicly traded voting common stock ~~~~~~~~~
         c Enter the nine-digit CUSIP number of the corporation's primary publicly traded voting
           common stock ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


     4 a Worldwide consolidated net income (loss) from income statement source identified in Part I, line 1 ~~~~~~~~~~~~                         4a         -3,030,219.
       b Indicate accounting standard used for line 4a (see instructions): (1) X GAAP (2)               IFRS
           (3)       Statutory (4)          Tax-basis     (5)      Other (specify)
     5 a Net income from nonincludible foreign entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                            5a     (                         )
       b Net loss from nonincludible foreign entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~                           5b
     6 a Net income from nonincludible U.S. entities (attach statement)~ ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             6a     (                         )
       b Net loss from nonincludible U.S. entities (attach statement and enter as a positive amount) ~~~~~~~~~~~~~~~                             6b
     7 a Net income (loss) of other includible foreign disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~                                7a
       b Net income (loss) of other includible U.S. disregarded entities (attach statement) ~~~~~~~~~~~~~~~~~~~~                                 7b
      c Net income (loss) of other includible entities (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            7c
     8 Adjustment to eliminations of transactions between includible entities and nonincludible entities (attach stmt.) ~~~~~~~                   8
     9     Adjustment to reconcile income statement period to tax year (attach statement) ~~~~~~~~~~~~~~~~~~~~                                    9
   10 a Intercompany dividend adjustments to reconcile to line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~                                      10a
      b Other statutory accounting adjustments to reconcile to line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~                                   10b
     c Other adjustments to reconcile to amount on line 11 (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~                                           10c
   11 Net income (loss) per income statement of includible corporations. Combine lines 4 through 10                                  11         -3,030,219.
       Note: Part I, line 11, must equal Part II, line 30, column (a), or Schedule M-1, line 1 (see instructions).
   12 Enter the total amount (not just the corporation's share) of the assets and liabilities of all entities included or removed on the following lines.
                                                                                Total Assets                     Total Liabilities
    a Included on Part I, line 4 ~~~~~~~~~~~~ |                                  9,831,053.                       6,596,154.
    b Removed on Part I, line 5 ~~~~~~~~~~~ |
    c Removed on Part I, line 6 ~~~~~~~~~~~ |
    d Included on Part I, line 7  |
   LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1120.                                                           Schedule M-3 (Form 1120) (Rev. 12-2019)
   913321 12-11-19
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   Schedule M-3 (Form 1120) (Rev. 12-2019)                                                                                                                                                    Page   2
   Name of corporation (common parent, if consolidated return)                                                                                            Employer identification number
           ROCKLAND INDUSTRIES, INC                                                                                                                                           3210
   Check applicable box(es):      (1)          Consolidated group       (2)          Parent corp     (3)      Consolidated eliminations   (4)    Subsidiary corp   (5)         Mixed 1120/L/PC group
   Check if a sub-consolidated:         (6)          1120 group            (7)         1120 eliminations
   Name of subsidiary (if consolidated return)                                                                                                            Employer identification number


     Part II           Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With
                       Taxable Income per Return (see instructions)
                       Income (Loss) Items                                                         (a)                        (b)                      (c)                          (d)
                                                                                         Income (Loss) per                 Temporary               Permanent                  Income (Loss) per
            (Attach statements for lines 1 through 12)                                   Income Statement                  Difference              Difference                    Tax Return
         Income (loss) from equity method foreign
     1   corporations ~~~~~~~~~~~~~~~~~~~

     2   Gross foreign dividends not previously taxed      ~~~~~~~
     3   Subpart F, QEF, and similar inc inclusions      ~~~~~~~~
     4 Gross-up for foreign taxes deemed paid ~~~~~~
     5 Gross foreign distributions previously taxed ~~~~~~~
       Income (loss) from equity method U.S.
     6 corporations ~~~~~~~~~~~~~~~~~~~
         U.S. dividends not eliminated in tax
     7   consolidation ~~~~~~~~~~~~~~~~~~

     8   Minority interest for includible corporations     ~~~~~~~
     9   Income (loss) from U.S. partnerships     ~~~~~~~~~~
    10   Income (loss) from foreign partnerships     ~~~~~~~~~
    11   Income (loss) from other pass-through entities       ~~~~~~
    12 Items relating to reportable
       transactions ~~~~~~~~~~~~~~~~~~
    13 Interest income (see instructions) ~~~~~~~~~                                                        739.                                                                            739.
    14 Total accrual to cash adjustment ~~~~~~~~~
    15 Hedging transactions ~~~~~~~~~~~~~~
    16 Mark-to-market income (loss) ~~~~~~~~~~
    17 Cost of goods sold (see instructions) ~~~~~~~                                ( 17,177,420.)                      -985,040.                                        (   18,162,460.)
    18 Sale versus lease (for sellers and/or lessors) ~~~~~~~
    19 Section 481(a) adjustments ~~~~~~~~~~~
    20 Unearned/deferred revenue ~~~~~~~~~~~
         Income recognition from long-
    21   term contracts ~~~~~~~~~~~~~~~~~~
         Original issue discount and
    22   other imputed interest ~~~~~~~~~~~~~~~
   23a Income statement gain/loss on sale, exchange,
       abandonment, worthlessness, or other disposition of
         assets other than inventory and pass-through entities                         3,032,492. -3,032,492.
     b Gross capital gains from Schedule D, excluding
       amounts from pass-through entities~~~~~~~~
     c Gross capital losses from Schedule D, excluding
       amounts from pass-through entities, abandonment
         losses, and worthless stock losses ~~~~~~~~
     d Net gain/loss reported on Form 4797, line 17,
       excluding amounts from pass-through entities,
         abandonment losses, and worthless stock losses ~~                                                           2,035,689.                                               2,035,689.
     e Abandonment losses ~~~~~~~~~~~~~~
     f Worthless stock losses (attach stmt.) ~~~~~~~
     g   Other gain/loss on disposition of assets other than inventory ~
         Capital loss limitation and
    24   carryforward used ~~~~~~~~~~~~~~~~~
    25                                                      STMT 16
         Other income (loss) items with differences (attach stmt.) ~~~~~~~               32,177.                                                  972,421.   1,004,598.
    26 Total income (loss) items. Combine lines 1 through 25                        -14,112,012. -1,981,843.                                      972,421. -15,121,434.
    27 Total expense/deduction items (from Part III, line 39)                        -4,465,571.    285,499.                                       54,829. -4,125,243.
    28 Other items with no differences ~~~~~~~~~~                 STMT 17            15,547,364.                                                            15,547,364.
   29a Mixed groups, see instructions. All others, combine lines 26 through 28 ~~    -3,030,219. -1,696,344.                                    1,027,250. -3,699,313.
     b PC insurance subgroup reconciliation totals ~~~~
     c Life insurance subgroup reconciliation totals ~~~~
    30 Reconciliation totals. Combine lines 29a through 29c         -3,030,219. -1,696,344.                                                     1,027,250. -3,699,313.
       Note: Line 30, column (a), must equal Part I, line 11, and column (d) must equal Form 1120, page 1, line 28.
                                                                                                                                                     Schedule M-3 (Form 1120) (Rev. 12-2019)
   913322
   12-11-19
                                                                                                            10
15280510 769024 ROC160                                                                                   2019.05094 ROCKLAND INDUSTRIES, INC                                              ROC160_1
                  Case 21-02590-dd                              Doc 1          Filed 10/05/21 Entered 10/05/21 12:54:29                                  Desc Main
                                                                              Document      Page 33 of 175
   Schedule M-3 (Form 1120) (Rev. 12-2019)                                                                                                                                       Page   3
   Name of corporation (common parent, if consolidated return)                                                                                  Employer identification number
          ROCKLAND INDUSTRIES, INC                                                                                                                             3210
   Check applicable box(es):      (1)         Consolidated group     (2)       Parent corp   (3)     Consolidated eliminations   (4)   Subsidiary corp   (5)     Mixed 1120/L/PC group
   Check if a sub-consolidated:         (6)        1120 group           (7)      1120 eliminations
   Name of subsidiary (if consolidated return)                                                                                                  Employer identification number


     Part III         Reconciliation of Net Income (Loss) per Income Statement of Includible Corporations With Taxable
                      Income per Return - Expense/Deduction Items (see instructions)
                                                                                        (a)                          (b)                    (c)                       (d)
                                                                                    Expense per                  Temporary              Permanent                Deduction per
                    Expense/Deduction Items
                                                                                 Income Statement                Difference             Difference                Tax Return

     1 U.S. current income tax expense ~~~~~~~~~
     2 U.S. deferred income tax expense ~~~~~~~~
     3 State and local current income tax expense ~~~~
     4 State and local deferred income tax expense ~~~~
     5 Foreign current income tax expense (other than
       foreign withholding taxes) ~~~~~~~~~~~~
     6 Foreign deferred income tax expense ~~~~~~~
     7 Foreign withholding taxes ~~~~~~~~~~~~
     8 Interest expense (see instructions) ~~~~~~~~                                   575,546.                 -530,242.                 -44,565.                           739.
     9 Stock option expense ~~~~~~~~~~~~~~
   10 Other equity-based compensation ~~~~~~~~
                                        STMT 19
   11 Meals and entertainment ~~~~~~~~~~~~                                                   5,617.                                        -2,808.                     2,809.
   12 Fines and penalties ~~~~~~~~~~~~~~~
      Judgments, damages, awards,
   13 and similar costs ~~~~~~~~~~~~~~~~~
   14 Parachute payments ~~~~~~~~~~~~~~
      Compensation with section
   15 162(m) limitation ~~~~~~~~~~~~~~~~~
   16 Pension and profit-sharing ~~~~~~~~~~~~                                                6,437.                 19,453.                                          25,890.
   17 Other post-retirement benefits ~~~~~~~~~~
   18 Deferred compensation ~~~~~~~~~~~~~
   19 Charitable contribution of cash and tangible
                               STMT 20
        property ~~~~~~~~~~~~~~~~~~~~
   20   Charitable contribution of intangible property ~~~~~~~
        Charitable contribution
   21   limitation/carryforward ~~~~~~~~~~~~~~~
   22 Domestic production activities deduction (see instrs.)
   23 Current year acquisition or reorganization
        investment banking fees ~~~~~~~~~~~~~
   24 Current year acquisition or reorganization legal and
      accounting fees ~~~~~~~~~~~~~~~~
        Current year acquisition/
   25   reorganization other costs      ~~~~~~~~~~~~~~
   26 Amortization/impairment of goodwill ~~~~~~~
   27 Amortization of acquisition, reorganization, and
        start-up costs ~~~~~~~~~~~~~~~~~
        Other amortization or
   28   impairment write-offs   ~~~~~~~~~~~~~~~~
   29 Reserved ~~~~~~~~~~~~~~~~~~~
   30 Depletion ~~~~~~~~~~~~~~~~~~~
   31 Depreciation ~~~~~~~~~~~~~~~~~~                                                 317,823.                    15,569.                                          333,392.
                                STMT 21
   32 Bad debt expense ~~~~~~~~~~~~~~~                                                 36,000.                   -16,612.                                           19,388.
   33   Corporate owned life insurance premiums ~~~~~~~~
        Purchase versus lease
   34   (for purchasers and/or lessees) ~~~~~~~~~~~~

   35   Research and development costs        ~~~~~~~~~~~
   36 Section 118 exclusion (att. stmt.) ~~~~~~~~~
      Section 162(r) - FDIC premiums paid by certain
   37 large financial institutions (see instructions) ~~~~~~~
   38
        Other expense/deduction items
        with differences (attach stmt.)            STMT 22
                                              ~~~~~~~~~~~~                       3,524,148.                      226,333.                  -7,456.             3,743,025.
   39 Total expense/deduction items.              Combine lines 1 through

        38. Enter here and on Part II, line 27, reporting positive amounts

        as negative and negative amounts as positive                       4,465,571.                    -285,499.                 -54,829.              4,125,243.
                                                                                                                                           Schedule M-3 (Form 1120) (Rev. 12-2019)
   913323
   12-11-19
                                                                                                 11
15280510 769024 ROC160                                                                        2019.05094 ROCKLAND INDUSTRIES, INC                                         ROC160_1
                 Case 21-02590-dd                     Doc 1       Filed 10/05/21 Entered 10/05/21 12:54:29                                              Desc Main
                                                                 Document      Page 34 of 175
   Form     1125-E                                             Compensation of Officers
   (Rev. October 2016)                                                                                                                                         OMB No. 1545-0123
                                                 | Attach to Form 1120, 1120-C, 1120-F, 1120-REIT, 1120-RIC, or 1120S.
   Department of the Treasury
   Internal Revenue Service         | Information about Form 1125-E and its separate instructions is at www.irs.gov/form1125e.
   Name                                                                                                                                                  Employer Identification number

          ROCKLAND INDUSTRIES, INC                                                                                                                                       3210
   Note: Complete Form 1125-E only if total receipts are $500,000 or more. See instructions for definition of total receipts.

                                                                             (b) Social security       (c) Percent of     Percent of stock owned                (f) Amount of
                                (a) Name of officer                                                   time devoted to
                                                                                  number                 business       (d) Common      (e) Preferred           compensation


   1 INFORMATION                    AVAILABLE IN THE                                                                                                           1,765,973.

       TAXPAYER'S OFFICE




   2    Total compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 2            1,765,973.

   3    Compensation of officers claimed on Form 1125-A or elsewhere on return ~~~~~~~~~~~~~~~~~~~~~~~                                            3


   4    Subtract line 3 from line 2. Enter the result here and on Form 1120, page 1, line 12 or the
        appropriate line of your tax return                                                              4            1,765,973.
   For Paperwork Reduction Act Notice, see separate instructions.                                                                                        Form 1125-E (Rev. 10-2016)


   924451 04-01-19        LHA
                                                                                      12
15280510 769024 ROC160                                                             2019.05094 ROCKLAND INDUSTRIES, INC                                                      ROC160_1
                     Case 21-02590-dd                            Doc 1              Filed 10/05/21 Entered 10/05/21 12:54:29                                                          Desc Main
                                                                                   Document      Page 35 of 175
              4562                                                     Depreciation and Amortization                                                                                       OMB No. 1545-0172

   Form


   Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                           | Attach to your tax return.
                                                                                                                                                          OTHER
                                                                                                                                                                                             2019
                                                                                                                                                                                             Attachment
   Internal Revenue Service   (99)                     | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                             Sequence No.   179
   Name(s) shown on return                                                                                             Business or activity to which this form relates                    Identifying number



   ROCKLAND INDUSTRIES, INC                                                         OTHER DEPRECIATION                                         3210
    Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
    1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1        1,020,000.
    2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                             2
    3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                              3          2,550,000.
    4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                      4
    5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                         5
    6                                        (a) Description of property                                       (b) Cost (business use only)              (c) Elected cost




    7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
    8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                       8
    9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   9
   10 Carryover of disallowed deduction from line 13 of your 2018 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                               10
   11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                11


                                                                                                                                  9
   12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                        12
   13 Carryover of disallowed deduction to 2020. Add lines 9 and 10, less line 12                                                    13
   Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
   14 Special depreciation allowance for qualified property (other than listed property) placed in service during
      the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           14
   15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         15
   16 Other depreciation (including ACRS)                                                                                                 16
    Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                   Section A
   17 MACRS deductions for assets placed in service in tax years beginning before 2019                                           ~~~~~~~~~~~~~~                                17               332,732.
   18                                                                                                         J
            If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                      Section B - Assets Placed in Service During 2019 Tax Year Using the General Depreciation System
                                                                           (b) Month and        (c) Basis for depreciation
                      (a) Classification of property                        year placed        (business/investment use            (d) Recovery      (e) Convention      (f) Method     (g) Depreciation deduction
                                                                              in service         only - see instructions)              period


   19a           3-year property
        b        5-year property
        c        7-year property                                                                          46,250. 7 YRS                                   HY          200DB                                660.
        d        10-year property
        e        15-year property
        f        20-year property
        g        25-year property                                                                                                   25 yrs.                                 S/L
                                                                                  /                                                27.5 yrs.              MM                S/L
        h        Residential rental property
                                                                                  /                                                27.5 yrs.              MM                S/L
                                                                                  /                                                 39 yrs.               MM                S/L
        i        Nonresidential real property
                                                                  /                                                 MM         S/L
                                    Section C - Assets Placed in Service During 2019 Tax Year Using the Alternative Depreciation System
   20a           Class life                                                                                                                                                 S/L
     b           12-year                                                                                                             12 yrs.                                S/L
     c           30-year                                                          /                                                  30 yrs.              MM                S/L
     d           40-year                                                          /                                                  40 yrs.              MM                S/L
    Part IV             Summary (See instructions.)
   21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            21
   22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
            Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                        22               333,392.
   23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs                                                            23
   916251 12-12-19         LHA For Paperwork Reduction Act Notice, see separate13
                                                                               instructions.                                                                                                  Form 4562 (2019)
15280510 769024 ROC160                                                                              2019.05094 ROCKLAND INDUSTRIES, INC                                                                  ROC160_1
               Case 21-02590-dd                  Doc 1        Filed 10/05/21 Entered 10/05/21 12:54:29                                                  Desc Main
                                                             Document      Page 36 of 175
   Form 4562 (2019)                 ROCKLAND INDUSTRIES, INC                                                                        3210                                           Page 2
    Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
               entertainment, recreation, or amusement.)
               Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
               24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                  Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
   24a Do you have evidence to support the business/investment use claimed?               Yes              No 24b If "Yes," is the evidence written?                      Yes        No
                 (a)                 (b)              (c)                (d)                       (e)             (f)          (g)             (h)                              (i)
         Type of property            Date          Business/                             Basis for depreciation
                                                                                                                Recovery     Method/       Depreciation                      Elected
                                  placed in       investment           Cost or
        (list vehicles first)                                       other basis
                                                                                         (business/investment
                                                                                                                 period    Convention       deduction                      section 179
                                   service      use percentage                                  use only)
                                                                                                                                                                               cost
   25 Special depreciation allowance for qualified listed property placed in service during the tax year and
      used more than 50% in a qualified business use                                                      25



                                         !   !
   26 Property used more than 50% in a qualified business use:



                                         !   !
                                                             %



                                         !   !
                                                             %
                                                        %



                                         !   !
   27 Property used 50% or less in a qualified business use:



                                         !   !
                                                             %                                                           S/L -



                                         !   !
                                                             %                                                           S/L -
                                                             %                                                           S/L -
   28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
   29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                             29
                                                            Section B - Information on Use of Vehicles
   Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
   to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                         (a)               (b)               (c)               (d)                        (e)                     (f)
   30 Total business/investment miles driven during the                Vehicle           Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
      year (don't include commuting miles) ~~~~~~~
   31 Total commuting miles driven during the year ~
   32 Total other personal (noncommuting) miles
       driven~~~~~~~~~~~~~~~~~~~~~
   33 Total miles driven during the year.
      Add lines 30 through 32 ~~~~~~~~~~~~
   34 Was the vehicle available for personal use                  Yes         No      Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
      during off-duty hours? ~~~~~~~~~~~~
   35 Was the vehicle used primarily by a more
      than 5% owner or related person? ~~~~~~
   36 Is another vehicle available for personal
      use? 
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
   Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
   more than 5% owners or related persons.
   37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                 Yes        No
      employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
      employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
   39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   40 Do you provide more than five vehicles to your employees, obtain information from your employees about
       the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
      Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
    Part VI Amortization
                         (a)                               (b)                (c)                    (d)         (e)                                                      (f)
                      Description of costs                Date amortization         Amortizable                 Code                 Amortization                  Amortization
                                                               begins                amount                    section           period or percentage              for this year




                                                               ! !
   42 Amortization of costs that begins during your 2019 tax year:



                                                               ! !
   43 Amortization of costs that began before your 2019 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     43
   44 Total. Add amounts in column (f). See the instructions for where to report                                             44
   916252 12-12-19                                                                                                                                                     Form 4562 (2019)
                                                                                      14
15280510 769024 ROC160                                                             2019.05094 ROCKLAND INDUSTRIES, INC                                                           ROC160_1
                 Case 21-02590-dd                      Doc 1            Filed 10/05/21 Entered 10/05/21 12:54:29                                           Desc Main
                                                                       Document      Page 37 of 175
                                                           Sales of Business Property
                                                                                                                                                                        OMB No. 1545-0184


   Form       4797
   Department of the Treasury
                                           (Also Involuntary Conversions and Recapture Amounts Under Sections 179 and 280F(b)(2))
                                                                          | Attach to your tax return.
                                                                                                                                                                         2019
                                                                                                                                                                      Attachment
   Internal Revenue Service                          | Go to www.irs.gov/Form4797 for instructions and the latest information.                                        Sequence No.   27
   Name(s) shown on return                                                                                                               Identifying number


         ROCKLAND INDUSTRIES, INC                                                                                                                           3210
    1 Enter the gross proceeds from sales or exchanges reported to you for 2019 on Form(s) 1099-B or 1099-S (or substitute
      statement) that you are including on line 2, 10, or 20. See instructions                                                 1
     Part I          Sales or Exchanges of Property Used in a Trade or Business and Involuntary Conversions From Other
                     Than Casualty or Theft - Most Property Held More Than 1 Year (see instructions)
                                                                                                                  (e) Depreciation           (f) Cost or other             (g) Gain or (loss)
                                                     (b)   Date        (c)   Date
                                                                                           (d) Gross                                            basis, plus                 Subtract (f) from
                     (a) Description of                acquired            sold              sales price
                                                                                                               allowed or allowable          improvements and            the sum of (d) and (e)
                         property                    (mo., day, yr.)   (mo., day, yr.)                           since acquisition            expense of sale


    2




    3 Gain, if any, from Form 4684, line 39 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3
    4 Section 1231 gain from installment sales from Form 6252, line 26 or 37 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         4
    5 Section 1231 gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           5
    6 Gain, if any, from line 32, from other than casualty or theft ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            6
    7 Combine lines 2 through 6. Enter the gain or (loss) here and on the appropriate line as follows ~~~~~~~~~~~~~~~~~~                                          7
      Partnerships and S corporations. Report the gain or (loss) following the instructions for Form 1065, Schedule K,
      line 10, or Form 1120-S, Schedule K, line 9. Skip lines 8, 9, 11, and 12 below.
      Individuals, partners, S corporation shareholders, and all others. If line 7 is zero or a loss, enter the amount
      from line 7 on line 11 below and skip lines 8 and 9. If line 7 is a gain and you didn't have any prior year section
      1231 losses, or they were recaptured in an earlier year, enter the gain from line 7 as a long-term capital gain on
      the Schedule D filed with your return and skip lines 8, 9, 11, and 12 below.
    8 Nonrecaptured net section 1231 losses from prior years. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       8
    9 Subtract line 8 from line 7. If zero or less, enter -0-. If line 9 is zero, enter the gain from line 7 on line 12 below. If
        line 9 is more than zero, enter the amount from line 8 on line 12 below and enter the gain from line 9 as a long-term
        capital gain on the Schedule D filed with your return. See instructions                                                     9

     Part II         Ordinary Gains and Losses                    (see instructions)

   10 Ordinary gains and losses not included on lines 11 through 16 (include property held 1 year or less):




   11     Loss, if any, from line 7 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            11 (                             )
   12     Gain, if any, from line 7 or amount from line 8, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       12
   13     Gain, if any, from line 31 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            13        2035689.
   14     Net gain or (loss) from Form 4684, lines 31 and 38a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               14
   15     Ordinary gain from installment sales from Form 6252, line 25 or 36             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           15
   16     Ordinary gain or (loss) from like-kind exchanges from Form 8824 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         16
   17     Combine lines 10 through 16 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             17        2035689.

   18     For all except individual returns, enter the amount from line 17 on the appropriate line of your return and skip lines a
          and b below. For individual returns, complete lines a and b below.

        a If the loss on line 11 includes a loss from Form 4684, line 35, column (b)(ii), enter that part of the loss here. Enter the loss
          from income-producing property on Schedule A (Form 1040 or Form 1040-SR), line 16. (Do not include any loss on
          property used as an employee.) Identify as from "Form 4797, line 18a." See instructions ~~~~~~~~~~~~~~~~~~~~~                                          18a
        b Redetermine the gain or (loss) on line 17 excluding the loss, if any, on line 18a. Enter here and on Schedule 1
          (Form 1040 or Form 1040-SR), Part I, line 4                                                                     18b
   LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                         Form   4797 (2019)




   918001
   12-04-19
                                                                                            15
15280510 769024 ROC160                                                                   2019.05094 ROCKLAND INDUSTRIES, INC                                                         ROC160_1
   ROCKLAND
         CaseINDUSTRIES,
              21-02590-dd INC
                           Doc                                 1       Filed 10/05/21 Entered 10/05/21 12:54:29                                  Desc Main                      3210
   Form 4797 (2019)                                                   Document      Page 38 of 175                                                                             Page 2
     Part III         Gain From Disposition of Property Under Sections 1245, 1250, 1252, 1254, and 1255 (see instructions)
                                                                                                                                                 (b) Date acquired      (c) Date sold
                                                                                                                                                  (mo., day, yr.)       (mo., day, yr.)
    19 (a) Description of section 1245, 1250, 1252, 1254, or 1255 property:
      A SALE OF EDISON HIGHWAY PROPERTY                                                                                                           VARIES 031220
      B SALE OF FIXED ASSETS                                                                                                                      VARIES 073120
      C
      D
           These columns relate to the properties on
           lines 19A through 19D.                                        J          Property A               Property B            Property C                       Property D
    20     Gross sales price (Note: See line 1 before completing.)       20    4,361,383.                       1,500.
    21     Cost or other basis plus expense of sale ~~~~~~               21    7,834,939.                      40,483.
    22     Depreciation (or depletion) allowed or allowable    ~~        22    5,507,745.                      40,483.
    23     Adjusted basis. Subtract line 22 from line 21 ~~~~            23    2,327,194.                           0.

    24     Total gain. Subtract line 23 from line 20               24    2,034,189.                        1,500.
    25     If section 1245 property:
         a Depreciation allowed or allowable from line 22 ~~~           25a    5,507,745.                      40,483.
         b Enter the smaller of line 24 or 25a                  25b    2,034,189.                       1,500.
    26     If section 1250 property: If straight line depreciation
           was used, enter -0- on line 26g, except for a corporation
           subject to section 291.
         a Additional depreciation after 1975 ~~~~~~~~                  26a
         b Applicable percentage multiplied by the smaller of
           line 24 or line 26a   ~~~~~~~~~~~~~~~                        26b
         c Subtract line 26a from line 24. If residential rental
           property or line 24 isn't more than line 26a, skip lines
           26d and 26e       ~~~~~~~~~~~~~~~~~                          26c
         d Additional depreciation after 1969 and before 1976 ~         26d
         e Enter the smaller of line 26c or 26d    ~~~~~~~              26e
         f Section 291 amount (corporations only) ~~~~~                  26f
         g Add lines 26b, 26e, and 26f                       26g                      0.
    27     If section 1252 property: Skip this section if you didn't
           dispose of farmland or if this form is being completed for
           a partnership.
         a Soil, water, and land clearing expenses ~~~~~~               27a
         b Line 27a multiplied by applicable percentage ~~~~            27b
         c Enter the smaller of line 24 or 27b                  27c
    28     If section 1254 property:
         a Intangible drilling and development costs, expenditures
           for development of mines and other natural deposits,
           mining exploration costs, and depletion ~~~~~~               28a
         b Enter the smaller of line 24 or 28a                  28b
    29     If section 1255 property:
         a Applicable percentage of payments excluded from
           income under section 126 ~~~~~~~~~~~~     29a
     b Enter the smaller of line 24 or 29a   29b
   Summary of Part III Gains. Complete property columns A through D through line 29b before going to line 30.

    30     Total gains for all properties. Add property columns A through D, line 24    ~~~~~~~~~~~~~~~~~~~~~~~~                                   30      2,035,689.

    31     Add property columns A through D, lines 25b, 26g, 27c, 28b, and 29b. Enter here and on line 13 ~~~~~~~~~~~~~~                           31      2,035,689.
    32     Subtract line 31 from line 30. Enter the portion from casualty or theft on Form 4684, line 33. Enter the portion
           from other than casualty or theft on Form 4797, line 6                                                 32
     Part IV          Recapture Amounts Under Sections 179 and 280F(b)(2) When Business Use Drops to 50% or Less
                      (see instructions)
                                                                                                                                   (a) Section                      (b) Section
                                                                                                                                       179                          280F(b)(2)
    33     Section 179 expense deduction or depreciation allowable in prior years      ~~~~~~~~~~~~~~                         33
    34     Recomputed depreciation. See instructions      ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          34
    35     Recapture amount. Subtract line 34 from line 33. See the instructions for where to report                    35
   918002
   12-04-19
                                                                                       16                             Form 4797 (2019)
15280510 769024 ROC160                                                              2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
                 Case 21-02590-dd                     Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29                       Desc Main
                                                              Document      Page 39 of 175
   Form    8916-A
   (Rev. November 2019)
                                                Supplemental Attachment to Schedule M-3
                                                                                                                                     OMB No. 1545-0123
                                               | Attach to Schedule M-3 for Form 1065, 1120, 1120-L, 1120-PC, or 1120-S.
   Department of the Treasury
   Internal Revenue Service                            | Go to www.irs.gov/Form1120 for the latest information.
   Name of common parent                                                                                                   Employer identification number
           ROCKLAND INDUSTRIES, INC                                                                                                      3210
   Name of subsidiary                                                                                                      Employer identification number

       Part I     Cost of Goods Sold
                                                                   (a)                     (b)                    (c)                      (d)
                  Cost of Goods Sold Items                     Expense per             Temporary              Permanent               Deduction per
                                                            Income Statement           Difference             Difference               Tax Return


   1     Amounts attributable to cost flow assumptions


   2     Amounts attributable to:


       a Stock option expense ~~~~~~~~~~


       b Other equity-based compensation ~~~~~


       c Meals and entertainment     ~~~~~~~~


       d Parachute payments     ~~~~~~~~~~


       e Compensation with section 162(m) limitation


       f Pension and profit sharing ~~~~~~~~


       g Other post-retirement benefits ~~~~~~


       h Deferred compensation ~~~~~~~~~


       i Reserved ~~~~~~~~~~~~~~~


       j Amortization ~~~~~~~~~~~~~~


       k Depletion ~~~~~~~~~~~~~~~


       l Depreciation ~~~~~~~~~~~~~~


       m Corporate-owned life insurance premiums ~
                 SEE STATEMENT 24
       n Other section 263A costs ~~~~~~~~                      213,524.                  98,231.                                        311,755.

   3     Inventory shrinkage accruals ~~~~~~~


   4     Excess inventory and obsolescence reserves


   5     Lower of cost or market write-downs ~~~
                 SEE STATEMENT 26
   6     Other items with differences (attach statement)      6,616,635.                886,809.                                     7,503,444.
                 SEE STATEMENT 25
   7     Other items with no differences ~~~~~~             10,347,261.                                                            10,347,261.
   8     Total cost of goods sold. Add lines 1 through
         7 in columns a, b, c, and d. Enter totals on the
         applicable Schedule M-3. See instructions         17,177,420.                 985,040.                                   18,162,460.
   LHA        For Paperwork Reduction Act Notice, see instructions.                                                         Form 8916-A (Rev. 11-2019)


   913315
   12-11-19
                                                                                  17
15280510 769024 ROC160                                                         2019.05094 ROCKLAND INDUSTRIES, INC                              ROC160_1
                 Case 21-02590-dd                      Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29        Desc Main
                                                               Document      Page 40 of 175
                          ROCKLAND INDUSTRIES, INC
   Form 8916-A (Rev. 11-2019)                                                                                             3210         Page   2
    Part II       Interest Income
                                                                  (a)                    (b)          (c)                    (d)
                    Interest Income Item                   Income (Loss) per         Temporary    Permanent          Income (Loss) per
                                                           Income Statement          Difference   Difference             Tax Return
   1    Tax-exempt interest income


   2    Interest income from hybrid securities


   3    Sale/lease interest income


   4a Intercompany interest income - From outside
      tax affiliated group
   4b Intercompany interest income - From tax
      affiliated group
   5    Other interest income
                                     STMT 27                            739.                                                      739.
   6    Total interest income. Add lines 1 through 5

        in columns a, b, c, and d. Enter total on

        the applicable Schedule M-3.

        See instructions.                                               739.                                                      739.
   Part III       Interest Expense
                                                                  (a)                    (b)          (c)                   (d)
                    Interest Expense Item                     Expense per            Temporary    Permanent            Deduction per
                                                           Income Statement          Difference   Difference            Tax Return
   1    Interest expense from hybrid securities


   2    Lease/purchase interest expense


   3a Intercompany interest expense - Paid to
      outside tax affiliated group
   3b Intercompany interest expense - Paid to
      tax affiliated group
   4    Other interest expense
                                     STMT 28                    575,546.             -530,242.     -44,565.                       739.
   5    Total interest expense. Add lines 1 through 4

        in columns a, b, c, and d. Enter total on

        the applicable Schedule M-3.

        See instructions.                                       575,546.             -530,242.     -44,565.                       739.
                                                                                                               Form 8916-A (Rev. 11-2019)




   913316
   12-11-19
                                                                                  18
15280510 769024 ROC160                                                         2019.05094 ROCKLAND INDUSTRIES, INC              ROC160_1
                 Case 21-02590-dd                 Doc 1      Filed 10/05/21 Entered 10/05/21 12:54:29                              Desc Main
                                                            Document      Page 41 of 175
                                            Limitation on Business Interest Expense
   Form   8990
   (Rev. May 2020)
                                                      Under Section 163(j)                                                                OMB No. 1545-0123
                                                                       | Attach to your tax return.
   Department of the Treasury
   Internal Revenue Service          | Go to www.irs.gov/Form8990 for instructions and the latest information.
   Taxpayer name(s) shown on tax return                                                                                  Identification number
          ROCKLAND INDUSTRIES, INC                                                                                                        3210
   If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
   Name of foreign entity |
   Employer identification number, if any |
   Reference ID number |
    Part I        Computation of Allowable Business Interest Expense
    Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
    taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

   Section I - Business Interest Expense
      1      Current year business interest expense (not including floor plan
             financing interest expense), before the section 163(j) limitation ~~~~~~~          1         583,432.
      2      Disallowed business interest expense carryforwards from prior
             years. (Does not apply to a partnership) ~~~~~~~~~~~~~~~~~~                        2         714,568.
      3      Partner's excess business interest expense treated as paid or
             accrued in current year (Schedule A, line 44, column (h)) ~~~~~~~~~~               3
      4      Floor plan financing interest expense. See instructions     ~~~~~~~~~~
                                                                               4
      5      Total business interest expense. Add lines 1 through 4  |                                 5           1,298,000.
   Section II - Adjusted Taxable Income

                                                                          Taxable Income

      6      Taxable income. See instructions                                             6       -3,365,921.

                                    Additions (adjustments to be made if amounts are taken into account on line 6)

      7      Any item of loss or deduction that is not properly allocable to a
             trade or business of the taxpayer. See instructions   ~~~~~~~~~~~~                 7                             ALL ADJUSTMENTS
      8      Any business interest expense not from a pass-through entity. See                                                 ARE INCLUDED
             instructions       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 8                               IN LINE 6
      9      Amount of any net operating loss deduction under section 172        ~~~~~~         9                              SEE FORM 8990
    10       Amount of any qualified business income deduction allowed under                                                     ADJUSTED
             section 199A ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       10                            TAXABLE INCOME
    11       Deduction allowable for depreciation, amortization, or depletion attributable                                       WORKPAPER
             to a trade or business. See instructions ~~~~~~~~~~~~~~~~~~                        11
    12       Amount of any loss or deduction items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     12
    13       Other additions. See instructions ~~~~~~~~~~~~~~~~~~~~~                            13
    14       Total current year partner's excess taxable income (Schedule A, line
             44, column (f)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     14
    15       Total current year S corporation shareholder's excess taxable
             income (Schedule B, line 46, column (c))
                                                 ~~~~~~~~~~~~~~~~~  15
    16       Total. Add lines 7 through 15  |                                            16

                                    Reductions (adjustments to be made if amounts are taken into account on line 6)

    17       Any item of income or gain that is not properly allocable to a trade
             or business of the taxpayer. See instructions ~~~~~~~~~~~~~~~                      17 (                      )
    18       Any business interest income not from a pass-through entity. See instructions      18 (                      )
    19       Amount of any income or gain items from a pass-through entity.
             See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     19 (                      )
    20       Other reductions. See instructions   ~~~~~~~~~~~~~~~~~~~~                          20 (                      )
    21       Total. Combine lines 17 through 20 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                          21 (                            )
    22       Adjusted taxable income. Combine lines 6, 16, and 21. (If zero or less, enter -0-.)  |                22
   LHA For Paperwork Reduction Act Notice, see the instructions.                                                                   Form   8990   (Rev. 5-2020)


   923211 06-29-20
                                                                               19
15280510 769024 ROC160                                                      2019.05094 ROCKLAND INDUSTRIES, INC                                     ROC160_1
               Case 21-02590-dd                Doc 1        Filed 10/05/21 Entered 10/05/21 12:54:29                                   Desc Main
                                                           Document      Page 42 of 175
   Form 8990 (Rev. 5-2020)                                                                                                                                Page 2

   Section III - Business Interest Income
    23      Current year business interest income. See instructions ~~~~~~~~~~                  23                     739.
    24      Excess business interest income from pass-through entities (total of
            Schedule A, line 44, column (g), and Schedule B, line 46, column (d)) ~~~~          24
    25      Total. Add lines 23 and 24  |                                                   25                     739.
   Section IV - Section 163(j) Limitation Calculations

                                                         Limitation on Business Interest Expense

    26      Multiply adjusted taxable income (line 22) by the applicable percentage. See
            instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       26
    27      Business interest income (line 25) ~~~~~~~~~~~~~~~~~~~~~                            27                     739.
    28      Floor plan financing interest expense (line 4) ~~~~~~~~~~~~~~~~                     28
    29      Total. Add lines 26, 27, and 28  |                                                29                     739.

                                                           Allowable Business Interest Expense

    30      Total current year business interest expense deduction. See instructions                              30                     739.

                                                                         Carryforward

    31      Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)              31          1,297,261.
    Part II     Partnership Pass-Through Items
    Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
    and are not carried forward by the partnership. See the instructions for more information.

                                                             Excess Business Interest Expense

    32      Excess business interest expense. Enter amount from line 31                                     32

                                  Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

    33      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      33
    34      Subtract line 33 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              34
    35      Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              35
    36      Excess taxable income. Multiply line 35 by line 22                                        36

                                                             Excess Business Interest Income

    37      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       37
    Part III S Corporation Pass-Through Items
    Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the shareholders.
    See the instructions for more information.

                                                                   Excess Taxable Income

    38      Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~                      38
    39      Subtract line 38 from line 26. (If zero or less, enter -0-.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              39
    40      Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.) ~~~~~~~~~~~~~              40
    41      Excess taxable income. Multiply line 40 by line 22                                        41

                                                             Excess Business Interest Income

    42      Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
            less, enter -0-.)                                                       42
                                                                                                                                       Form   8990   (Rev. 5-2020)




   923212 06-29-20
                                                                             20
15280510 769024 ROC160                                                    2019.05094 ROCKLAND INDUSTRIES, INC                                           ROC160_1
                           Case 21-02590-dd         Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29                    Desc Main
                                                            Document      Page 43 of 175
ROCKLAND INDUSTRIES, INC                                     Business Interest Expense                                                                                 210
                                                                             Prior Disallowed    Business Interest   Business Interest   Limited Business      Disallowed
                                      Description                            Business Interest                                                              Business Interest
                                                                                                     Expense          Expense Ratio      Interest Expense
                                                                                 Expense                                                                        Expense

  MAIN TRADE OR BUSINESS                                                             714,568.          583,432.           1.000000                  739.      1,297,261.




Total ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                714,568.          583,432.           1.000000                  739.      1,297,261.

                                                                                                                                                                 923301 08-28-19


                                                                        21
               Case 21-02590-dd               Doc 1     Filed 10/05/21 Entered 10/05/21 12:54:29                      Desc Main
   ROCKLAND INDUSTRIES, INC                            Document      Page 44 of 175                                         3210

                                              Form 8990 Adjusted Taxable Income

   Total income without interest income and net capital gains/loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                           4,276,210.
   Less: Pass-through income without capital gain/losses   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          (                 )
   Add: Pass-through section 1231 loss treated as ordinary loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
         - Non-pass-through net capital gains/losses (limited to 0 if net capital loss is present) ~~~~~~~~~~~~~~~~
         - COGS depreciation and amortization ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
         - Other adjustments ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   Total income without pass-throughs      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4,276,210.

   Deductions:
   Compensation of officers ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               1,765,973.
   Salaries and wages ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  1,305,038.
   Repairs     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       79,865.
   Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                          19,388.
   Rents      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      137,032.
   Taxes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                           797,174.
   Charitable contributions without pass-throughs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                       15,638.
   Pension, profit-sharing, etc., plans   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        25,890.
   Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 13,076.
   Section 199A(g) deduction - 1120-C only ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   Other deductions without Section 199A(g)    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     3,483,057.
   Less: Pass-through other deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     (                 )
           - Total amortization (without COGS) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               (                 )


   Total deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   7,642,131.

   Taxable income before special deductions    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    -3,365,921.
   Special deductions without section 250 deduction   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   Tentative section 250 deduction for Section 163(j) purposes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   Adjusted taxable income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               -3,365,921.




   926461
   01-27-20
                                                                     22
15280510 769024 ROC160                                            2019.05094 ROCKLAND INDUSTRIES, INC                             ROC160_1
Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
                           Document      Page 45 of 175
Election Not to Claim the Additional First Year
 Depreciation Allowable Under IRC Sec. 168(k)




Rockland Industries, Inc
4969 Mercantile Road Suite A
Baltimore, MD 21236


Employer Identification Number:             3210


For the Year Ending July 31, 2020


Rockland Industries, Inc, hereby elects, pursuant to IRC Sec.
168(k)(7), not to claim the additional depreciation allowable under
IRC Sec. 168(k) for the following qualifying property placed in
service during the tax year ending July 31, 2020.


All property in the 3 year class.
All property in the 5 year class.
All property in the 7 year class.
All property in the 10 year class.
All property in the 15 year class.
All property in the 20 year class.
All property in the 25 year class.
Computer software as defined by IRC Sec. 167(f)(1)(B).
Qualified improvement property.


See attached Form 4562.
Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
                           Document      Page 46 of 175
Section 1.263(a)-1(f) De Minimis Safe Harbor Election




Rockland Industries, Inc
4969 Mercantile Road Suite A
Baltimore, MD 21236


Employer Identification Number:             3210


For the Year Ending July 31, 2020


Rockland Industries, Inc is making the de minimis safe harbor
election under Reg. Sec. 1.263(a)-1(f).
        Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
                                   Document      Page 47 of 175
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                    FOOTNOTES                      STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  ROCKLAND INDUSTRIES, INC. HAS A SMLLLC CALLED WAREHOUSE
  PROPERTIES INVESTMENTS, LLC.




                                               25                        STATEMENT(S) 1
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
        Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
  ROCKLAND INDUSTRIES, INC         Document      Page 48 of 175             3210
  }}}}}}}}}}}}}}}}}}}}}}}}                                                  }}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                      INTEREST INCOME                   STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                     US           OTHER
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INTEREST INCOME                                                                    739.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 5                                                         739.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                        OTHER INCOME                    STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  MISCELLANEOUS INCOME                                                               156,757.
  REDEMPTION OF LIFE INSURANCE POLICIES                                            1,004,598.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 10                                                      1,161,355.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                     TAXES AND LICENSES                 STATEMENT 4
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  PAYROLL TAX EXPENSES                                                               369,463.
  PROPERTY TAXES                                                                     415,296.
  RETAIL SALES TAX                                                                     9,326.
  LICENSES & PERMITS                                                                   2,332.
  TAXES - OTHER                                                                           757.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 17                                                        797,174.
                                                                               ~~~~~~~~~~~~~~




                                               26                  STATEMENT(S) 2, 3, 4
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
           Case 21-02590-dd    Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
  ROCKLAND INDUSTRIES, INC             Document      Page 49 of 175                            3210
  }}}}}}}}}}}}}}}}}}}}}}}}                                                                     }}}}

                                            CONTRIBUTIONS                            STATEMENT 5



   CURRENT YEAR CONTRIBUTIONS:
   QUALIFIED CONTRIBUTIONS SUBJECT TO 100% LIMIT
   QUALIFIED CONTRIBUTIONS SUBJECT TO 25% LIMIT
   FOOD INVENTORY CONTRIBUTIONS SUBJECT TO 25% LIMIT
   FOOD INVENTORY CONTRIBUTIONS SUBJECT TO 15% LIMIT
   QUALIFIED CONTRIBUTIONS SUBJECT TO 10% LIMIT

   CONTRIBUTION SUBJECT TO LIMITATION:
     CARRYOVER OF PRIOR YEARS UNUSED CONTRIBUTIONS


     FOR   TAX   YEAR   2014
     FOR   TAX   YEAR   2015
     FOR   TAX   YEAR   2016                                433
     FOR   TAX   YEAR   2017                              3,050
     FOR   TAX   YEAR   2018                                300

     TOTAL CARRYOVER                                                       3,783
     CURRENT YEAR CONTRIBUTIONS

     TOTAL CONTRIBUTIONS AVAILABLE                                         3,783
     TAXABLE INCOME LIMITATION AS ADJUSTED                                     0

     EXCESS CONTRIBUTIONS                                                  3,783

     ALLOWABLE CONTRIBUTIONS DEDUCTION                                                             0

   TOTAL CONTRIBUTION DEDUCTION                                                                    0




                                                   27                        STATEMENT(S) 5
15280510 769024 ROC160                          2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
        Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
  ROCKLAND INDUSTRIES, INC         Document      Page 50 of 175             3210
  }}}}}}}}}}}}}}}}}}}}}}}}                                                  }}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                      OTHER DEDUCTIONS                  STATEMENT 6
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  ALLOCATED SECTION 263A COSTS                                                      -112,259.
  COMMISSIONS                                                                        250,919.
  COMPUTER EXPENSES                                                                  142,452.
  CUSTOMER DISCOUNTS                                                                  48,626.
  DUES AND SUBSCRIPTIONS                                                                  60.
  ENGRAVING                                                                            3,568.
  INSURANCE                                                                        1,719,378.
  MEALS                                                                                2,809.
  MISCELLANEOUS EXPENSES                                                              30,213.
  OFFICE EXPENSES                                                                    264,749.
  PROFESSIONAL FEES                                                                  387,825.
  PURCHASED SERVICES                                                                 255,691.
  SAFETY & JANITORIAL                                                                 23,956.
  TRADE SHOWS                                                                         39,577.
  TRAVEL                                                                              41,495.
  WAREHOUSE & AUTOMOTIVE EXPENSES                                                    383,998.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 26                                                      3,483,057.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                           NET OPERATING LOSS DEDUCTION            STATEMENT 7
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                    LOSS
                                 PREVIOUSLY         LOSS         AVAILABLE
  TAX YEAR    LOSS SUSTAINED       APPLIED        REMAINING      THIS YEAR
  }}}}}}}}    }}}}}}}}}}}}}}   }}}}}}}}}}}}}}   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  07/31/17          298,819.                          298,819.       298,819.
  07/31/18        3,241,077.                        3,241,077.     3,241,077.
  07/31/19        6,156,833.       2,819,749.       3,337,084.     3,337,084.
                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  NOL AVAILABLE THIS YEAR                           6,876,980.     6,876,980.
                                                ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                   OTHER CURRENT ASSETS                STATEMENT 8
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
  DESCRIPTION                                                  TAX YEAR         YEAR
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  PREPAID EXPENSES                                                257,556.        75,497.
  DEFERRED TAXES                                                  854,274.       322,513.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 6                                   1,111,830.       398,010.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                               28                  STATEMENT(S) 6, 7, 8
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
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  ROCKLAND INDUSTRIES, INC         Document      Page 51 of 175             3210
  }}}}}}}}}}}}}}}}}}}}}}}}                                                  }}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                       OTHER ASSETS                    STATEMENT 9
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
  DESCRIPTION                                                  TAX YEAR         YEAR
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH SURRENDER VALUE OF LIFE INSURANCE                           68,666.              0.
  DEFERRED TAXES                                                        0.     1,528,725.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 14                                     68,666.     1,528,725.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                 OTHER CURRENT LIABILITIES             STATEMENT 10
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
  DESCRIPTION                                                  TAX YEAR         YEAR
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ACCRUED PAYROLL RELATED EXPENSES                                156,190.       112,806.
  ACCRUED BONUS                                                   185,040.           150.
  ACCRUED COMMISSIONS - DOMESTIC                                   -3,319.              0.
  ACCRUED COMMISSIONS - FOREIGN                                    36,389.         1,198.
  ACCRUED COMMISSIONS - OUTSIDE                                       326.              0.
  ACCRUED EXPENSES                                                691,903.        84,810.
  ACCRUED PROFESSIONAL FEES                                       160,356.        69,773.
  ACCRUED VACATION                                                 50,751.        98,324.
  LINE OF CREDIT                                                8,703,318.        30,963.
  UNEMPLOYMENT                                                     12,341.        10,206.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 18                                  9,993,295.       408,230.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                      OTHER LIABILITIES                STATEMENT 11
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
  DESCRIPTION                                                  TAX YEAR         YEAR
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ACCRUED RETIREMENT BENEFITS                                   1,625,233.     1,770,693.
  DEFERRED RENT                                                    43,182.        34,994.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 21                                  1,668,415.     1,805,687.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                               29                STATEMENT(S) 9, 10, 11
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
        Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
  ROCKLAND INDUSTRIES, INC         Document      Page 52 of 175             3210
  }}}}}}}}}}}}}}}}}}}}}}}}                                                  }}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-2          UNAPPROPRIATED RETAINED EARNINGS -         STATEMENT 12
                                 OTHER INCREASES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  PRIOR PERIOD WRITE-OFF OF DTA VALUATION                                          1,414,341.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 3                                                    1,414,341.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-2          UNAPPROPRIATED RETAINED EARNINGS -         STATEMENT 13
                                 OTHER DECREASES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  PRIOR PERIOD ADJUSTMENTS                                                            95,489.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 6                                                       95,489.
                                                                               ~~~~~~~~~~~~~~




                                               30                   STATEMENT(S) 12, 13
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
        Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
  ROCKLAND INDUSTRIES, INC         Document      Page 53 of 175             3210
  }}}}}}}}}}}}}}}}}}}}}}}}                                                  }}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1125-A              ADDITIONAL SECTION 263A COSTS           STATEMENT 14
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  ADDITIONAL SECTION 263A COSTS                                                      311,755.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO LINE 4                                                                    311,755.
                                                                               ~~~~~~~~~~~~~~




                                               31                       STATEMENT(S) 14
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
        Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
                                   Document      Page 54 of 175
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1125-A                      OTHER COSTS                     STATEMENT 15
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  ELECTRICITY                                                                        533,405.
  NATURAL GAS                                                                        231,162.
  WATER AND SEWER                                                                    261,774.
  PROPANE                                                                             14,569.
  TRASH REMOVAL                                                                       28,646.
  PEST CONTROL                                                                            374.
  SECURITY EXPENSES                                                                    1,416.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO LINE 5                                                                  1,071,346.
                                                                               ~~~~~~~~~~~~~~




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  SCHEDULE M-3       OTHER INCOME (LOSS) ITEMS WITH DIFFERENCES    STATEMENT 16
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                        INCOME                              INCOME
                                        (LOSS)                              (LOSS)
                                      PER INCOME   TEMPORARY   PERMANENT    PER TAX
  DESCRIPTION                          STATEMENT DIFFERENCE DIFFERENCE      RETURN
  }}}}}}}}}}}                         }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}}
  INCREASE IN CSV OF LIFE
  INSURANCE                                21,627.                     -21,627.            0.
  LIFE INSURANCE DIVIDENDS                 10,550.                     -10,550.            0.
  REDEMPTION OF LIFE INSURANCE
  POLICIES                                0.              1,004,598. 1,004,598.
                                 }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO M-3, PART II, LINE 25     32,177.                972,421. 1,004,598.
                                 ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3       OTHER INCOME (LOSS) AND EXPENSE / DEDUCTION   STATEMENT 17
                              ITEMS WITH NO DIFFERENCES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                   PER INCOME       PER TAX
  DESCRIPTION                                                       STATEMENT       RETURN
  }}}}}}}}}}}                                                      }}}}}}}}}}}    }}}}}}}}}}}
  OTHER INCOME (LOSS) - SEE STATEMENT                              19,398,383.    19,398,383.
  OTHER EXPENSE / DEDUCTION - SEE STATEMENT                        -3,851,019.    -3,851,019.
                                                                   }}}}}}}}}}}    }}}}}}}}}}}
  TOTAL TO SCHEDULE M-3, PART II, LINE 28                          15,547,364.    15,547,364.
                                                                   ~~~~~~~~~~~    ~~~~~~~~~~~




                                               32               STATEMENT(S) 15, 16, 17
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
          Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
  ROCKLAND INDUSTRIES, INC           Document      Page 55 of 175           3210
  }}}}}}}}}}}}}}}}}}}}}}}}                                                  }}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3      OTHER INCOME (LOSS) ITEMS WITH NO DIFFERENCES  STATEMENT 18
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                       INCOME         INCOME
                                                                       (LOSS)         (LOSS)
                                                                     PER INCOME       PER TAX
  DESCRIPTION                                                         STATEMENT       RETURN
  }}}}}}}}}}}                                                        }}}}}}}}}}}    }}}}}}}}}}}
  GROSS RECEIPTS OR SALES                                            19,339,475.    19,339,475.
  MISCELLANEOUS INCOME                                                  156,757.       156,757.
  RETURNS AND ALLOWANCES                                                -97,849.       -97,849.
                                                                     }}}}}}}}}}}    }}}}}}}}}}}
  TOTAL TO SCHEDULE M-3, PART II, LINE 28                            19,398,383.    19,398,383.
                                                                     ~~~~~~~~~~~    ~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3                 MEALS AND ENTERTAINMENT             STATEMENT 19
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                          EXPENSE                               DEDUCTION
                                        PER INCOME      TEMPORARY   PERMANENT    PER TAX
  DESCRIPTION                            STATEMENT     DIFFERENCE DIFFERENCE     RETURN
  }}}}}}}}}}}                           }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}}
  MEALS AND ENTERTAINMENT                    5,617.                    -2,808.      2,809.
                                        }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}}
  TOTAL                                      5,617.                    -2,808.      2,809.
                                        ~~~~~~~~~~~    ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-3             CHARITABLE CONTRIBUTION OF CASH         STATEMENT 20
                                AND TANGIBLE PROPERTY
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                         EXPENSE/                                    EXPENSE/
                                         DEDUCTION                                   DEDUCTION
                                        PER INCOME      TEMPORARY   PERMANENT         PER TAX
  DESCRIPTION                            STATEMENT     DIFFERENCE DIFFERENCE          RETURN
  }}}}}}}}}}}                           }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}      }}}}}}}}}}}
  CONTRIBUTIONS                                   0.                        0.                0.
                                        }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}      }}}}}}}}}}}
  TOTAL                                           0.                        0.                0.
                                        ~~~~~~~~~~~    ~~~~~~~~~~~ ~~~~~~~~~~~      ~~~~~~~~~~~




                                                 33               STATEMENT(S) 18, 19, 20
15280510 769024 ROC160                        2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
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  SCHEDULE M-3                    BAD DEBT EXPENSE                 STATEMENT 21
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                          EXPENSE                                 DEDUCTION
                                        PER INCOME     TEMPORARY      PERMANENT    PER TAX
  DESCRIPTION                            STATEMENT    DIFFERENCE     DIFFERENCE    RETURN
  }}}}}}}}}}}                           }}}}}}}}}}}   }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
  BAD DEBT                                  36,000.      -16,612.             0.     19,388.
                                        }}}}}}}}}}}   }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
  TOTAL                                     36,000.      -16,612.             0.     19,388.
                                        ~~~~~~~~~~~   ~~~~~~~~~~~    ~~~~~~~~~~~ ~~~~~~~~~~~




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  SCHEDULE M-3     OTHER EXPENSE/DEDUCTION ITEMS WITH DIFFERENCES  STATEMENT 22
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                  EXPENSE/                                           EXPENSE/
                                  DEDUCTION                                          DEDUCTION
                                 PER INCOME            TEMPORARY   PERMANENT          PER TAX
  DESCRIPTION                     STATEMENT           DIFFERENCE DIFFERENCE           RETURN
  }}}}}}}}}}}                    }}}}}}}}}}}          }}}}}}}}}}} }}}}}}}}}}}       }}}}}}}}}}}
  ACCRUED WATER AND SEWER           -56,341.              56,341.          0.                 0.
  COMMISSIONS                       219,194.              31,725.          0.          250,919.
  INSURANCE                       1,665,363.              54,015.          0.        1,719,378.
  PROFESSIONAL FEES                 322,808.              65,017.          0.          387,825.
  REPAIRS                            87,321.                          -7,456.           79,865.
  SALARIES AND WAGES              1,285,803.              19,235.          0.        1,305,038.
                                 }}}}}}}}}}}          }}}}}}}}}}} }}}}}}}}}}}       }}}}}}}}}}}
  TOTAL TO M-3, PART III, LINE 38 3,524,148.             226,333.     -7,456.        3,743,025.
                                 ~~~~~~~~~~~          ~~~~~~~~~~~ ~~~~~~~~~~~       ~~~~~~~~~~~




                                                 34                   STATEMENT(S) 21, 22
15280510 769024 ROC160                        2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
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  SCHEDULE M-3              OTHER EXPENSE/DEDUCTION ITEMS          STATEMENT 23
                                 WITH NO DIFFERENCES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                    EXPENSE/    EXPENSE/
                                                                    DEDUCTION   DEDUCTION
                                                                   PER INCOME    PER TAX
  DESCRIPTION                                                       STATEMENT    RETURN
  }}}}}}}}}}}                                                      }}}}}}}}}}} }}}}}}}}}}}
  ADVERTISING                                                          15,638.     15,638.
  ALLOCATED SECTION 263A COSTS                                       -112,259.   -112,259.
  COMPUTER EXPENSES                                                   142,452.    142,452.
  CUSTOMER DISCOUNTS                                                   48,626.     48,626.
  DUES AND SUBSCRIPTIONS                                                   60.          60.
  EMPLOYEE BENEFIT PROGRAMS                                            13,076.     13,076.
  ENGRAVING                                                             3,568.      3,568.
  LICENSES & PERMITS                                                    2,332.      2,332.
  MISCELLANEOUS EXPENSES                                               30,213.     30,213.
  OFFICE EXPENSES                                                     264,749.    264,749.
  OFFICERS COMPENSATION                                             1,765,973. 1,765,973.
  PAYROLL TAX EXPENSES                                                369,463.    369,463.
  PROPERTY TAXES                                                      415,296.    415,296.
  PURCHASED SERVICES                                                  255,691.    255,691.
  RENTS                                                               137,032.    137,032.
  RETAIL SALES TAX                                                      9,326.      9,326.
  SAFETY & JANITORIAL                                                  23,956.     23,956.
  TAXES - OTHER                                                           757.        757.
  TRADE SHOWS                                                          39,577.     39,577.
  TRAVEL                                                               41,495.     41,495.
  WAREHOUSE & AUTOMOTIVE EXPENSES                                     383,998.    383,998.
                                                                   }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO SCHEDULE M-3, PART II, LINE 28                           3,851,019. 3,851,019.
                                                                   ~~~~~~~~~~~ ~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 8916-A                 OTHER SECTION 263A COSTS             STATEMENT 24
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                      PER INCOME     TEMPORARY      PERMANENT    PER TAX
  DESCRIPTION                          STATEMENT    DIFFERENCE     DIFFERENCE    RETURN
  }}}}}}}}}}}                         }}}}}}}}}}}   }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
  ADDITIONAL SECTION 263A COSTS          213,524.       98,231.             0.    311,755.
                                      }}}}}}}}}}}   }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO LINE 2N                       213,524.       98,231.             0.    311,755.
                                      ~~~~~~~~~~~   ~~~~~~~~~~~    ~~~~~~~~~~~ ~~~~~~~~~~~




                                               35                   STATEMENT(S) 23, 24
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
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  ROCKLAND INDUSTRIES, INC         Document      Page 58 of 175             3210
  }}}}}}}}}}}}}}}}}}}}}}}}                                                  }}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 8916-A              OTHER ITEMS WITH NO DIFFERENCES         STATEMENT 25
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                                   PER INCOME       PER TAX
  DESCRIPTION                                                       STATEMENT       RETURN
  }}}}}}}}}}}                                                      }}}}}}}}}}}    }}}}}}}}}}}
  BEGINNING INVENTORY                                              12,438,485.    12,438,485.
  ELECTRICITY                                                         533,405.       533,405.
  ENDING INVENTORY                                                 -5,337,908.    -5,337,908.
  NATURAL GAS                                                         231,162.       231,162.
  PEST CONTROL                                                            374.           374.
  PROPANE                                                              14,569.        14,569.
  SALARIES AND WAGES                                                2,175,338.     2,175,338.
  SECURITY EXPENSES                                                     1,416.         1,416.
  TRASH REMOVAL                                                        28,646.        28,646.
  WATER AND SEWER                                                     261,774.       261,774.
                                                                   }}}}}}}}}}}    }}}}}}}}}}}
  TOTAL TO LINE 7                                                  10,347,261.    10,347,261.
                                                                   ~~~~~~~~~~~    ~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 8916-A               OTHER ITEMS WITH DIFFERENCES           STATEMENT 26
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                      PER INCOME     TEMPORARY      PERMANENT    PER TAX
  DESCRIPTION                          STATEMENT    DIFFERENCE     DIFFERENCE    RETURN
  }}}}}}}}}}}                         }}}}}}}}}}}   }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
  PURCHASES                            6,616,635.      886,809.             0. 7,503,444.
                                      }}}}}}}}}}}   }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO LINE 6                      6,616,635.      886,809.             0. 7,503,444.
                                      ~~~~~~~~~~~   ~~~~~~~~~~~    ~~~~~~~~~~~ ~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 8916-A                   OTHER INTEREST INCOME              STATEMENT 27
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                      PER INCOME     TEMPORARY      PERMANENT    PER TAX
  DESCRIPTION                          STATEMENT    DIFFERENCE     DIFFERENCE    RETURN
  }}}}}}}}}}}                         }}}}}}}}}}}   }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
  INTEREST INCOME                            739.            0.             0.        739.
                                      }}}}}}}}}}}   }}}}}}}}}}}    }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO PART II, LINE 5                   739.            0.             0.        739.
                                      ~~~~~~~~~~~   ~~~~~~~~~~~    ~~~~~~~~~~~ ~~~~~~~~~~~




                                               36               STATEMENT(S) 25, 26, 27
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
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  ROCKLAND INDUSTRIES, INC         Document      Page 59 of 175             3210
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 8916-A                  OTHER INTEREST EXPENSE              STATEMENT 28
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                 PER INCOME          TEMPORARY   PERMANENT    PER TAX
  DESCRIPTION                     STATEMENT         DIFFERENCE DIFFERENCE     RETURN
  }}}}}}}}}}}                    }}}}}}}}}}}        }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}}
  INTEREST EXPENSE FROM TRADE OR
  BUSINESS                          575,546.          -530,242.    -44,565.        739.
                                 }}}}}}}}}}}        }}}}}}}}}}} }}}}}}}}}}} }}}}}}}}}}}
  TOTAL TO PART III, LINE 4         575,546.          -530,242.    -44,565.        739.
                                 ~~~~~~~~~~~        ~~~~~~~~~~~ ~~~~~~~~~~~ ~~~~~~~~~~~




                                               37                       STATEMENT(S) 28
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
 Case 21-02590-dd            Doc 1       Filed 10/05/21 Entered 10/05/21 12:54:29              Desc Main
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                     2019 TAX RETURN FILING INSTRUCTIONS
                                               MARYLAND FORM 500

                                        FOR THE YEAR ENDING
                                                  July 31, 2020

Prepared For:


                Rockland Industries, Inc
                4969 Mercantile Road Suite A
                Baltimore, MD 21236

Prepared By:

                SC&H Group, Inc.
                910 Ridgebrook Road
                Sparks, MD 21152


To Be Signed and Dated By:

                The appropriate corporate officer(s).

Amount of Tax:

                Total tax                            $                           0
                Less: payments and credits           $                           0
                Plus: other amount                   $                           0
                Plus: interest and penalties         $                           0
                No payment required                  $

Overpayment:
                Not applicable

Make Check Payable to:

                Not applicable

Mail Tax Return and Check (if applicable) to:

                This return has been prepared for electronic filing. If you wish to have it transmitted to the
                MDDOR, please sign, date and return Form EL101B to our office. We will then submit the
                return to the MDDOR. Do not mail a paper copy of the return.

Return Must be Mailed On or Before:

                Return Form EL101B to us by June 15, 2021.

Special Instructions:
                 Case 21-02590-dd                         Doc 1          Filed 10/05/21 Entered 10/05/21 12:54:29                                                       Desc Main
                                                                        DocumentDO NOTPageMAIL
                                                                                          61 of 175
                  MARYLAND
                    FORM
                                               INCOME TAX                                                                                                                               2019
                                               DECLARATION
               EL101B                          FOR BUSINESSES
                                               ELECTRONIC FILING
OR FISCAL YEAR BEGINNING                     0801 2019, ENDING 073120

ROCKLAND INDUSTRIES INC                                                                                                                          3210
Name of corporation or pass-through entity                                                                                          Federal Employer Identification Number



4969 MERCANTILE ROAD SUITE A                                                             BALTIMORE                                                       MD           21236
Street Address                                                                           City or town                                                    State          ZIP Code   +4

PART I           Tax Return Information (whole dollars only)
    1.           Amount of overpayment to be applied to 2020 estimated tax (Corporations only.)
                                                                                                                                                       1.                     .00
        2.       Amount of overpayment to be refunded (Corporations only.) ~~~~~~~~~~~~~~   REFUND                                                                 2.                     .00
        3.       Total amount due                                                                                      3.                     .00
PART II          Declaration and Signature Authorization
     Check appropriate box to consent to:                                          Direct Deposit of refund or                           Electronic Funds Withdrawal (direct debit)
      4a. Type of account:
                           Checking                  Savings
        4b.      Routing Number (9-digits):                                                             4c.      Account number:
        4d.      Direct debit settlement date (Enter the date (MMDDYY) you want the payment
                 withdrawn from the account.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 4d.
        4e.      Direct debit amount            ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 4e.


                 I consent that the corporation's refund be directly deposited as designated above and declare that the information shown
        is correct. By consenting, I also agree to disclose to the Maryland State Treasurer's Office certain income tax information
        including name, amount of refund and the above bank information. This disclosure is necessary to effect direct deposit.
                 I authorize the State of Maryland and its designated financial agent to initiate an electronic funds withdrawal payment
        entry to the financial institution account indicated for payment of the Maryland taxes owed by the corporation or pass-through
        entity and the financial institution to debit the entry to this account. Upon confirmation of consent during the filing of the
        corporation or pass-through entity state return, this authorization is to remain in full force and effect, and I may not terminate
        the authorization. I also authorize the financial institutions involved in the processing of this electronic payment of taxes to
        receive confidential information necessary to answer inquiries and resolve issues related to the payment.
             X I do not want direct deposit of the refund or an electronic funds withdrawal (direct debit) of the balance due.

Under penalties of perjury, I declare that I am an officer, general partner or managing member of the above corporation or of the
pass-through entity. I have compared the information contained on my electronic return with the information that I provided to my
electronic return originator or entered on-line and that the name(s), address and amounts described above agree with the amounts
shown on the corresponding lines of my 2019 Maryland electronic income tax return. To the best of my knowledge and belief, the
return is true, correct and complete. I consent that the return, including accompanying schedules and statements, be sent to the
Maryland Revenue Administration Division by my electronic return originator or by the electronic return software provider.


Sign                                                                                                          OTHER
Here           Corporate officer, general partner or managing member's signature                              Title                                                       Date

                              Wait ten (10) days after the receipt of a valid acknowledgement before calling 1-800-638-2937 or from Central
                                                                  Maryland 410-260-7980, about the refund.
PART III     Declaration of Electronic Return Originator (paid preparer)
I declare that I have reviewed the return of the corporation or pass-through entity and that the entries on this form are complete
and correct to the best of my knowledge. I have obtained the signature of the corporate officer, general partner or managing
member, before submitting the return to the Maryland Revenue Administration Division, have provided that official with a copy of all
forms and information to be filed with the Maryland Revenue Administration Division, and have followed all other requirements
described in the Maryland Business MeF Handbook. This declaration is to be retained at the site of the electronic return originator.


Electronic          SCH GROUP INC                                         051021                              SCH GROUP INC
Return              Originator's Signature                                Date                                Firm's name (or yours if self-employed)
Originator          524102                                                                                    SPARKS MD                                            21152
Use Only
                    EFIN                                                                                      Address                                              ZIP Code + 4
                                                                                                              4104031500
                                                                                                              Telephone Number

                 COM/RAD-060                 07/19      956101 10-25-19
                                                                                           DO NOT MAIL
                                            Case 21-02590-dd                  Doc 1               Filed 10/05/21 Entered 10/05/21 12:54:29                           Desc Main
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                                              MARYLAND
                                                FORM
                                                                    APPLICATION FOR                                                                                                      2019
                                                                    EXTENSION TO FILE
                                                500E                CORPORATION INCOME
                                                                    TAX RETURN
                                     OR FISCAL YEAR BEGINNING       0801 2019, ENDING 073120




                                               3210
                                     Federal Employer Identification Number         (9 digits)
Print Using Blue or Black Ink Only




                                     ROCKLAND INDUSTRIES INC
                                     Name

                                     4969 MERCANTILE ROAD SUITE A
                                     Street Address
                                                                                                                                                                    For Office Use Only
                                                                                                                                                        ME          YE         EC       EC
                                     BALTIMORE                                                               MD      21236                                     07       20
                                     City or town                                                            State   ZIP Code        +4


                                             IF NO TAX IS DUE WITH THIS EXTENSION, DO NOT MAIL THIS PAPER FORM UNLESS IT IS THE FIRST
STOP                                         FILING OF THE ENTITY, INSTEAD FILE THE EXTENSION AT: www.marylandtaxes.gov OR CALL 410-260-7829
                                             FROM CENTRAL MARYLAND OR 1-800-260-3664 FROM ELSEWHERE TO TELEFILE THIS FORM.


                                                                                TAX PAYMENT WORKSHEET INSTRUCTIONS
                                     Line 1 - Tax liability Enter the total amount of income tax the corporation is expected to owe. Use Form 500 as a worksheet.
                                     Line 2 - Estimated tax payments Enter the total amount of Maryland estimated tax paid with Form 500D for the tax year. Include
STAPLE CHECK HERE




                                             any overpayment from the prior period that was credited to the current tax year.
                                     Line 3 - Allowable tax credits Enter the allowable tax credits from Form 500CR or 502S or tax paid on the corporation's behalf by
                                              a pass-through entity.
                                     Line 4 - Total payments and credits Add lines 2 and 3 and enter the total on line 4.
                                     Line 5 - Tax due Subtract line 4 from line 1 and enter the result on line 5. This is the tax to be paid with the application for
                                             extension.

                                                                                                  TAX PAYMENT WORKSHEET
1.                                     Tax liability expected for the current tax year      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                1.
2.                                     Estimated tax payments and amount credited from the prior period ~~~~~~~~~~~~~                        2.                             0.
3.                                     Allowable tax credits ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            3.
4.                                     Total payments and credits. Add lines 2 and 3 and enter here ~~~~~~~~~~~~~~~~~~~~~~                                4.
5.                                     Tax due - Subtract line 4 from line 1 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          5.


                                       TAX PAID WITH THIS EXTENSION ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   | $
                                       (If filing and paying electronically, do not mail this form.)


                                                IF NO TAX IS DUE WITH THIS EXTENSION, DO NOT MAIL THIS PAPER FORM UNLESS IT IS THE FIRST FILING OF
                                               THE ENTITY, INSTEAD FILE THE EXTENSION AT: www.marylandtaxes.gov OR CALL 410-260-7829 FROM CENTRAL
                                                                   MARYLAND OR 1-800-260-3664 FROM ELSEWHERE TO TELEFILE THIS FORM.


                                                                                                  Make checks payable to and mail to:
                                                                                                       Comptroller Of Maryland
                                                                                                   Revenue Administration Division
                                                                                                           110 Carroll Street
                                                                                                   Annapolis, Maryland 21411-0001
                                                               (Write Your Federal Employer Identification Number On Check Using Blue Or Black Ink.)



                                                 COM/RAD-003      956571 10-18-19
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                                                       MARYLAND
                                                         FORM
                                                                                     CORPORATION INCOME                                                                                                                   2019
                                                                                     TAX RETURN                                                                                                                          $
                                                           500
                                            OR FISCAL YEAR BEGINNING                 0801 2019, ENDING                  073120


                                                           3210
                                                Federal Employer Identification Number (9 digits)     FEIN Applied for Date (MMDDYY)
                                            |

                                            010127                                                    314000
                                                Date of Organization or Incorporation (MMDDYY)
                                            |                                                         | Business Activity Code No.   (6 digits)
Please Print Using Blue or Black Ink Only




                                            ROCKLAND INDUSTRIES INC
                                            Name



                                            4969 MERCANTILE ROAD SUITE A
                                            Current Mailing Address Line 1 (Street No. and Street Name or PO Box)




                                            Current Mailing Address Line 2 (Apt No., Suite No., Floor No.)

                                                                                                                                                                                 Do not write in this space.

                                            BALTIMORE                                                                                MD           21236                               07            20
                                            City or town                                                                             State        ZIP Code       +4                |   ME        |   YE
STAPLE CHECK




                                                 CHECK HERE IF:
    HERE




                                                     Name or address has changed                                     Inactive corporation                    First filing of the corporation                     Final Return
                                              |            This tax year's beginning and ending dates are different from last year's due to an acquisition or consolidation.
SEE CORPORATION INSTRUCTIONS. ATTACH A COPY OF THE FEDERAL INCOME TAX RETURN THROUGH SCHEDULE M2.
1a. Federal Taxable Income (Enter amount from Federal Form 1120 line 28 or Form 1120-C
     line 25c.) See Instructions. Check applicable box:
                                                           X 1120               1120-REIT                    990T
                                                    Other:                                 IF 1120S, FILE ON FORM 510                  ~~~~~~~~~~~~~ 1a.                           -3699313.
1b.                                           Special Deductions (Federal Form 1120 line 29b or
                                              Form 1120-C line 26b.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1b.
1c.                                           Federal Taxable Income before net operating loss deduction
                                              (Subtract line 1b from 1a) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     | 1c.                      -3699313.
MARYLAND ADJUSTMENTS TO FEDERAL TAXABLE INCOME
(All entries must be positive amounts.)
ADDITION ADJUSTMENTS
2a. Section 10-306.1 related party transactions ~~~~~~~~~~~~~~~~~~~~~ | 2a.
2b.                                           Decoupling Modification Addition adjustment
                                              (Enter code letter(s) from instructions.)               ~~~~~~~~~~~                                               | 2b.


2c.                                           Total Maryland Addition Adjustments to Federal Taxable Income (Add lines 2a and 2b) ~~~~~~~~~~~ 2c.
SUBTRACTION ADJUSTMENTS
3a. Section 10-306.1 related party transactions ~~~~~~~~~~~~~~~~~~~~~ | 3a.
3b.                                           Dividends for domestic corporation claiming foreign tax credits
                                              (Federal form 1120/1120C Schedule C line 18)                      ~~~~~~~~~~~~~~~~~~~ | 3b.
3c.                                           Dividends from related foreign corporations
                                              (Federal form 1120/1120C Schedule C line 14, 16b and 16c) ~~~~~~~~~~~~~ | 3c.
3d.                                           Decoupling Modification Subtraction adjustment
                                              (Enter code letter(s) from instructions.)               ~~~~~~~~~~~                                               | 3d.
3e.                                           Total Maryland Subtraction Adjustments to Federal Taxable Income
                                              (Add lines 3a through 3d.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 3e.
4.                                            Maryland Adjusted Federal Taxable Income before NOL deduction is applied
                                              (Add lines 1c and 2c, and subtract line 3e.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 4.                 -3699313.




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            MARYLAND
              FORM
                                    CORPORATION INCOME                                                                                                  2019
                                    TAX RETURN                                                                                                           page 2
              500
NAME ROCKLAND           INDUST             FEIN             3210

5.    Enter Adjusted Federal NOL Carry-forward available from previous tax years (including
      FDSC Carry-forward) on a separate company basis (Enter NOL as a positive amount.) ~~~~~~~~              | 5.                     9696729.
6.    Maryland Adjusted Federal Taxable Income (If line 4 is less than or equal to zero,
      enter amount from line 4.) (If line 4 is greater than zero, subtract line 5 from line 4 and
      enter result. If result is less than zero, enter zero.)                         6.                -3699313.
MARYLAND ADDITION MODIFICATIONS
(All entries must be positive amounts.)
7a. State and local income tax ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      | 7a.
7b.   Dividends and interest from another state, local or federal tax
      exempt obligation     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     | 7b.
7c.   Net operating loss modification recapture (Do not enter NOL carryover.
      See instructions.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       | 7c.
7d.   Domestic Production Activities Deduction ~~~~~~~~~~~~~~~~~~~~~                             | 7d.
7e.   Deduction for Dividends paid by captive REIT ~~~~~~~~~~~~~~~~~~~                           | 7e.
7f.   Other additions (Enter code letter(s) from
      instructions and attach schedule) ~~~~~~~~~~~~~~                                           |     7f.
7g.   Total Addition Modifications (Add lines 7a through 7f.) ~~~~~~~~~~~~~~~~~~~~~~~~                          7g.
MARYLAND SUBTRACTION MODIFICATIONS
(All entries must be positive amounts.)
8a. Income from US Obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       | 8a.
8b.   Other subtractions (Enter code letter(s) from
      instructions and attach schedule) ~~~~~~~~~~~~~~                                           | 8b.
8c.   Total Subtraction Modifications (Add lines 8a and 8b.) ~~~~~~~~~~~~~~~~~~~~~~~~                           8c.
NET MARYLAND MODIFICATIONS
9.  Total Maryland Modifications (Subtract line 8c from 7g. If less than zero,
      enter negative amount.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             9.
10.   Maryland Modified Income (Add lines 6 and 9.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 10.                 -3699313.
 APPORTIONMENT OF INCOME
 (To be completed by multistate corporations whose apportionment factor is less than 1, otherwise skip to line 13.)
11.   Maryland apportionment factor (from page 4 of this form)
      (If factor is zero, enter .000001.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ | 11.                                                        . 150168
12.   Maryland apportionment income (Multiply line 10 by line 11.)       ~~~~~~~~~~~~~~~~~~~~                   12.                    -555518.

13.   Maryland taxable income (from line 10 or line 12, whichever is applicable.)    ~~~~~~~~~~~~~              13.                                    0.
14.   Tax (Multiply line 13 by 8.25%.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      14.                                    0.
15a. Estimated tax paid with Form 500D, Form MW506NRS and/or credited
     from 2018 overpayment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         | 15a.
15b. Tax paid with an extension request (Form 500E) ~~~~~~~~~~~~~~~~~                      | 15b.
15c. Nonrefundable business income tax credits from Part AAA. (See instructions for Form 500CR.)                     You must file this form electronically to
                                                                                                                 claim business tax credits from Form 500CR.
15d. Refundable business income tax credits from Part DDD. (See instructions for Form 500CR.)
15e. The Heritage Structure Rehabilitation Tax Credit is claimed on line 1 of Part DDD on Form 500CR.
      Check here          if you are a non-profit corporation.
15f. Nonresident tax paid on behalf of the corporation by pass-through entities
     (Attach Maryland Schedule K-1.) ~~~~~~~~~~~~~~~~~~~~~~~~~                                   | 15f.
15g. Total payments and credits (Add lines 15a through 15f.) ~~~~~~~~~~~~~~~~~~~~~~           15g.
16. Balance of tax due (If line 14 exceeds line 15g, enter the difference.) ~~~~~~~~~~~~~~~~ | 16.
17.   Overpayment (If line 15g exceeds line 14, enter the difference.)    ~~~~~~~~~~~~~~~~~~~ | 17.
18.   Interest and/or penalty from Form 500UP                               or late payment interest
                          ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        TOTAL. | 18.
19.   Total balance due (Add lines 16 and 18, or if line 18 exceeds line 17 enter the difference.)   ~~~~~~     19.




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             MARYLAND                CORPORATION INCOME                                                                                     2019
               FORM                  TAX RETURN                                                                                                 page 3
                500
NAME ROCKLAND              INDUST          FEIN             3210

20.    Amount of overpayment to be applied to estimated tax for 2020
       (not to exceed the net of line 17 less line 18)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              | 20.
21.    Amount of overpayment TO BE REFUNDED
       (Add lines 18 and 20, and subtract the total from line 17.) ~~~~~~~~~~~~~~~~~~~~~~                          | 21.


DIRECT DEPOSIT OF REFUND (See Instructions.) Be sure the account information is correct.
If this refund will go to an account outside of the United States, then to comply with banking rules, place a "Y" in this box   ~~~~~~~     |
and see Instructions.
For the direct deposit option, complete the following information clearly and legibly.


22a.    Type of account:     |       Checking            Savings


22b.    Routing Number (9-digits):       |


22c.    Account number: |


INFORMATIONAL PURPOSES ONLY (LINES 23 & 24)
23.  NOL generated in Current Year - Carryforward 20 years and carry back 2 years (farming loss ONLY).
     (If line 6 is less than zero, enter on line 23.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   23.         -3699313.
24.     NAM generated in Current Year - Carried Forward/Back with Loss on Line 23 per
        Section 10-205(e) (If line 6 is less than zero AND line 9 is greater than zero, enter the
        amount from line 9 on line 24.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           24.                       0.




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               MARYLAND            CORPORATION INCOME                                                                                      2019
                 FORM              TAX RETURN                                                                                                page 4
                500
NAME ROCKLAND            INDUST          FEIN             3210

Schedule A - COMPUTATION OF APPORTIONMENT FACTOR (Applies only to multistate corporations. See instructions.)
 NOTE: Special apportionment formulas are required for rental/    Column 1                 Column 2                               Column 3
       leasing, financial institutions, transportation and     TOTALS WITHIN           TOTALS WITHIN                           DECIMAL FACTOR
       manufacturing companies. Worldwide headquartered          MARYLAND               AND WITHOUT                          (Column 1 ^ Column 2
       companies see instructions.                                                        MARYLAND                           rounded to six places)

1A. Receipts       a. Gross receipts or sales less returns and
                      allowances ~~~~~~~~~~~~~~~~ |                             145259          |         19241626

                   b. Dividends ~~~~~~~~~~~~~~~~~~


                   c. Interest ~~~~~~~~~~~~~~~~~~~                                    136                          739

                   d. Gross rents ~~~~~~~~~~~~~~~~~


                   e. Gross royalties   ~~~~~~~~~~~~~~~


                   f. Capital gain net income ~~~~~~~~~~~                     2067745                       2067745
                                                         STMT 2
                   g. Other income (Attach schedule.) ~~~~~~~                 1161355                       1161355
                   h. Total receipts (Add lines 1A(a) through
                      1A(g), for Columns 1 and 2.) ~~~~~~~~ |                 3374495           |         22471465                   .150168
                                                                                                                                      .      §
1B. Receipts       Multiply factor on line 1A, Column 3 by 3.
                   Disregard this line if special apportionment
                   formula is used ~~~~~~~~~~~~~~~~~                                                                                  .


2.   Property      a. Inventory ~~~~~~~~~~~~~~~~~~                                        0                            0

                   b. Machinery and equipment ~~~~~~~~~~                                  0                            0

                   c. Buildings ~~~~~~~~~~~~~~~~~~                                        0                            0

                   d. Land ~~~~~~~~~~~~~~~~~~~~
                                                         STMT 3
                   e. Other tangible assets (Attach schedule.) ~~~                        0                            0
                   f. Rent expense capitalized
                      (multiply by eight)   ~~~~~~~~~~~~~                                 0                            0
                   g. Total property (Add lines 2a through 2f,
                      for Columns 1 and 2.) ~~~~~~~~~~~ |                                       |                                     .           §

3.   Payroll       a. Compensation of officers    ~~~~~~~~~~

                   b. Other salaries and wages ~~~~~~~~~~                                 0                            0
                   c. Total payroll (Add lines 3a and 3b, for
                      Columns 1 and 2.) ~~~~~~~~~~~~~ |                                         |                                     .           §

4.   Total of factors (Add entries in Column 3.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              .150168
                                                                                                                                      .


5.   Maryland apportionment factor Divide line 4 by six for three-factor formula, or by the number of
     factors used if special apportionment formula required. (If factor is zero, enter .000001 on line 11 page 2.) ~~~~~~~           .150168
                                                                                                                                      .


     |   X     Check here if special apportionment formula is used.



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             MARYLAND
               FORM
                                    CORPORATION INCOME                                                                                                 2019
                                    TAX RETURN                                                                                                          page 5
               500
NAME ROCKLAND            INDUST           FEIN              3210
SCHEDULE B - ADDITIONAL INFORMATION REQUIRED (Attach a separate schedule if more space is necessary.)
1.  Telephone number of corporation tax department: 4105222505
2.    Address of principal place of business in Maryland (if other than indicated on page 1):


3.    Brief description of operations in Maryland:              MANUFACTURING AND SALES
4.    Has the Internal Revenue Service made adjustments (for a tax year in which a Maryland return
      was required) that were not previously reported to the Maryland Revenue Administration Division? ~~~~~~~~~                 Yes               X    No
      If "yes", indicate tax year(s) here:                         and submit an amended return(s) together with a copy of the IRS
      adjustment report(s) under separate cover.
5.    Did the corporation file employer withholding tax returns/forms with the Maryland Revenue
      Administration Division for the last calendar year? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           X    Yes            No
6.    Is this entity part of the federal consolidated filing?     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                |        Yes       X    No
      If a multistate operation, provide the following:
7.    Is this entity a multistate corporation that is a member of a unitary group? ~~~~~~~~~~~~~~~~~~~                          |        Yes       X    No
8.    Is this entity a multistate manufacturer with more than 25 employees? ~~~~~~~~~~~~~~~~~~~~~ | X                                    Yes            No
SIGNATURE AND VERIFICATION
Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements and to
the best of my knowledge and belief it is true, correct and complete. If prepared by a person other than taxpayer, the declaration is
based on all information of which the preparer has any knowledge.


Check here    X if you authorize your preparer to discuss this return with us.




                                                                                     LORI S BURGHAUSER
Officer's Signature                                        Date                      Preparer's Signature (Required by Law)
                                                                                     SCH GROUP INC
DONNA NEIMILLER, OTHER                                                               910 RIDGEBROOK ROAD
Officer's Name and Title                                                             Preparer's name/or Firm's name, address and telephone number
                                                                                     SPARKS MD 21152
                                                                                     4104031500


                                                                                                                       |
                                                                                                                              Preparer's PTIN (Required by Law)



                                                                                                                       |
                                                                                                                               CODE NUMBERS (3 digits per line)




                                                  INCLUDE ALL REQUIRED PAGES OF FORM 500

                                                                Make checks payable to and mail to:
                                                                     Comptroller Of Maryland
                                                                  Revenue Administration Division
                                                                         110 Carroll Street
                                                                  Annapolis, Maryland 21411-0001
                                                     (Write Your FEIN On Check Using Blue Or Black Ink.)




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  ROCKLAND INDUSTRIES, INC         Document      Page 68 of 175             3210
  }}}}}}}}}}}}}}}}}}}}}}}}                                                  }}}}
  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  MD 500                              FOOTNOTES                    STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  ROCKLAND INDUSTRIES, INC. HAS A SMLLLC CALLED WAREHOUSE
  PROPERTIES INVESTMENTS, LLC.




                                               7                         STATEMENT(S) 1
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  MD 500                       RECEIPTS - OTHER INCOME             STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                  MARYLAND      EVERYWHERE
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  OTHER RECEIPTS                                                  1161355.       1161355.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTALS TO FORM 500, PAGE 4, LINE 1A(G)                          1161355.       1161355.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  MD 500                 PROPERTY - OTHER TANGIBLE ASSETS          STATEMENT 3
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                  MARYLAND      EVERYWHERE
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  LEASEHOLD IMPROVEMENTS AT COST                                   463864.        463864.
  FURNITURE & FIXTURES AT COST                                     142023.        224400.
  TRANSPORT/DELIVERY EQUIP. AT COST                                 24001.         60107.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTALS TO FORM 500, PAGE 4, LINE 2(E)                            629888.        748371.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                               8                      STATEMENT(S) 2, 3
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
                                                                              Case 21-02590-dd                                 Doc 1 Filed 10/05/21 Entered 10/05/21 12:54:29                                                          Desc Main
                                                                                                                              U.S. Corporation Income
                                                                                                                                    Document               Tax
                                                                                                                                                  Page 70 of 175Return
                                                                       1120
                                                                                                                                                                                                                                                       OMB No. 1545-0123

   Form                                                                                     For calendar year 2019 or tax year beginning   AUGUST 1, 2019                                   , ending   JULY 31, 2020
   Department of the Treasury
   Internal Revenue Service                                                                                                  | Go to www.irs.gov/Form1120 for instructions and the latest information.                                                  2019
   A Check if:                                                                                                     Name                                                                                                                B   Employer identification number
  1a Consolidated return
     (attach Form 851) ......                                                                                              ROCKLAND INDUSTRIES, INC                                                                                                       3210
   b Life/nonlife consoli-                                                                         TYPE                                                                                                                                C   Date incorporated
     dated return ..............                                                                                   Number, street, and room or suite no. If a P.O. box, see instructions.
  2 Personal holding co.                                                                           OR
     (attach Sch. PH) ........
                                                                                                   PRINT
                                                                                                                           4969 MERCANTILE ROAD SUITE A                                                                                    01/01/1927
  3 Personal service corp.                                                                                                                                                                                                             D   Total assets (see instructions)
     (see instructions) ......                                                                                     City or town, state or province, country, and ZIP or foreign postal code
  4 Schedule M-3
     attached ...................                                                         X                                BALTIMORE, MD                            21236                                                             $          9,831,053.
                                                                                                     E Check if: (1)                 Initial return   (2)         Final return      (3)          Name change      (4)     Address change
                                                                        1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                1a         19,339,475.
                                                                          b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~           1b                                                                   97,849.
                                                                         c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           1c            19,241,626.
                                                                        2 Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              2            18,162,460.
                                                                        3 Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3             1,079,166.
                                                                        4 Dividends and inclusions (Schedule C, line 23) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
        Income




                                                                                                                                                                                                                                  4
                                                                                                                   SEE STATEMENT 5
                                                                        5 Interest ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                              5                               739.
                                                                        6 Gross rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             6
                                                                        7 Gross royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          7
                                                                        8 Capital gain net income (attach Schedule D (Form 1120)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     8
                                                                        9 Net gain or (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~                                                           9              2,035,689.
                                                                       10 Other income (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~    SEE STATEMENT 6                                                              10              1,161,355.
                                                                       11 Total income. Add lines 3 through 10                        |                                                        11              4,276,949.
                                                                       12    Compensation of officers (attach Form 1125-E)           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                        12              1,765,973.
                                                                                                                                                                                                                                                 1,305,038.
        Deductions (See instructions for limitations on deductions.)




                                                                       13 Salaries and wages (less employment credits) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          13
                                                                       14 Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                      14                 79,865.
                                                                       15 Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             15                 19,388.
                                                                       16 Rents ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                               16                137,032.
                                                                                                                             SEE STATEMENT 7
                                                                       17 Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                        17                797,174.
                                                                       18 Interest (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18                    739.
                                                                       19 Charitable contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~       SEE STATEMENT 8                                                              19                      0.
                                                                       20 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on return (attach Form 4562) ~~~~~~~~                                              20                333,392.
                                                                       21 Depletion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                             21
                                                                       22 Advertising ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            22                       15,638.
                                                                       23 Pension, profit-sharing, etc., plans ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             23                       25,890.
                                                                       24 Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     24                       13,076.
                                                                       25 Reserved for future use ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     25
                                                                                                                                 SEE STATEMENT 9
                                                                       26 Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              26             3,483,057.
                                                                       27 Total deductions. Add lines 12 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |                                                                           27             7,976,262.
                                                                       28 Taxable income before net operating loss deduction and special deductions. Subtract line 27 from line 11 ~~~~~~~~~~~~~                                 28            -3,699,313.
                                                                                                                              STATEMENT 10
                                                                       29 a Net operating loss deduction (see instructions) ~~~~~~~~~~~~~~~~                                                 29a                          0.
                                                                          b Special deductions (Schedule C, line 24) ~~~~~~~~~~~~~~~~~~~             29b
                                                                         c Add lines 29a and 29b                                                                                     29c
                                                                       30 Taxable income. Subtract line 29c from line 28. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~                                                              30            -3,699,313.
   Tax, Refundable Credits,




                                                                       31 Total tax (Schedule J, Part I, line 11) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           31                     0.
                                                                       32 2019 net 965 tax liability paid (Schedule J, Part II, line 12) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             32
        and Payments




                                                                       33 Total payments, credits, and section 965 net tax liability (Schedule J, Part III, line 23) ~~~~~~~~~~~~~~~                                             33
                                                                       34 Estimated tax penalty. See instructions. Check if Form 2220 is attached ~~~~~~~~~~~~~~~~~ |                                                            34
                                                                       35 Amount owed. If line 33 is smaller than the total of lines 31, 32, and 34, enter amount owed ~~~~~~~~~~~~                                              35                                     0.
                                                                       36 Overpayment. If line 33 is larger than the total of lines 31, 32, and 34, enter amount overpaid ~~~~~~~~~~~~                                           36
                                                                       37 Enter amount from line 36 you want: Credited to 2020 estimated tax |                                                                 Refunded    |     37
                                                                               Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge and belief, it is true,
                                                                               correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
   Sign                                                                                                                                                                                                                                       May the IRS discuss this



                                                                              =                                                                                                    =OTHER
                                                                                                                                                                                                                                              return with the preparer
                                                                                                                                                                                                                                              shown below?
   Here                                                                                                                                                                                                                                             X Yes
                                                                                  Signature of officer                                                  Date                                                                                                             No
                                                                                                                                                                                    Title
                                                                              Print/Type preparer's name                                                    Preparer's signature                          Date             Check                PTIN
   Paid     LORI S. BURGHAUSER                  LORI S. BURGHAUSER 05/10/21                                                                                                                                                if self-
                                                                                                                                                                                                                           employed     P00370694
   Preparer Firm's name |   SC&H GROUP, INC.                                                                                                                                                                               Firm's EIN |       1824
   Use Only Firm's address |910 RIDGEBROOK ROAD                                                                                                                                                                            Phone no.
                            SPARKS, MD 21152                                                                                                                                                                                     (410) 403-1500
   911601
   12-30-19                                                                 LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                                          Form 1120 (2019)
                                                                                                                                                                     9
15280510 769024 ROC160                                                                                                                                            2019.05094 ROCKLAND INDUSTRIES, INC                                                           ROC160_1
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              ROCKLAND INDUSTRIES, INC
   Form 1120 (2019)                                                                                                                             3210 Page 2
     Schedule C Dividends, Inclusions, and Special Deductions                                       (a) Dividends and                    (c) Special deductions
                          (see instructions)                                                                              (b) %
                                                                                                        inclusions                              (a) x (b)
    1 Dividends from less-than-20%-owned domestic corporations (other than
      debt-financed stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                   50
    2 Dividends from 20%-or-more-owned domestic corporations (other than debt-financed
      stock) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          65
                                                                                                                             see
                                                                                                                        instructions
    3 Dividends on certain debt-financed stock of domestic and foreign corporations ~~~~~


    4 Dividends on certain preferred stock of less-than-20%-owned public utilities ~~~~~~                                 23.3


    5 Dividends on certain preferred stock of 20%-or-more-owned public utilities ~~~~~~~                                  26.7


    6 Dividends from less-than-20%-owned foreign corporations and certain FSCs ~~~~~~                                       50


    7 Dividends from 20%-or-more-owned foreign corporations and certain FSCs ~~~~~~                                         65


    8 Dividends from wholly owned foreign subsidiaries       ~~~~~~~~~~~~~~~~~                                             100
                                                                                                                             see
                                                                                                                        instructions
    9 Subtotal. Add lines 1 through 8 ~~~~~~~~~~~~~~~~~~~~~~~~~
   10 Dividends from domestic corporations received by a small business investment
        company operating under the Small Business Investment Act of 1958 ~~~~~~~~~                                        100


   11 Dividends from affiliated group members       ~~~~~~~~~~~~~~~~~~~~~                                                  100


   12 Dividends from certain FSCs ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                              100
   13 Foreign-source portion of dividends received from a specified 10%-owned foreign
        corporation (excluding hybrid dividends) (see instructions) ~~~~~~~~~~~~~~                                         100
   14 Dividends from foreign corporations not included on line 3, 6, 7, 8, 11, 12, or 13
      (including any hybrid dividends) ~~~~~~~~~~~~~~~~~~~~~~~~~
                                                                                                                             see
                                                                                                                        instructions
   15 Section 965(a) inclusion ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   16 a Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
        the stock of a lower-tier foreign corporation treated as a dividend (attach Form(s) 5471)
        (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                100
      b Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s)
        5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
      c Other inclusions from CFCs under subpart F not included on line 15, 16a, 16b, or 17
        (attach Form(s) 5471) (see instructions) ~~~~~~~~~~~~~~~~~~~~~~


   17 Global intangible Low-Taxed income (GILTI) (attach Form(s) 5471 and Form 8992) ~~~


   18 Gross-up for foreign taxes deemed paid ~~~~~~~~~~~~~~~~~~~~~~


   19 lC -DISC and former DISC dividends not included on line 1, 2, or 3     ~~~~~~~~~~


   20 Other dividends     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   21 Deduction for dividends paid on certain preferred stock of public utilities ~~~~~~~~


   22 Section 250 deduction (attach Form 8993) ~~~~~~~~~~~~~~~~~~~~~
   23 Total dividends and inclusions. Add column (a), lines 9 through 20. Enter here and on
        page 1, line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   24 Total special deductions. Add column (c), lines 9 through 22. Enter here and on page 1, line 29b 
                                                                                                                                              Form 1120 (2019)


   911611
   12-30-19
                                                                                     10
15280510 769024 ROC160                                                            2019.05094 ROCKLAND INDUSTRIES, INC                                   ROC160_1
                  Case 21-02590-dd                  Doc 1     Filed 10/05/21 Entered 10/05/21 12:54:29                                Desc Main
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   Form 1120 (2019)       ROCKLAND INDUSTRIES, INC                                                                                          3210 Page 3
     Schedule J            Tax Computation and Payment (see instructions)
   Part I - Tax Computation
    1 Check if the corporation is a member of a controlled group (attach Schedule O (Form 1120)) ~~~~~~~~~~ |
     2       Income tax. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             2                    0.
     3       Base erosion minimum tax amount (attach Form 8991) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   3
     4       Add lines 2 and 3                                                    4                    0.
     5a Foreign tax credit (attach Form 1118) ~~~~~~~~~~~~~~~~~~~~~~                             5a
      b Credit from Form 8834 (see instructions) ~~~~~~~~~~~~~~~~~~~~                            5b
      c General business credit (attach Form 3800) ~~~~~~~~~~~~~~~~~~~                           5c
         d Credit for prior year minimum tax (attach Form 8827) ~~~~~~~~~~~~~~~                  5d
         e Bond credits from Form 8912 ~~~~~~~~~~~~~~~~~~~~~~~~~           5e
     6       Total credits. Add lines 5a through 5e ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        6
     7       Subtract line 6 from line 4 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             7                    0.
     8       Personal holding company tax (attach Schedule PH (Form 1120))                             8
     9a Recapture of investment credit (attach Form 4255) ~~~~~~~~~~~~~~~~                       9a
      b Recapture of low-income housing credit (attach Form 8611) ~~~~~~~~~~~~                   9b
         c Interest due under the look-back method-completed long-term contracts
           (attach Form 8697) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     9c
         d Interest due under the look-back method-income forecast method (attach Form 8866) ~   9d
         e Alternative tax on qualifying shipping activities (attach Form 8902) ~~~~~~~~~        9e
         f   Other (see instructions - attach statement) ~~~~~~~~~~~~~~~~~~~~                    9f
   10        Total. Add lines 9a through 9f ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            10
   11        Total tax. Add lines 7, 8, and 10. Enter here and on page 1, line 31                       11                   0.
   Part II - Section 965 Payments (see instructions)
    12 2019 net 965 tax liability paid from Form 965-B, Part II, column (k), line 3. Enter here and on page 1, line 32    12
   Part III - Payments, Refundable Credits, and Section 965 Net Tax Liability
    13 2018 overpayment credited to 2019 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 13
   14        2019 estimated tax payments    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            14
   15        2019 refund applied for on Form 4466   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        15   (                  )
   16        Combine lines 13, 14, and 15   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            16
   17        Tax deposited with Form 7004 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              17
   18        Withholding (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18
   19        Total payments. Add lines 16, 17, and 18 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       19
   20         Refundable credits from:
         a Form 2439 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          20a
         b Form 4136 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           20b
         c Form 8827, line 5c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     20c
         d Other (attach statement - see instructions) ~~~~~~~~~~~~~~~~~~~~                              20d
   21        Total credits. Add lines 20a through 20d ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       21
   22        2019 net 965 tax liability from Form 965-B, Part I, column (d), line 3. See instructions ~~~~~~~~~~~~~~~~~          22
   23        Total payments, credits, and section 965 net tax liability. Add lines 19, 21, and 22. Enter here and on page 1,
             line 33                                                          23
                                                                                                                                          Form 1120 (2019)




   911621
   12-30-19
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15280510 769024 ROC160                                                       2019.05094 ROCKLAND INDUSTRIES, INC                                  ROC160_1
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   Form 1120 (2019)     ROCKLAND INDUSTRIES, INC                                                                                                             210 Page 4
       Schedule K         Other Information (see instructions)
   1     Check accounting method: a   Cash     b X Accrual                          c         Other (specify) |                                                     Yes         No
   2     See the instructions and enter the:
       a Business activity code no. | 314000
       b Business activity | MANUFACTURING
       c Product or service | TEXTILES
   3     Is the corporation a subsidiary in an affiliated group or a parent-subsidiary controlled group? ~~~~~~~~~~~~~~~~~~~~~~~~~                                              X
         If "Yes," enter name and EIN of the parent corporation |


   4     At the end of the tax year:
       a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-exempt
         organization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
         corporation's stock entitled to vote? If "Yes," complete Part I of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~~~~~~~~                                       X
       b Did any individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
         classes of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G) ~~~~~~~~~~~                   X
    5 At the end of the tax year, did the corporation:
     a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of any
         foreign or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions ~~~~~~                          X
         If "Yes," complete (i) through (iv) below.
                                                                                             (ii) Employer                                                    (iv) Percentage
                                   (i) Name of Corporation                              Identification Number                    (iii) Country of            Owned in Voting
                                                                                                                                 Incorporation
                                                                                                  (if any)                                                          Stock




       b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in any foreign or domestic partnership
         (including an entity treated as a partnership) or in the beneficial interest of a trust? For rules of constructive ownership, see instructions ~~~~~~                  X
         If "Yes," complete (i) through (iv) below.
                                                                                             (ii) Employer                       (iii) Country of                (iv) Maximum
                                       (i) Name of Entity                               Identification Number                                                Percentage Owned in
                                                                                                  (if any)                       Organization
                                                                                                                                                             Profit, Loss, or Capital




    6 During this tax year, did the corporation pay dividends (other than stock dividends and distributions in exchange for stock) in
      excess of the corporation's current and accumulated earnings and profits? See sections 301 and 316 ~~~~~~~~~~~~~~~~~~~~~                                                  X
         If "Yes," file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form 5452.
         If this is a consolidated return, answer here for the parent corporation and on Form 851 for each subsidiary.
    7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all
      classes of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock? ~~~~~~~~~~~~                            X
         For rules of attribution, see section 318. If "Yes," enter:
         (a) Percentage owned |                             and (b) Owner's country |
         (c) The corporation may have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
         Corporation Engaged in a U.S. Trade or Business. Enter the number of Forms 5472 attached |
    8 Check this box if the corporation issued publicly offered debt instruments with original issue discount ~~~~~~~~~~~~~~~~~ |
      If checked, the corporation may have to file Form 8281, Information Return for Publicly Offered Original Issue Discount Instruments.
    9 Enter the amount of tax-exempt interest received or accrued during the tax year | $
   10 Enter the number of shareholders at the end of the tax year (if 100 or fewer) |                     15
   11 If the corporation has an NOL for the tax year and is electing to forego the carryback period, check here ~~~~~~~~~~~~~~~~ |
         If the corporation is filing a consolidated return, the statement required by Regulations section 1.1502-21(b)(3) must be attached
         or the election will not be valid.
   12 Enter the available NOL carryover from prior tax years (do not reduce it by any deduction reported on
      page 1, line 29a.)  | $                                                            6,876,980.
                                                                                                                                                         Form 1120 (2019)
   911632
   12-30-19
                                                                                      12
15280510 769024 ROC160                                                             2019.05094 ROCKLAND INDUSTRIES, INC                                               ROC160_1
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   Form 1120 (2019)    ROCKLAND INDUSTRIES, INC                                                                                              3210 Page 5
     Schedule K         Other Information (continued from page 4)
   13 Are the corporation's total receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the      Yes   No
      tax year less than $250,000? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 X
       If "Yes," the corporation is not required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash
       distributions and the book value of property distributions (other than cash) made during the tax year | $
   14 Is the corporation required to file Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instructions ~~~~~~~~~~~~~~~~                  X
      If "Yes," complete and attach Schedule UTP.
   15a Did the corporation make any payments in 2019 that would require it to file Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~                        X
     b If "Yes," did or will the corporation file required Form(s) 1099? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                    X
   16 During this tax year, did the corporation have an 80%-or-more change in ownership, including a change due to redemption of its
      own stock? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            X
   17 During or subsequent to this tax year, but before the filing of this return, did the corporation dispose of more than 65% (by value)
      of its assets in a taxable, non-taxable, or tax deferred transaction? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        X
   18 Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
      market value of more than $1 million? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
   19 During the corporation's tax year, did the corporation make any payments that would require it to file Forms 1042 and 1042-S
      under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? ~~~~~~~~~~~~~~~~~~~~                           X
   20 Is the corporation operating on a cooperative basis? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    X
   21 During the tax year, did the corporation pay or accrue any interest or royalty for which the deduction is not allowed under section
       267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    X
       If "Yes," enter the total amount of the disallowed deductions | $
   22 Does the corporation have gross receipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
      and (3)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                            X
       If "Yes," complete and attach Form 8991.
   23 Did the corporation have an election under section 163(j) for any real property trade or business or any farming business in effect
      during the tax year? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                            X
   24 Does the corporation satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 X
     a The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
     b The corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
       current tax year are more than $26 million and the corporation has business interest expense.
     c The corporation is a tax shelter and the corporation has business interest expense.
       If "Yes," to any, complete and attach Form 8990.
   25 Is the corporation attaching Form 8996 to certify as a Qualified Opportunity Fund?     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               X
      If "Yes," enter amount from Form 8996, line 14  | $
                                                                                                                                            Form 1120 (2019)




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   12-30-19
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     Schedule L                  Balance Sheets per Books                           Beginning of tax year                                            End of tax year

                              Assets                                          (a)                                 (b)                        (c)                             (d)
     1 Cash ~~~~~~~~~~~~~~~~~                                                                                    67,311.                                                    50,474.
     2a Trade notes and accounts receivable ~~~                       6,108,315.                                                          2,161,193.
      b Less allowance for bad debts ~~~~~~                      (      217,067.)                        5,891,248. (                       233,679.)                  1,927,514.
     3 Inventories ~~~~~~~~~~~~~~                                                                        9,238,713.                                                    3,238,469.
     4 U.S. government obligations ~~~~~~
     5 Tax-exempt securities ~~~~~~~~~
     6   Other current assets (att. stmt.)         STMT 11
                                                  ~~~~~~~                                                1,111,830.                                                       398,010.
     7 Loans to shareholders ~~~~~~~~~
     8 Mortgage and real estate loans~~~~~~
     9   Other investments (att. stmt.)      ~~~~~~~~
   10a Buildings and other depreciable assets ~~                   18,329,988.                                        17,226,262.
     b Less accumulated depreciation ~~~~~                       ( 14,311,899.)                          4,018,089. ( 14,538,401.)                                     2,687,861.
   11a Depletable assets ~~~~~~~~~~~
     b Less accumulated depletion ~~~~~~~                        (                            )                                   (                         )
   12 Land (net of any amortization) ~~~~~~
   13a Intangible assets (amortizable only) ~~~
     b Less accumulated amortization ~~~~~                       (                            )                                   (                         )
                                     STMT 12
   14 Other assets (att. stmt.) ~~~~~~~~                                                                   68,666.                                                     1,528,725.
   15 Total assets                                                                        20,395,857.                                                     9,831,053.
      Liabilities and Shareholders' Equity
   16 Accounts payable ~~~~~~~~~~~                                                                       3,547,378.                                                    3,680,542.
   17    Mortgages, notes, bonds payable in less than 1 year

   18                                   STMT
                                         ~~~~~~
         Other current liabilities (att. stmt.)      13                                                  9,993,295.                                                      408,230.
   19 Loans  from   shareholders     ~~~~~~~~                                                              240,503.                                                      219,834.
   20 Mortgages, notes, bonds payable in 1 year or more                                                          0.                                                      481,861.
                                        STMT 14
   21 Other liabilities (att. stmt.) ~~~~~~~~                                                            1,668,415.                                                    1,805,687.
   22 Capital stock: a Preferred stock ~~~~~
                     b Common stock ~~~~~                                    52,277.                        52,277.                          52,277.                      52,277.
   23 Additional paid-in capital ~~~~~~~~                                                                1,023,700.                                                    1,023,700.
      Retained earnings -
   24 Appropriated (attach statement) ~~~~~~~
   25 Retained earnings - Unappropriated ~~~                                                             3,888,785.                                                    2,177,418.
         Adjustments to shareholders'
   26    equity (attach statement) ~~~~~~~~~~
   27 Less cost of treasury stock ~~~~~~~                                          18,496.)       (                                                             (         18,496.)
   28 Total liabilities and shareholders' equity                            20,395,857.                                                                              9,831,053.
     Schedule M-1                      Reconciliation of Income (Loss) per Books With Income per Return
                                       Note: The corporation may be required to file Schedule M-3. See instructions.
     1 Net income (loss) per books ~~~~~~~                                                             7 Income recorded on books this year not
     2 Federal income tax per books ~~~~~~~                                                              included on this return (itemize):
     3 Excess of capital losses over capital gains ~~                                                       Tax-exempt interest       $
     4   Income subject to tax not recorded on books this year

         (itemize):
                                                                                                       8 Deductions on this return not charged
     5 Expenses recorded on books this year not                                                          against book income this year (itemize):
       deducted on this return (itemize):                                                                   a Depreciation ~~ $
                                                                                                              Charitable
       a Depreciation~~ $                                                                                   b contributions ~~~ $
              Charitable
         b    contributions    ~~ $
              Travel and
         c    entertainment      ~ $
                                                                                                       9 Add lines 7 and 8
     6 Add lines 1 through 5                                                               10 Income (page 1, line 28) - line 6 less line 9 
     Schedule M-2             Analysis of Unappropriated Retained Earnings per Books (Line 25, Schedule L)
     1   Balance at beginning of year ~~~~~~~       3,888,785. 5 Distributions: a Cash ~~~~~~~~~~
     2   Net income (loss) per books ~~~~~~~      -3,030,219.                    b Stock ~~~~~~~~~~
     3 Other increases (itemize):                                                                                        c Property ~~~~~~~~
         SEE STATEMENT 15                                                                              6 Other decreases (itemize) :
                                                                                        SEE STATEMENT 16                                                                    95,489.
                                                                         1,414,341. 7 Add lines 5 and 6 ~~~~~~~~~~~~~                                                       95,489.
     4 Add lines 1, 2, and 3                                  2,272,907. 8 Balance at end of year (line 4 less line 7)                                   2,177,418.
                                                                                                                                                                        Form 1120 (2019)
   911631
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                                                                                             14
15280510 769024 ROC160                                                                    2019.05094 ROCKLAND INDUSTRIES, INC                                                      ROC160_1
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                                    FOOTNOTES                      STATEMENT 4
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  ROCKLAND INDUSTRIES, INC. HAS A SMLLLC CALLED WAREHOUSE
  PROPERTIES INVESTMENTS, LLC.




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  FORM 1120                      INTEREST INCOME                   STATEMENT 5
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                     US           OTHER
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  INTEREST INCOME                                                                    739.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 5                                                         739.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                        OTHER INCOME                    STATEMENT 6
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  MISCELLANEOUS INCOME                                                               156,757.
  REDEMPTION OF LIFE INSURANCE POLICIES                                            1,004,598.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 10                                                      1,161,355.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                     TAXES AND LICENSES                 STATEMENT 7
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  PAYROLL TAX EXPENSES                                                               369,463.
  PROPERTY TAXES                                                                     415,296.
  RETAIL SALES TAX                                                                     9,326.
  LICENSES & PERMITS                                                                   2,332.
  TAXES - OTHER                                                                           757.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 17                                                        797,174.
                                                                               ~~~~~~~~~~~~~~




                                               16                  STATEMENT(S) 5, 6, 7
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                                            CONTRIBUTIONS                            STATEMENT 8



   CURRENT YEAR CONTRIBUTIONS:
   QUALIFIED CONTRIBUTIONS SUBJECT TO 100% LIMIT
   QUALIFIED CONTRIBUTIONS SUBJECT TO 25% LIMIT
   FOOD INVENTORY CONTRIBUTIONS SUBJECT TO 25% LIMIT
   FOOD INVENTORY CONTRIBUTIONS SUBJECT TO 15% LIMIT
   QUALIFIED CONTRIBUTIONS SUBJECT TO 10% LIMIT

   CONTRIBUTION SUBJECT TO LIMITATION:
     CARRYOVER OF PRIOR YEARS UNUSED CONTRIBUTIONS


     FOR   TAX   YEAR   2014
     FOR   TAX   YEAR   2015
     FOR   TAX   YEAR   2016                                433
     FOR   TAX   YEAR   2017                              3,050
     FOR   TAX   YEAR   2018                                300

     TOTAL CARRYOVER                                                       3,783
     CURRENT YEAR CONTRIBUTIONS

     TOTAL CONTRIBUTIONS AVAILABLE                                         3,783
     TAXABLE INCOME LIMITATION AS ADJUSTED                                     0

     EXCESS CONTRIBUTIONS                                                  3,783

     ALLOWABLE CONTRIBUTIONS DEDUCTION                                                             0

   TOTAL CONTRIBUTION DEDUCTION                                                                    0




                                                   17                        STATEMENT(S) 8
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  FORM 1120                      OTHER DEDUCTIONS                  STATEMENT 9
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  ALLOCATED SECTION 263A COSTS                                                      -112,259.
  COMMISSIONS                                                                        250,919.
  COMPUTER EXPENSES                                                                  142,452.
  CUSTOMER DISCOUNTS                                                                  48,626.
  DUES AND SUBSCRIPTIONS                                                                  60.
  ENGRAVING                                                                            3,568.
  INSURANCE                                                                        1,719,378.
  MEALS                                                                                2,809.
  MISCELLANEOUS EXPENSES                                                              30,213.
  OFFICE EXPENSES                                                                    264,749.
  PROFESSIONAL FEES                                                                  387,825.
  PURCHASED SERVICES                                                                 255,691.
  SAFETY & JANITORIAL                                                                 23,956.
  TRADE SHOWS                                                                         39,577.
  TRAVEL                                                                              41,495.
  WAREHOUSE & AUTOMOTIVE EXPENSES                                                    383,998.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO FORM 1120, LINE 26                                                      3,483,057.
                                                                               ~~~~~~~~~~~~~~

  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                           NET OPERATING LOSS DEDUCTION            STATEMENT 10
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                    LOSS
                                 PREVIOUSLY         LOSS         AVAILABLE
  TAX YEAR    LOSS SUSTAINED       APPLIED        REMAINING      THIS YEAR
  }}}}}}}}    }}}}}}}}}}}}}}   }}}}}}}}}}}}}}   }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  07/31/17          298,819.                          298,819.       298,819.
  07/31/18        3,241,077.                        3,241,077.     3,241,077.
  07/31/19        6,156,833.       2,819,749.       3,337,084.     3,337,084.
                                                }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  NOL AVAILABLE THIS YEAR                           6,876,980.     6,876,980.
                                                ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                   OTHER CURRENT ASSETS                STATEMENT 11
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
  DESCRIPTION                                                  TAX YEAR         YEAR
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  PREPAID EXPENSES                                                257,556.        75,497.
  DEFERRED TAXES                                                  854,274.       322,513.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 6                                   1,111,830.       398,010.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                               18                STATEMENT(S) 9, 10, 11
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                       OTHER ASSETS                    STATEMENT 12
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
  DESCRIPTION                                                  TAX YEAR         YEAR
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  CASH SURRENDER VALUE OF LIFE INSURANCE                           68,666.              0.
  DEFERRED TAXES                                                        0.     1,528,725.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 14                                     68,666.     1,528,725.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                 OTHER CURRENT LIABILITIES             STATEMENT 13
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
  DESCRIPTION                                                  TAX YEAR         YEAR
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ACCRUED PAYROLL RELATED EXPENSES                                156,190.       112,806.
  ACCRUED BONUS                                                   185,040.           150.
  ACCRUED COMMISSIONS - DOMESTIC                                   -3,319.              0.
  ACCRUED COMMISSIONS - FOREIGN                                    36,389.         1,198.
  ACCRUED COMMISSIONS - OUTSIDE                                       326.              0.
  ACCRUED EXPENSES                                                691,903.        84,810.
  ACCRUED PROFESSIONAL FEES                                       160,356.        69,773.
  ACCRUED VACATION                                                 50,751.        98,324.
  LINE OF CREDIT                                                8,703,318.        30,963.
  UNEMPLOYMENT                                                     12,341.        10,206.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 18                                  9,993,295.       408,230.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE L                      OTHER LIABILITIES                STATEMENT 14
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                             BEGINNING OF    END OF TAX
  DESCRIPTION                                                  TAX YEAR         YEAR
  }}}}}}}}}}}                                               }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  ACCRUED RETIREMENT BENEFITS                                   1,625,233.     1,770,693.
  DEFERRED RENT                                                    43,182.        34,994.
                                                            }}}}}}}}}}}}}} }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE L, LINE 21                                  1,668,415.     1,805,687.
                                                            ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                               19               STATEMENT(S) 12, 13, 14
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-2          UNAPPROPRIATED RETAINED EARNINGS -         STATEMENT 15
                                 OTHER INCREASES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  PRIOR PERIOD WRITE-OFF OF DTA VALUATION                                          1,414,341.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 3                                                    1,414,341.
                                                                               ~~~~~~~~~~~~~~


  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SCHEDULE M-2          UNAPPROPRIATED RETAINED EARNINGS -         STATEMENT 16
                                 OTHER DECREASES
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                                                      AMOUNT
  }}}}}}}}}}}                                                                  }}}}}}}}}}}}}}
  PRIOR PERIOD ADJUSTMENTS                                                            95,489.
                                                                               }}}}}}}}}}}}}}
  TOTAL TO SCHEDULE M-2, LINE 6                                                       95,489.
                                                                               ~~~~~~~~~~~~~~




                                               20                   STATEMENT(S) 15, 16
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                     2019 TAX RETURN FILING INSTRUCTIONS
                                       SOUTH CAROLINA FORM SC1120

                                        FOR THE YEAR ENDING
                                                July 31, 2020

Prepared For:


                Rockland Industries, Inc
                4969 Mercantile Road Suite A
                Baltimore, MD 21236

Prepared By:

                SC&H Group, Inc.
                910 Ridgebrook Road
                Sparks, MD 21152


To Be Signed and Dated By:

                The appropriate corporate officer(s).

Amount of Tax:

                Total tax                          $                            33
                Less: payments and credits         $                            77
                Plus: other amount                 $                             0
                Plus: interest and penalties       $                             0
                Overpayment                        $                            44

Overpayment:

                Credit to your estimated tax       $                            44
                Other amount                       $                             0
                Refunded to you                    $                             0

Make Check Payable to:

                Not applicable

Mail Tax Return and Check (if applicable) to:

                This return has been prepared for electronic filing. If you wish to have it transmitted to the
                SCDOR, please sign, date and return Form SC8453C to our office. We will then submit
                the return to the SCDOR. Do not mail a paper copy of the return.

Return Must be Mailed On or Before:

                Return Form SC8453C to us by May 17, 2021.

Special Instructions:
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                                                                STATE OF SOUTH CAROLINA
                                                                DEPARTMENT OF REVENUE                                                    SC8453C
                                                           CORPORATE INCOME TAX                                                           (Rev. 7/22/09)
                                                      DECLARATION FOR ELECTRONIC FILING                                                         3415

   Part 1: Corporation and Tax Return Information

    Corporation Name                                                                                                                           FElN
   ROCKLAND INDUSTRIES, INC                                                                                                                3210
    1. Federal taxable income          Check form filed:   X SC1120, line 1;                 SC1120S, line 1                    1     -3,699,313. 00
    2. SC Corporate Income Tax (SC1120, line 7; SC1120S, line 7) ~~~~~~~~~~~~~~~~~~~~~~~~                                       2                 00                    D
                                                                                                                                              77. 00
    3. Total Payments and Refundable Credits (SC1120, line 15, SC1120S, line 9) ~~~~~~~~~~~~~~~~                                3
                                                                                                                                                                        O
   Part 2: Declaration of Taxpayer/Corporate Officer
   Under penalties of perjury, I declare I am an officer of the above corporation and to the best of my knowledge and belief, the information on this                   N
   South Carolina Corporate Income Tax Return is true, correct, and complete.                                                                                           O
   If I have filed a balance due return, I understand that if the SC Department of Revenue does not receive full and timely payment of the tax
                                                                                                                                                                        T
   liability, I will remain liable for the tax liability and all applicable interest and penalties.

   I declare that I have compared the information on the corporate return with the information provided to the electronic return originator (ERO)
                                                                                                                                                                        M
   and the amount agrees with the amounts on the South Carolina corporate tax return. To the best of my knowledge, the return is true and                               A
   complete. I consent that the return and accompanying schedules and statements be sent to the Internal Revenue Service (IRS) by the ERO,                              I
   and subsequently by the IRS to the SC Department of Revenue.
                                                                                                                                                                        L

   Sign
             Signature                                                                                              Date
                                                                                                                                                                        K
   Here      Title                                                                                                   X Paid Preparer Authorization:*                    E
            CFO                                                                                                     Check here if the Department of Revenue may
                                                                                                                    discuss the return with the preparer shown below.   E
                                                                                                                                                                        P
   Part 3: Declaration of Electronic Return Originator (ERO)/Paid Preparer
   Under penalties of perjury, I declare that I have reviewed the above corporation's return and to the best of my knowledge and belief, the infor-
   mation on this South Carolina Corporate Income Tax Return is true, correct, and complete.
                                                                                                                                                                        F
                                                                                                                                                                        O
   I declare that I have received the above taxpayer's return and the entries on this form are complete and correct to the best of my knowledge.                        R
   I have obtained the corporate officer's signature on this form before submitting the return to the SC Department of Revenue. I have provided
   the taxpayer with a copy of all forms and information to be filed with the SC Department of Revenue, and have followed all IRS requirements
   specified by the IRS and SC Department of Revenue. If I am the preparer, I declare that I have examined the above taxpayer's return and                              Y
   accompanying schedules and statements, and to the best of my knowledge, they are true and complete. This declaration is based on all
   information of which I have knowledge.
                                                                                                                                                                        O
                                                                                                                                                                        U
                                                                                      Date          Check if         Check                        PTIN or FEIN          R
   ERO's             ERO
                                 |SC&H
                                                                                                    also paid        if self-
                     signature            GROUP, INC.                                               preparer    X    employed
   Use
   Only
                     Firm name (or
                     yours if self-   | SC&H GROUP, INC.                                                                                                                R
                     employed)
                                                                                                                                                                        E
   Paid
                                                                                                                                                                        C
                                                                                                         Date        Check                        PTIN or FEIN
                     Preparer                                                                                        if self-
   Preparer's        signature   |                                                                                   employed

   Use               Firm name (or
                     yours if self-
                                                                                                                                                                        O
                                      |
   Only              employed) and
                     address
                                                                                                                           ZIP code                                     R
   977741 04-01-19                                                                                                                                                      D
                                                                                                                                                                        S




            34151027

15280510 769024 ROC160                                                   2019.05094 ROCKLAND INDUSTRIES, INC                                                     ROC160_1
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                                                                STATE OF SOUTH CAROLINA
                                                                DEPARTMENT OF REVENUE                                                 SC1120-T
                                                APPLICATION FOR AUTOMATIC EXTENSION                                                  (Rev. 7/31/19)
      dor.sc.gov                                                                                                                         3096
                                                OF TIME TO FILE CORPORATE TAX RETURN
            SC Corporate File #              Income Tax period ending (MM-YY)
                                                               07-20

                  FEIN
                     3210


Corporate name and address

ROCKLAND INDUSTRIES INC                                                              1. Estimated tax due ~ |                                    0.00
                                                                                         (Do not enter less
4969 MERCANTILE ROAD SUITE A                                                             than zero)
BALTIMORE             MD 21236                                                       2. Total capital and paid in surplus
                                                                                                                x .001 plus
Check if:                                                                                $15 but not less
                   First-time filer who has not filed a CL-1                             than $25 minimum
                   S Corporation                                                         License Fee ~~~~ |                                      0.00
                   Consolidated Return                                                   (Do not enter less
                   Bank or Savings & Loan                                                than zero)
                   Utility or Electric Cooperative
                   Exempt Organization
                                                                                     3. Balance due ~~~~ |                                       0.00
                                                                                         (line 1 plus line 2)



                                                                    INSTRUCTIONS

Save time and paper! Request your extension to file by paying your balance due on our free tax portal, MyDORWAY, at dor.sc.gov/
pay. Select Business Income Tax Payment to get started. Your payment on MyDORWAY automatically submits your filing extension
request. No additional form or paperwork is required.


To request a six month extension to file, complete the following on or before the original Corporate Tax return due date:
      1. submit an SC1120-T
      2. pay ALL of the Corporate Income Tax due
      3. pay ALL of the Corporate License Fee due


If the corporation has not fulfilled its filing requirements for any previous period, we cannot grant an extension, and the return will be
delinquent if it was not filed by the original due date. We will not send notice of the invalid extension. If you do not anticipate owing tax,
and you requested a federal extension of time to file your federal Income Tax return, we will accept a copy of the properly filed federal
extension as long as the Corporate return is received within the extended time allowed by the IRS.

Only one SC1120-T is needed to extend a South Carolina consolidated Corporate Tax return. A single payment may be made for the
entire consolidated group. You do not need to list each member included in the consolidated return. We will accept a federal extension
if all corporations in the consolidated group have filed or are included in a federal extension.


An underpayment penalty will apply if the extension payment is less than 90% of the actual amount due for the period. The penalty is
based on the difference between the amount paid and the amount due. This penalty applies from the date the tax was due until you pay
in full.

Mail to: SCDOR, Corporate Voucher, PO Box 100153, Columbia SC 29202. Include Business Name and FEIN on the form and in the
memo of the check.                     977601 09-24-19




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                                            Case 21-02590-dd                        Doc 1           Filed 10/05/21 Entered 10/05/21 12:54:29                                     Desc Main
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                                                                                                             STATE OF SOUTH CAROLINA                                                    SC 1120
                                                                                          C CORPORATION INCOME TAX RETURN                                                               (Rev. 8/15/19)
         dor.sc.gov                                                       Return is due on or before the 15th day of the 4th month following the close of the taxable year.                 3091
         SC file #
         Income Tax period ending                                    JULY 31, 2020
         License Fee pe                                              JULY 31, 2021
                         3210
         Name  ROCKLAND     INDUSTRIES, INC
         Mailing address 4969 MERCANTILE ROAD SUI
         City  BALTIMORE       State MD ZIP 21236

         Change of |                                      Address               Accounting Period
                                                          Officers


Attach complete copy of federal return
        X Check if you filed a federal or state extension
                                                                                                                   (Complete
  Check if |                                          Initial Return        |           Consolidated Return       Schedule M)     County or Counties in SC Where Property is Located:
  |                                        Amended Return            |        Includes Disregarded LLC(s)
                                                                                                                 (Complete
                                                                                                                 Schedule L)     BAMBERG
  Check if                                                                                                                        Audit location: Street address, city, state, and ZIP


|                                       Merged |            Reorganized |             Final                                      910 RIDGEBROOK ROAD SPARKS, MD 21152
  Total gross receipts                                                 Total cost of depreciable personal property in SC          Audit contact                               Phone number
|                                       19,241,626. |                                 9,574,542.                                 DONNA NEIMILLER                                     410 522 2505
                                       1. Federal taxable income from federal tax return           ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       |      1.     -3,699,313 00
                                       2. Net adjustment from Schedule A and B, line 12 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         2.                00
                                       3. Total net income as reconciled (add line 1 and line 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           |      3.     -3,699,313 00
                                       4. If multi-state corporation, enter amount from Schedule G, line 6; otherwise, enter amount from line 3 ~~~~~~~~                 |      4.        -63,155 00
                                                                                                             SEE STATEMENT 1
                                       5. South Carolina net operating loss carryover, if applicable ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         |      5.   < 1,917,769 00 >
                                       6. South Carolina net income subject to tax (subtract line 5 from line 4) ~~~~~~~~~~~~~~~~~~~~~~                                  |      6.     -1,980,924 00
                                       7. Tax: Multiply line 6 by .05 (5%) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               7.              0 00
                                       8. Tax deferred on income from foreign trade receipts (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                    |      8.   <            00 >
COMPUTATION OF INCOME TAX LIABILITY




                                       9. Balance (subtract line 8 from line 7)                                                             9.                00
                                      10. Credit carryover (Schedule C, line 7) |                        9,173 00 Nonrefundable credits (Schedule C, line 5) ~~ | 10.                <            00 >
                                      11. Balance of tax (subtract line 10 from line 9 and enter the difference, but not less than zero) ~~~~~~~~~~~~                          11.                00
                                      12. Interest on DISC-deferred tax liability                                00    or foreign trade deferred tax
                                          liability                              00     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     12.                      00
                                      13. Total tax and/or interest (add line 11 and 12) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      13.                      00
             PART I




                                      14. Payments:                  (a) Tax withheld (attach 1099s, I-290s, and/or W-2s) ~~~~~~~~~~~~~~~~~                              | 14a.                         00
                                                                       (b) Paid by declaration ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            | 14b.                      77 00
                                                                       (c) Paid with extension ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            | 14c.                       0 00
                                                                       (d) Credit from line 29b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                14d.                      00
                                          Refundable Credits:          (e) Ammonia Additive ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              | 14e.                         00
                                                                       (f) Milk Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                | 14f.                         00
                                                                       (g) Motor Fuel Income Tax Credit ~~~~~~~~~~~~~~~~~~~~~~~~~~                                       | 14g.                         00
                                      15. Total payments and refundable credits (add line 14a through line 14g) ~~~~~~~~~~~~~~~~~~~~~                                       15.                      77 00
                                      16. Balance of tax and/or interest (subtract line 15 from line 13)                                       | 16.                          00
                                      17. (a) Interest                                        00    (b) Late file/pay penalty                                 00
                                           (c) Declaration penalty (attach SC2220)                   |                      00
                                           Total (add line 17a through line 17c) See penalty and interest in SC1120 instructions        ~~~~~~~~~~~~~~                   | 17.                           00
                                      18. Total Income Tax, interest, and penalty (add line 16 and 17)                                BALANCE DUE         18.                           00
                                      19. Overpayment (subtract line 13 from line 15)                        77 00                To be applied as follows:
                                          (a) Estimated Tax |                                 44 00 (b) License Fee |                                  33 00 (c) REFUND         |                        00
                                                                       PART II COMPUTATION OF LICENSE FEE AND SCHEDULES A, B, AND C PAGE 2
                                                        977401 09-20-19




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SC1120                                                                                                                                                                                           Page 2
                             20. Total capital and paid in surplus (Multi-state corporations see Schedule E) ~~~~~~~~~~~~~~~~~~~                                | 20.                18,369        00
                             21. License Fee: multiply line 20 by .001 then add $15 (Fee cannot be less than $25 per taxpayer) ~~~~~~~~~~                       | 21.                    33        00
COMPUTATION OF LICENSE FEE




                             22. Credit carryover |                               00 Credit taken this year from SC1120TC, Part II, Column C ~~~                | 22.     <                        00 >
                             23. Balance (subtract line 22 from line 21) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      23.                      33      00
                             24. Payments: (a) Paid with extension ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                        | 24a.                             00
                                            (b) Credit from line 19b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                         24b.                     33      00
                                                                                                                                                                                           33
         PART II




                             25. Total payments (add line 24a and line 24b) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                      25.                             00
                             26. Balance of License Fee (subtract line 25 from line 23)                                             | 26.                       0      00
                             27. (a) Interest                                  00    (b) Late file/pay penalty                                     00
                                 Total (add line 27a and line 27b) See penalty and interest in SC1120 Instructions ~~~~~~~~~~~~~~~~                             | 27.                              00
                             28. Total License Fee, interest, and penalty (add line 26 and line 27)                       BALANCE DUE             28.                        0     00
                             29. Overpayment (subtract line 23 from line 25)                                    00    To be applied as follows:
                                 (a) Estimated Tax   |                                    00   (b) Income Tax |      (c) REFUND               00                    |                              00
                             30. GRAND TOTAL: INCOME TAX and LICENSE FEE DUE (add line 18 and line 28)                                            30.                       0     00

SCHEDULE A AND B                                                          ADDITIONS TO FEDERAL TAXABLE INCOME
   1. Taxes on or measured by income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    1.
   2. Federal net operating loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     2.
   3.                                                                                                                                3.
   4.                                                                                                                                4.
   5. Other additions (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                 5.
   6. Total additions (add line 1 through line 5)                                                                             6.
                                                                     DEDUCTIONS FROM FEDERAL TAXABLE INCOME
   7. Interest on US obligations ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                     7.
   8.                                                                                                                                8.
   9.                                                                     9.
10. Other deductions (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10.
11. Total deductions (add line 7 through line 10) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 11.
12. Net adjustment (subtract line 11 from line 6) Also enter on SC1120, Part 1, line 2  12.
SCHEDULE C                                                       SUMMARY OF INCOME TAX CREDITS (FROM SC1120TC)
   1. Credit carryover from previous year's SC1120, Schedule C (should match SC1120TC Column A, line 13) ~~~~~~~~~~~~                                                1.                  9,173.
   2. Enter total credits from SC1120TC, Column B, line 13 (attach SC1120TC and schedules for each tax credit claimed) ~~~~~~~                                       2.
   3. Total credits (add line 1 and line 2) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                               3.                  9,173.
   4. Tax from SC1120, Part 1, line 9 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   4.
   5. Lesser of line 3 or line 4 (enter on SC1120, Part 1, line 10; should match SC1120TC, Column C, line 13) ~~~~~~~~~~~~                                           5.
   6. Enter credits lost due to statute (should match SC1120TC, Column D, line 13) ~~~~~~~~~~~~~~~~~~~~~~~                                                           6.
   7. Credit carryover (subtract lines 5 and 6 from line 3; should match SC1120TC, Column E, line 13)                                                 7.                  9,173.
                                As a principal officer of the corporation for which this return is made, I declare that this return, including accompanying annual report,
Sign                            statements, and schedules, has been examined by me and is to the best of my knowledge and belief true and complete.
Here                                                                                                        CFO
                              Signature of officer                                                          Officer's title                                Email
                               DONNA NEIMILLER                                                                                                              410-522-2505
                              Print officer's name                                                          Date                                           Phone number
                               I authorize the Director of the SCDOR or delegate to discuss this                                Print preparer's name
                               return, attachments, and related tax matters with the preparer.        Yes   X        No          LORI S. BURGHAUSER
Paid       Preparer's                                                                                                         Date             Check if                       Preparer's phone number
Preparer's signature            LORI S. BURGHAUSER                                                                            05/10/21 self-employed                          410 403-1500
Use Only Firm's name (or           SC&H GROUP, INC.                                                                                                       PTIN or FEIN
           yours if self-employed) 910 RIDGEBROOK ROAD
           and address
                                                             SPARKS, MD 21152                                                                             ZIP        21152
If this is a corporation's final return, signing here authorizes the SCDOR to disclose that information to the South Carolina Secretary of State (SCSOS).
You must close with the SCSOS and the SCDOR.


Taxpayer's signature                                                                                                                                                          Date

                               30912059                          977402 09-20-19    PFX
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   SC1120                                                                                                                                                  Page 3
   SCHEDULE D                               ANNUAL REPORT TO BE COMPLETED BY ALL CORPORATIONS
   1. Name      ROCKLAND             INDUSTRIES,                INC
   2. Incorporated under the laws of the state of   MARYLAND
   3. Location of the registered office of the corporation in South Carolina                  253 CALHOUN STREET
      In the city of BAMBERG                                 Registered agent at this address   WILLIAM MOORE
   4. Location of principal office (street address) 4969       MERCANTILE               ROAD     SUITE A BALTIMORE, MD                           21236
      Nature of principal business in SC     MANUFACTURING
   5.   Total number of authorized shares of capital stock, itemized by class and series, if any, within each class:
                                Number of shares                                        Class                                                 Series
                                 2,000,000.                          COMMON                                                    N/A
   6.   Total number of issued and outstanding shares of capital stock itemized by class and series, if any, within each class:
                                Number of shares                                        Class                                                 Series
                                      523,353.                       COMMON                                                    N/A
   7.   Names and business addresses of the directors (or individuals functioning as directors) and principal officers in the corporation:
        Attach separate schedules if you need more space.
        Name                                              Title                                                        Business address
   INFORMATION AVAILA                               VARIOUS                               P.O. BOX 17293 BALTIMORE, MD 21297




   8.   Date incorporated 01/01/1927                              Date commenced business in South Carolina                    01/01/1927
   9. Date of this report JULY 31, 2020                                                                                            FEIN         3210
   10. If foreign corporation, the date qualified to do business in South Carolina                 01/01/1927
                                                          NO
   11. Was the name of the corporation changed during the year?   Previous name
   12. The corporation's books are in the care of DONNA NEIMILLER
       Located at (street address) P.O. BOX 17293, BALTIMORE, MD 21297
   13. If filing consolidated, complete and attach Schedule J for each corporation included in the consolidation.
   14. Total amount of stated capital per balance sheet is:
          A. Total paid in capital stock (cannot be a negative amount)     ~~~~ $                  52,277.
          B. Total paid in capital surplus (cannot be a negative amount)     ~~~ $              1,023,700.
          C. Total amount of stated capital (cannot be a negative amount) ~~~ $                 1,075,977.


                                                  ATTACH COMPLETE COPY OF YOUR FEDERAL RETURN

                                                File electronically using Modernized Electronic Filing (MeF).

                                            Payments: Pay online using our free tax portal, MyDORWAY, at dor.sc.gov/pay.
                                                        Select Business Income Tax Payment to get started.

                        If you pay by check, make your check payable to SCDOR and include your business name and FEIN in the memo.


                                         Mail Balance Due returns to:                            Mail Refund or Zero Tax returns to:
                                                   SCDOR                                                     SCDOR
                                               Corporate Taxable                                         Corporate Refund
                                                PO Box 100151                                              PO Box 125
                                              Columbia, SC 29202                                     Columbia, SC 29214-0032



   977411 09-20-19   PFX




            30913057
                                                                                        3
15280510 769024 ROC160                                                               2019.05094 ROCKLAND INDUSTRIES, INC                                 ROC160_1
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   ROCKLAND IND                                                                                                                                                 3210


   SC1120                                                                                                                                                           Page 4
                        ONLY MULTI-STATE CORPORATIONS MUST COMPLETE SCHEDULES E, F, G, AND H
   SCHEDULE E                        COMPUTATION OF LICENSE FEE OF MULTI-STATE CORPORATIONS
    1. Total capital and paid in surplus at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ $                                          1,075,977.
    2. SC Proportion: (multiply line 1 by the ratio from Schedule H-1, H-2, or H-3, as appropriate) Also enter on SC1120, line 20 ~~~~~ $    18,369.


   SCHEDULE F                                            INCOME SUBJECT TO DIRECT ALLOCATION
                                                                                            Less:                         Net Amounts              Net Amounts
                                                            Gross                          Related                      Allocated Directly           Allocated
                                                           Amounts                        Expenses                          to SC and              Directly to SC
                                                                                                                           Other States
                                                               1                               2                                3                        4
    1. Interest not connected with business
    2. Dividends received
    3. Rents
    4. Gains/losses on real property
    5. Gains/losses on intangible personal property
    6. Investment income directly allocated
    7. Total income directly allocated
    8. Income directly allocated to SC

   SCHEDULE G                        COMPUTATION OF TAXABLE INCOME OF MULTI-STATE CORPORATIONS
    1. Total net income as reconciled from SC1120, page 1, line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1.   -3,699,313.
    2. Income subject to direct allocation to SC and other states from Schedule F, line 7 ~~~~~~~~~~~~~~~~~~~~~~                             2.
    3. Total net income subject to apportionment (subtract line 2 from line 1) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   3.   -3,699,313.
    4. Multiply line 3 by appropriate ratio from Schedule H-1, H-2, or H-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4.      -63,155.
    5. Income subject to direct allocation to SC from Schedule F, line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       5.
    6. Total SC net income (add line 4 and line 5) Also enter on SC1120, page 1, line 4 ~~~~~~~~~~~~~~~~~~~~~~                               6.        -63,155.

   SCHEDULE H-1                                                    COMPUTATION OF SALES RATIO
                                                                                                                                Amount                  Ratio
    1. Total sales within South Carolina (see instructions)                                                                 383,624.
    2. Total sales everywhere (see instructions)                                                                         22,471,465.
    3. Sales ratio (line 1 divided by line 2)                                                                                                          1.7072 %
   Note: If there are no sales anywhere: Enter 100% on line 3 if South Carolina is the principal place of business.
                                         Enter 0% on line 3 if principal place of business is outside South Carolina.

   SCHEDULE H-2                                          COMPUTATION OF GROSS RECEIPTS RATIO
                                                                                                                                Amount                  Ratio
    1. South Carolina gross receipts
    2. Amounts allocated to South Carolina on Schedule F                                                            <                        >
    3. South Carolina adjusted gross receipts (subtract line 2 from line 1)
    4. Total gross receipts
    5. Total amounts allocated on Schedule F                                                                        <                        >
    6. Total adjusted gross receipts (subtract line 5 from line 4)
    7. Gross receipts ratio (line 3 divided by line 6)                                                                                                                  %

   SCHEDULE H-3                               COMPUTATION OF RATIO FOR SECTION 12-6-2310 COMPANIES
                                                                                                                                Amount                  Ratio
    1. Total within South Carolina (see instructions)
    2. Total everywhere
    3. Taxable ratio (line 1 divided by line 2)                                                                                                                         %
   977412 09-20-19   PFX




             30914055
                                                                                    4
15280510 769024 ROC160                                                           2019.05094 ROCKLAND INDUSTRIES, INC                                            ROC160_1
                Case 21-02590-dd                    Doc 1         Filed 10/05/21 Entered 10/05/21 12:54:29     Desc Main
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   ROCKLAND INDU                                                                                                            3210


   SC1120                                                                                                                     Page 8
   SCHEDULE N                                                           PROPERTY INFORMATION

   Property within South Carolina

                                                                           (a) Beginning period         (b) Ending period
    1. Land                                                                                 164,179.                     164,179.
    2. Buildings                                                                          4,176,786.                   4,176,786.
    3. Machinery and equipment                                                           16,053,767.                   9,410,296.
    4. Construction in progress
    5. Other property *                                                                   8,962,542.                 3,337,939.
    Total                                                                                29,357,274.                17,089,200.

   * Provide an explanation or listing of property from line 5 above.
   Description of Property                                                 (a) Beginning period         (b) Ending period
   INVENTORIES                                                                             8,844,059.                  3,219,456.
   FURNITURE AND FIXTURES                                                                     82,377.                     82,377.
   LEASEHOLD IMPROVEMENTS                                                                          0.                          0.
   TRANSPORT. AND DELIVERY                                                                    36,106.                     36,106.




    Total                                                                                  8,962,542.                  3,337,939.
                                STATEMENT 2




   977416 09-20-19   PFX




            30918056
                                                                                   5
15280510 769024 ROC160                                                          2019.05094 ROCKLAND INDUSTRIES, INC         ROC160_1
                    Case 21-02590-dd                              Doc 1      Filed 10/05/21 Entered 10/05/21 12:54:29                         Desc Main
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               1019


                                                                                                                                                      SC 1120-TC
                                                                               STATE OF SOUTH CAROLINA                                                (Rev. 9/17/19)
          dor.sc.gov                                              CORPORATE TAX CREDITS                                                                   3370




    Name of corporation
   ROCKLAND INDUSTRIES, INC
    FEIN
    |                     3210
    SC file #
    |     2




   All credits are computed on separate tax credit schedules. Attach appropriate schedules to this SC1120TC and your tax return.

   Part I Corporate Income Tax Credits
                                                                      Column A               Column B           Column C             Column D             Column E
         Part I Credit Description               Code             Previously Accrued      Earned This Year   Taken This Year    Lost Due to Statute    Carried Forward
   1.    New Jobs    ~~~~~~~                     004         |
   2.    Capital Investment   ~~~~               011         |
   3.    Family Independence Payments            012         |
   4.    Research Expenses       ~~~             018         |

   Enter only Corporate Income Tax credits below in Part 1. You can find credit codes and descriptions, along with the required tax
   schedule for each credit, beginning on page 3.

                                                                      Column A               Column B           Column C             Column D             Column E
        Part I Credit Description                 Code            Previously Accrued      Earned This Year   Taken This Year    Lost Due to Statute    Carried Forward
    5.    TC20                            |    020                      9,173.                                                                               9,173.
    6.                                    |
    7.                                    |
    8.                                    |
    9.                                    |
   10.                                    |
   11.                                    |
   12.                                    |


   13. Total Income Tax credits (add line 1 through line 12) ~~         9,173.                                                                               9,173.




   977511 09-26-19




                                                                                       Continued on page 2




               33701038
                                                                                               6
15280510 769024 ROC160                                                                      2019.05094 ROCKLAND INDUSTRIES, INC                                 ROC160_1
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   SC1120TC                                                                                                                                              Page 2
   Part II Corporate License Fee Credits
   Enter only Corporate Income Tax credits in Part II. You can find credit codes and descriptions, along with the required tax schedule for
   each credit, on page 4.

                                                                   Column A            Column B           Column C            Column D            Column E
     Part II Credit Description                 Code           Previously Accrued   Earned This Year   Taken This Year   Lost Due to Statute   Carried Forward
    1.                                |
    2.                                |
    3.                                |
    4.                                |
    5.                                |
    6.                                |
    7. Total License Fee Credits (add line 1 through line 6)




   977512 09-26-19       PFX




              33702036
                                                                                        7
15280510 769024 ROC160                                                               2019.05094 ROCKLAND INDUSTRIES, INC                              ROC160_1
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  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SC1120/SC1120U           NET OPERATING LOSS DEDUCTION            STATEMENT 1
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}
                                    LOSS
                                 PREVIOUSLY         LOSS
    DATE      LOSS SUSTAINED       APPLIED        REMAINING
  }}}}}}}}    }}}}}}}}}}}}}}   }}}}}}}}}}}}}}   }}}}}}}}}}}}}}
  07/31/02          165,891.          75,640.           90,251.
  07/31/05          328,477.                0.        328,477.
  07/31/06          202,922.                0.        202,922.
  07/31/07          256,790.                0.        256,790.
  07/31/10          524,483.                0.        524,483.
  07/31/11          266,551.                0.        266,551.
  07/31/17            6,097.                0.           6,097.
  07/31/18           97,599.                0.          97,599.
  07/31/19          144,599.                0.        144,599.
                                                }}}}}}}}}}}}}}
  TOTAL NOL CARRYOVER AVAILABLE THIS YEAR           1,917,769.
                                                ~~~~~~~~~~~~~~




  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
  SC SCHEDULE N              OTHER PROPERTY INFORMATION            STATEMENT 2
  }}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

  DESCRIPTION                                        BEGINNING PERIOD           ENDING PERIOD
  }}}}}}}}}}}                                       }}}}}}}}}}}}}}}}}}         }}}}}}}}}}}}}}}
  INVENTORIES                                             8,844,059.                3,219,456.
  FURNITURE AND FIXTURES                                     82,377.                   82,377.
  LEASEHOLD IMPROVEMENTS                                          0.                        0.
  TRANSPORT. AND DELIVERY                                    36,106.                   36,106.
                                                      }}}}}}}}}}}}}}            }}}}}}}}}}}}}}
  TOTAL TO FORM SC1120 SCHEDULE N                         8,962,542.                3,337,939.
                                                      ~~~~~~~~~~~~~~~           ~~~~~~~~~~~~~~




                                               8                      STATEMENT(S) 1, 2
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC ROC160_1
        Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
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                           Electronic Filing PDF Attachment




                                               9
15280510 769024 ROC160                      2019.05094 ROCKLAND INDUSTRIES, INC            ROC160_1
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Case 21-02590-dd   Doc 1    Filed 10/05/21 Entered 10/05/21 12:54:29   Desc Main
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              Case 21-02590-dd                       Doc 1            Filed 10/05/21 Entered 10/05/21 12:54:29                  Desc Main
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 Fill in this information to identify the case:

 Debtor name         Rockland Industries, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 5, 2021                         X /s/ Mark Berman
                                                                       Signature of individual signing on behalf of debtor

                                                                       Mark Berman
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                    Case 21-02590-dd                      Doc 1       Filed 10/05/21 Entered 10/05/21 12:54:29                                        Desc Main
                                                                     Document      Page 98 of 175

 Fill in this information to identify the case:
 Debtor name Rockland Industries, Inc.
 United States Bankruptcy Court for the: DISTRICT OF SOUTH CAROLINA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alice P. Johnson                                                Property Taxes                                                                                         $315,004.88
 PO Box 240
 Bamberg, SC
 29003-0240
 Arthur R. Johnson                                               Trade Debts                                                                                            $143,101.24
 Co Inc
 PO Box 320205
 Brooklyn, NY 11232
 Cady Industries Inc.                                            Trade Debts                                                                                              $43,244.00
 c/o Rosenthal &
 Rosenthal Inc
 PO Box 88926
 Chicago, IL
 60695-1926
 Eastman Chemical                                                Trade Debts                                                                                              $98,245.00
 Financial Corp
 PO Box 785157
 Philadelphia, PA
 19178-5157
 Euler Hermes North                                              Euler Hermes           Contingent                                                                      $147,932.64
 America Ins Co                                                  (assignee) for         Unliquidated
 800 Red Brook Blvd                                              Hamrick Mills          Disputed
 Suite 400C                                                      24-C-21-003198
 Owings Mills, MD
 21117
 Euler Hermes North                                              Euler Hermes           Contingent                                                                      $618,830.40
 America Ins Co                                                  assignee for J.C.      Unliquidated
 800 Red Brook Blvd                                              Sussman                Disputed
 Suite 400C                                                      Case No.
 Owings Mills, MD                                                24-C-21-001652
 21117                                                           CN
 GCS, Inc                                                        Trade Debts                                                                                              $48,584.40
 400 Gate Road
 Inman, SC 29349
 ICL-IP America, Inc.                                            Trade Debts                                                                                            $131,426.38
 PO Box 3247
 Carol Stream, IL
 60132-3247

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                    Case 21-02590-dd                      Doc 1       Filed 10/05/21 Entered 10/05/21 12:54:29                                        Desc Main
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 Debtor    Rockland Industries, Inc.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Imptex International                                            Trade Debts                                                                                            $300,983.39
 Corp.
 76 North Broadway
 RM#4040
 Hicksville, NY 11801
 International Paper                                             Trade Debts                                                                                              $66,178.13
 PO Box 644095
 Pittsburgh, PA
 15264-4095
 Jiangsu Longda                                                  Trade Debts                                                                                              $44,173.00
 Transfer Printing
 Textile Compnay Ltd
 Luoshe Town, Wuxi
 City
 CN 214187 Jiangsu
 Province 100
 Micro Emulsions                                                 Trade Debts                                                                                              $61,414.43
 Inc.
 PO Box 160306
 Spartanburg, SC
 29316
 Northwest Fabric                                                Trade Debts                                                                                            $515,118.43
 10 City Place
 Suite 15H
 White Plains, NY
 10601
 Rogers & Brown                                                  Trade Debts                                                                                            $132,355.26
 PO Box 162005
 Atlanta, GA
 30321-0005
 Rohm & Haas                                                     Trade Debts                                                                                            $248,796.30
 Company
 PO Box 741801
 Atlanta, GA
 30384-1801
 Stanley B. Fradin                                               Retirement                                                                                               $52,801.00
 6875 Willow Wood                                                Benefits
 Drive
 Apt 2083
 Boca Raton, FL
 33434
 Supplyone                                                       Trade Debts                                                                                              $58,041.22
 Rockwell, Inc
 PO Box 534331
 Atlanta, GA
 30353-4331
 Thompson Coburn                                                 Legal                                                                                                    $51,685.62
 LLP
 Attorneys at Law
 PO Box 18379M
 Saint Louis, MO
 63195


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                                     Document     Page 100 of 175


 Debtor    Rockland Industries, Inc.                                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Van Antimo USA                                                  Trade Debts                                                                                            $106,262.81
 Inc.
 1326 Fifth Avenue,
 Suite 343
 Seattle, WA 98101
 Vantage Chemical                                                Trade Debts                                                                                            $111,336.00
 Corporation
 PO Box 8851
 Asheville, NC 28814




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
               Case 21-02590-dd                                 Doc 1           Filed 10/05/21 Entered 10/05/21 12:54:29                                                           Desc Main
                                                                               Document     Page 101 of 175
 Fill in this information to identify the case:

 Debtor name            Rockland Industries, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        2,341,069.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,214,677.72

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        4,555,746.72


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,878,693.34


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,878,693.34




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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                                                                 Document     Page 102 of 175
 Fill in this information to identify the case:

 Debtor name         Rockland Industries, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $165.86



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America                                         Accounts Payable                6586                                     $9,600.43




           3.2.     Bank of America                                         Collection Account              2439                                  $235,132.18




           3.3.     Bank of America                                         Master Operating                5040                                  $102,841.12



                                                                            South Carolina
           3.4.     Wells Fargo                                             Operating Account                                                          $353.25



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $348,092.84
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              Case 21-02590-dd                       Doc 1        Filed 10/05/21 Entered 10/05/21 12:54:29                      Desc Main
                                                                 Document     Page 103 of 175
 Debtor           Rockland Industries, Inc.                                                        Case number (If known)
                  Name


        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Westfield Commercial Insurance - Umbrella Policy                                                                             $0.00




           7.2.     Chubb & Son Insurance - Fidiciary liability insurance premium for 401(k)                                                 $184.42




           7.3.     First Insurance Fund - Property                                                                                      $12,970.25




           7.4.     Travelers Insurance - Erisa Bond                                                                                         $258.50




           7.5.     Workmen's Compensation - Insurance                                                                                     $3,359.38




           7.6.     Maryland Taxes - Personal Property                                                                                     $1,741.45




           7.7.     Hill Management Leased Property - Deposit                                                                              $8,615.45



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                          $27,129.45
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 55,465.06   -                                0.00 = ....            $55,465.06
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                 19,980.00   -                                0.00 = ....            $19,980.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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                                                                 Document     Page 104 of 175
 Debtor         Rockland Industries, Inc.                                                         Case number (If known)
                Name


           11b. Over 90 days old:                               152,831.97   -                                  0.00 =....                   $152,831.97
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                              $228,277.03
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                           Valuation method used    Current value of
                                                                                                           for current value        debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Warehouse Property Investments, LLC                              100            %     Tax records                       $223,400.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                              $223,400.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Greige Goods                                                                     Unknown        Liquidation                        $16,808.60


           Chemicals                                                                        Unknown        Liquidation                        $70,000.00


           Packaging                                                                        Unknown        Est. Market Val.                     $6,137.50


           Parts and Supplies                                                               Unknown                                             Unknown


           Print Paper and Backing                                                          Unknown        Liquidation                          $7,800.00



 20.       Work in progress
           Semi-finished goods                                                              Unknown        Liquidation                          $2,582.34

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Rockland Industries, Inc.                                                        Case number (If known)
                Name




 21.       Finished goods, including goods held for resale
           Finished good                                                                  Unknown       Liquidation                        $14,136.16



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                           $117,464.60
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
                                                                                 debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office furniture to include chairs, desks, file
           cabinets, lateral files & vertical summit
           telephone system.
           See attached list                                                             $21,819.52     N/A                                  Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipemnt to include computer
           hardware and software.
           See attached list                                                             $41,122.86     N/A                                  Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         Rockland Industries, Inc.                                                     Case number (If known)
                Name


 43.       Total of Part 7.                                                                                                                    $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2003 C1500 Chevy Silverado Truck                                       $0.00    Liquidation                          $4,000.00


           47.2.     1996 Ford Truck                                                        $0.00    Liquidation                          $2,500.00


           47.3.     2006 International 4300SBA Van Truck                                   $0.00    Liquidation                          $5,000.00


           47.4.     1989 International Truck (spray foam rig)                              $0.00    Liquidation                        $10,000.00


           47.5.     1998 International Boom Crane                                      $4,954.59    Liquidation                        $12,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Miscellaneous equipment - see schedule
           attached                                                                $1,023,334.39     Liquidation Est.                $1,000,000.00




 51.       Total of Part 8.                                                                                                      $1,033,500.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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                Name



 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Map No.
                     072-06-05-008 -
                     Bleach house,
                     finishing warehouse
                     and bale shed
                     abutting lots on West
                     side of US 301, East
                     side of Calhoun St.
                     and empty lot on                     Own land and
                     East side of US 301.                 building                     Unknown       Tax records                     $1,648,951.00


           55.2.     Map No.
                     0087-02-12-004 - 114
                     Weimer Street,
                     property only, no
                     building on property.                Own land.                    Unknown       Tax records                          $5,500.00


           55.3.     Map No.
                     0087-02-12-013 - Lot
                     on Main Hwy US 301
                     (parking lot -
                     SUPERB fund
                     clean-up). Property
                     only, no building.                   Own land.                    Unknown       Tax records                        $16,200.00


           55.4.     Tax Map No.
                     0087-02-12-014 - Lot
                     23 and portion of mill
                     lot off Main Hwy US
                     301 (Bridges
                     property), Land only.                Own land.                    Unknown       Tax records                          $8,000.00


           55.5.     Tax Map No.
                     0087-02-12-016 - Old
                     office building & land
                     at 3254 Main Hwy US
                     301, land and                        Own land and
                     building.                            building.                    Unknown       Tax records                        $83,260.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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                Name

           55.6.     Tax Map. No.
                     0087-02-12-017 - Lot
                     on Main Hwy US 301
                     (old Brickle garage
                     property), 2 small
                     lots, no buildings.                  Own land.                    Unknown       Tax records               $12,900.00


           55.7.     Tax Map No.
                     0087-02-12-018 - Lot
                     on Main Hwy US 301
                     (old Fire House
                     property) , land only,
                     no buildings.                        Own land.                    Unknown                                   Unknown


           55.8.     Tax Map No.
                     0072-07-03-001 - 609
                     Calhoun Steet, 1
                     property with 5                      Own land and
                     buildings.                           buildings.                   Unknown       Tax records             $501,358.00


           55.9.     Tax Map No.
                     072-07-03-002 - 609
                     Calhoun St. acreage
                     only, no building.                   Own land                     Unknown       Tax records               $30,800.00


           55.10 Tax Map No.
           .     0087-02-15-001 -
                     Property at Main &
                     Presbyterian Streets,
                     east side of Main
                     Hwy US 301, land
                     only.                                Own land.                    Unknown       Tax records               $23,600.00


           55.11 Tax Map No.
           .     0087-02-14-005 -
                     Property at NE corner
                     of Elm & Calhoun
                     Streets, no building.                Own land.                    Unknown       Tax records                 $8,500.00


           55.12 Tax Map No.
           .     0072-07-07-019 -
                     Portion of Lot 5 off
                     Calhoun Street,
                     landlocked
                     residential lot.
                     Property only, no
                     building.                            Own land.                    Unknown       Tax records                 $2,000.00


           55.13 4969 Mercantile Road
           .     Nottingham, MD
                     21236
                     Executive offices,
                     11,735 square feet                   Leasee                            $0.00                                      $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 7
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                Name


 56.        Total of Part 9.                                                                                                        $2,341,069.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Registered trademark for Roc-lon, US Reg No.
            6,292,282.                                                                 Unknown                                              Unknown


            Common Law Trademarks for: Edge-to-Edge;
            Budget Blackout; Expo Blackout; Textralon;
            Sleep Safe; Lights Out; Termalsuede;
            Specialsuede; Denimtone; Golden Gate;
            Monterey; Waikiki; Savannah; Serendipity;
            Verona; Luna; Rain-No-Stain; Renaissance;
            Satinnap; Special Sheen; Sonata Sateen;
            Supralon; Econosheen; Windsor; Safe-T-Lon;
            Flame Ban; Roc-Bump and Roc-Protect.                                       Unknown                                              Unknown


            Internet domain name and website:
            Rock-lon.com, expires 12/18/21                                             Unknown                                              Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            License and Asset Purchase Agreement with
            China Tex
            Minimun annual payment of at least 60k paid
            out quartly.                                                               Unknown                                              Unknown



 63.        Customer lists, mailing lists, or other compilations
            Customer mailing list.                                                     Unknown                                              Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 8
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                Name


 66.        Total of Part 10.                                                                                                                        $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                      Current value of
                                                                                                                                      debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                            230,000.00 -                                     0.00 =
            Duty Drawback                                             Total face amount       doubtful or uncollectible amount                 $230,000.00


            Fabric Tex credit memo for defective                                 6,813.80 -                                  0.00 =
            prepaid goods.                                            Total face amount       doubtful or uncollectible amount                    $6,813.80


            Trademark Assignment Agreement                                          0.00 -                                   0.00 =
            with Chinatex as of 1/4/2021                              Total face amount       doubtful or uncollectible amount                    Unknown



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Unused net operating losses. ($10,576,294.00)                                         Tax year 2017-2020                                    $0.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Lender liability and related claims against Bank of
            America                                                                                                                               Unknown
            Nature of claim
            Amount requested                                             $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 9
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                Name



           Possible litigation for Breach of Contract by Frabricut.                                                              Unknown
           Nature of claim           Breach of Contract
           Amount requested                              $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                               $236,813.80
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 10
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $348,092.84

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $27,129.45

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $228,277.03

 83. Investments. Copy line 17, Part 4.                                                                           $223,400.00

 84. Inventory. Copy line 23, Part 5.                                                                             $117,464.60

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $1,033,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,341,069.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                $236,813.80

 91. Total. Add lines 80 through 90 for each column                                                         $2,214,677.72            + 91b.            $2,341,069.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,555,746.72




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 11
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Section 2
Part 7.39
Office Furniture, Fixtures and Equipment

Furniture & Fixtures
As of July 31, 2021
                                                                                                                                Valuation
Main numbSNo. Cap. date         Name                                             Acq.value     Accum.dep.      Book val         Method

   300001      2 7/31/1997 F/F ‐ TELEPHONE                                        67,229.95      ‐67,229.95                 0   10 Yr straight line
   300006      0 7/31/1989 F/F TELEPHONE                                              188.5          ‐188.5                 0   10 Yr straight line
   300006      1 7/31/1993 F/F TELEPHONE                                          14,336.72      ‐14,336.72                 0   10 Yr straight line
   300006      2 7/31/1994 F/F TELEPHONE                                               855             ‐855                 0   10 Yr straight line
   300006      3 7/31/1997 F/F TELEPHONE                                           3,970.21       ‐3,970.21                 0   10 Yr straight line
   300032      0 12/31/2017 Vertical Summit Telephone System ‐ SC                 16,643.12       ‐5,963.78         10,679.34   10 Yr straight line
   300005      0 7/31/1987 F/F‐FURNITURE & FIXTURES                                7,827.46       ‐7,827.46                 0   10 Yr straight line
   300005      1 7/31/1988 F/F‐FURNITURE & FIXTURES                                1,149.75       ‐1,149.75                 0   10 Yr straight line
   300005      2 7/31/1989 F/F‐FURNITURE & FIXTURES                                  463.58         ‐463.58                 0   10 Yr straight line
   300005      3 7/31/1991 F/F‐FURNITURE & FIXTURES                                1,574.99       ‐1,574.99                 0   10 Yr straight line
   300005      4 7/31/1992 F/F‐FURNITURE & FIXTURES                                  409.48         ‐409.48                 0   10 Yr straight line
   300005      5 7/31/1994 F/F‐FURNITURE & FIXTURES                                3,148.00       ‐3,148.00                 0   10 Yr straight line
   300005      6 7/31/1995 F/F‐FURNITURE & FIXTURES                                5,425.34       ‐5,425.34                 0   10 Yr straight line
   300005      7 7/31/1996 F/F‐FURNITURE & FIXTURES                                  233.15         ‐233.15                 0   10 Yr straight line
   300005      8 7/31/1999 F/F‐FURNITURE & FIXTURES                                3,340.00       ‐3,340.00                 0   10 Yr straight line
   300007      0 7/31/1990 F/F ‐ PLANT                                               377.95         ‐377.95                 0   10 Yr straight line
   300013      0 11/30/1999 Furniture & Fixtures                                  14,433.13      ‐14,433.13                 0   10 Yr straight line
   300014      0 2/28/2000 Furniture & Fixtures                                    3,441.28       ‐3,441.28                 0   10 Yr straight line
   300015      0 4/30/2000 4 Office Chairs                                           211.96         ‐211.96                 0   10 Yr straight line
   300016      0   5/4/2000 Computer Desk                                             63.58          ‐63.58                 0   10 Yr straight line
   300018      1 2/29/2004 Office Furniture                                       35,017.10      ‐35,017.10                 0   10 Yr straight line
   300025      0 9/30/2003 Office Furniture                                       12,179.10      ‐12,179.10                 0   10 Yr straight line
   300026      0 4/30/2006 Desk & file cabinets ‐ controller's office              2,666.66       ‐2,666.66                 0   10 Yr straight line
   300027      0 8/31/2009 Trade Show Fixtures                                     7,795.61       ‐7,795.61                 0   10 Yr straight line
   300028      0 11/8/2016 28 lateral files 13 cherry Knoll /15 tan Steelcase      7,500.20       ‐3,500.11          4,000.09   10 Yr straight line
   300031      0 9/14/2017 Office Cubicle Parts and Assembly                       7,641.92       ‐2,929.43          4,712.49   10 Yr straight line
   300029      0 3/27/2017 Park ‐ Greige and Finished goods racks                  4,284.00       ‐1,856.40          2,427.60   10 Yr straight line

Assetclass              3000                                                     222,407.74     ‐200,588.22         21,819.52

Computer Hardware & Software
As of July 31, 2021

Main numbSNo. Cap. date         Name                                             Acq.value     Accum.dep.      Book val

   600099      0    4/30/2014   Remote Sun Server backup                           16,360.30      ‐11,861.23         4,499.07   5 Yr straight line
   600100      0    7/11/2014   APC Battery Backup for Sun V490 server              9,924.46       ‐6,947.15         2,977.31   5 Yr straight line
   600102      0   10/23/2015   Development/Backup Server                          14,494.00       ‐8,334.07         6,159.93   5 Yr straight line
   600103      0    5/31/2016   HP ProLiant ML350 G9 ROCK2 Tower Server            13,203.39       ‐6,821.76         6,381.63   5 Yr straight line
   600104      0     9/6/2016   SC Computer Room UPS System and Battery pack        7,654.70       ‐3,699.78         3,954.92   5 Yr straight line
   600017      0    8/31/1999   Computer Equipment                                  5,394.55       ‐5,394.55                0   10 Yr straight line
   600018      0    3/31/2000   Computer Equipment                                    285.98         ‐285.98                0   10 Yr straight line
   600020      0     5/4/2000   HP Ink Jet Printer                                     95.33          ‐95.33                0   10 Yr straight line
   600021      0     6/6/2000   HP Deskjet Printer 610CL                               95.32          ‐95.32                0   10 Yr straight line
   600024      0    6/30/2000   Plaut Services                                  1,866,016.31   ‐1,866,016.31                0   10 Yr straight line
   600024      1   10/31/2002   Plaut Services                                     20,550.00      ‐20,550.00                0   10 Yr straight line
   600024      2   12/31/2002   Plaut Services                                     26,081.00      ‐26,081.00                0   10 Yr straight line
   600033      0   12/20/2000   RF System                                          67,933.50      ‐67,933.50                0   10 Yr straight line
   600034      0   12/20/2000   RF System                                                  0               0                0   10 Yr straight line
   600037      0    1/31/2001   ATS Scanner                                       331,126.19     ‐331,126.19                0   10 Yr straight line
   600040      0     3/9/2001   Zebra 105SE Printers                               17,142.64      ‐17,142.64                0   10 Yr straight line
   600050      0    2/27/2002   Scanner                                               104.99         ‐104.99                0   10 Yr straight line
   600051      0    10/7/2002   Sun Fire V480                                     100,903.75     ‐100,903.75                0   10 Yr straight line
   600058      0    2/28/2003   Plaut Integrated Planning                           2,771.27       ‐2,771.27                0   10 Yr straight line
   600061      0    4/26/2003   LS3202 Scanner with accessories                    10,455.00      ‐10,455.00                0   10 Yr straight line
   600063      0    7/21/2003   Canon Image Runner digital copier                   5,500.00       ‐5,500.00                0   10 Yr straight line
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600067   0 8/31/2003 SAP Console                                   19,507.43       ‐19,507.43           0   10 Yr straight line
600068   0 8/31/2003 SAP Programming Changes                        8,100.00        ‐8,100.00           0   10 Yr straight line
600073   0 10/29/2003 HP4200N Laser Printer                         3,412.25        ‐3,412.25           0   10 Yr straight line
600077   0 2/17/2004 IBM TP T20 Pentium III Notebook                1,627.00        ‐1,627.00           0   10 Yr straight line
600085   0   5/5/2004 Zebra 6M Standard Printer                     2,479.00        ‐2,479.00           0   10 Yr straight line
600088   0 12/31/2004 Okidata 321 Printer Turbo                        503.4           ‐503.4           0   10 Yr straight line
600089   0 3/25/2005 Pentium 4 Intel 2.8 gig processor              2,178.00        ‐2,178.00           0   10 Yr straight line
600096   0 4/30/2010 TRG ‐ file and mail servers with backup       14,279.56       ‐14,279.56           0   10 Yr straight line
600097   0 9/30/2012 LaserJet 5200 TN Printer                       4,198.00        ‐4,198.00           0   10 Yr straight line
600101   0 10/31/2014 SAP software migration to Sun V490 Servers    8,415.00        ‐8,415.00           0   10 Yr straight line
600105   0 2/28/2018 Brand Star Website Development                46,000.00       ‐28,850.00   17,150.00   10 Yr straight line

                                                                               Total            41,122.86
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Sec 2
Part 8 Machinery, Equipment and Vehicles

Motor Vehicles
As of July 31, 2021

Main number           SNo. Cap. date     Name                                    Acq.value    Accum.dep.     Book val Method

             500010      0 8/31/2003 2003 C1500 Chevy Silverado Truck             18,954.11     ‐18,954.11          0   3 Yr straight line
             500010      1 3/24/2004 1996 Ford Truck                               5,000.00      ‐5,000.00          0   3 Yr straight line
             500016      0 11/30/2012 2006 International 4300SBA Van Truck        12,151.88     ‐12,151.88          0   3 Yr straight line
             200299      0 6/30/2009 1989 International Truck (Spray Foam Rig)    32,000.00     ‐32,000.00          0   10 Yr straight line
             200344      0 5/31/2013 1998 International Boom Crane                27,025.01     ‐22,070.42   4,954.59   10 Yr straight line

Machinery & Equipment
As of July 31, 2021

Main number           SNo. Cap. date     Name                                    Acq.value    Accum.dep.     Book val Method

             200034      0   7/31/1990   M/E ‐ LINE #6                            16,100.00     ‐16,100.00          0   10 Yr straight line
             200035      0   7/31/1987   M/E ‐ CURING UNIT                        32,852.88     ‐32,852.88          0   10 Yr straight line
             200035      1   7/31/1988   M/E ‐ CURING UNIT                         1,472.35      ‐1,472.35          0   10 Yr straight line
             200064      0   7/31/1988   M/E ‐ BALE SHED                           8,250.00      ‐8,250.00          0   10 Yr straight line
             200064      1   7/31/1989   M/E ‐ BALE SHED                           1,350.00      ‐1,350.00          0   10 Yr straight line
             200064      2   7/31/1994   M/E ‐ BALE SHED                          34,935.67     ‐34,935.67          0   10 Yr straight line
             200065      3   7/31/1990   M/E ‐ BLEACHING                          11,728.39     ‐11,728.39          0   10 Yr straight line
             200065      5   7/31/1992   M/E ‐ BLEACHING                           7,040.06      ‐7,040.06          0   10 Yr straight line
             200065      6   7/31/1993   M/E ‐ BLEACHING                           7,500.00      ‐7,500.00          0   10 Yr straight line
             200065      7   7/31/1994   M/E ‐ BLEACHING                          82,801.00     ‐82,801.00          0   10 Yr straight line
             200065      8   7/31/1995   M/E ‐ BLEACHING                         386,073.91    ‐386,073.91          0   10 Yr straight line
             200065      9   7/31/1996   M/E ‐ BLEACHING                          50,231.52     ‐50,231.52          0   10 Yr straight line
             200065     10   7/31/1997   M/E ‐ BLEACHING                          10,902.89     ‐10,902.89          0   10 Yr straight line
             200065     11   7/31/1998   M/E ‐ BLEACHING                           5,831.72      ‐5,831.72          0   10 Yr straight line
             200066      7   7/31/1995   M/E ‐ BOILER ROOM                        77,227.73     ‐77,227.73          0   10 Yr straight line
             200066      8   7/31/1996   M/E ‐ BOILER ROOM                           766.38        ‐766.38          0   10 Yr straight line
             200066      9   7/31/1999   M/E ‐ BOILER ROOM                        28,506.10     ‐28,506.10          0   10 Yr straight line
             200067      0   7/31/1989   M/E ‐ MIXING ROOM                       188,568.71    ‐188,568.71          0   10 Yr straight line
             200067      1   7/31/1990   M/E ‐ MIXING ROOM                        28,664.56     ‐28,664.56          0   10 Yr straight line
             200067      2   7/31/1991   M/E ‐ MIXING ROOM                         9,618.29      ‐9,618.29          0   10 Yr straight line
             200067      3   7/31/1992   M/E ‐ MIXING ROOM                         3,706.65      ‐3,706.65          0   10 Yr straight line
             200067      4   7/31/1994   M/E ‐ MIXING ROOM                         6,860.50      ‐6,860.50          0   10 Yr straight line
             200067      6   7/31/1997   M/E ‐ MIXING ROOM                         6,700.00      ‐6,700.00          0   10 Yr straight line
             200072      0   7/31/1998   LINE #3                                 449,759.73    ‐449,759.73          0   10 Yr straight line
             200072      1   7/31/1999   LINE #3                                 132,055.50    ‐132,055.50          0   10 Yr straight line
             200073      0   7/31/1988   M/E ‐ LINE #4 (FOAM LINE)                53,085.06     ‐53,085.06          0   10 Yr straight line
             200073      1   7/31/1989   M/E ‐ LINE #4 (FOAM LINE)                27,900.00     ‐27,900.00          0   10 Yr straight line
             200073      2   7/31/1991   M/E ‐ LINE #4 (FOAM LINE)                 6,800.00      ‐6,800.00          0   10 Yr straight line
             200073      3   7/31/1992   M/E ‐ LINE #4 (FOAM LINE)                35,280.92     ‐35,280.92          0   10 Yr straight line
             200073      4   7/31/1993   M/E ‐ LINE #4 (FOAM LINE)                16,176.15     ‐16,176.15          0   10 Yr straight line
             200073      5   7/31/1997   M/E ‐ LINE #4 (FOAM LINE)               292,471.14    ‐292,471.14          0   10 Yr straight line
             200073      6   7/31/1998   M/E ‐ LINE #4 (FOAM LINE)                49,854.39     ‐49,854.39          0   10 Yr straight line
             200073      7   7/31/1999   M/E ‐ LINE #4 (FOAM LINE)                 6,500.00      ‐6,500.00          0   10 Yr straight line
             200075      0   7/31/1987   M/E ‐ LINE #6                            18,178.74     ‐14,450.73   3,728.01   10 Yr straight line
             200075      1   7/31/1988   M/E ‐ LINE #6                             5,434.69      ‐5,434.69          0   10 Yr straight line
             200075      2   7/31/1989   M/E ‐ LINE #6                            13,274.18     ‐13,274.18          0   10 Yr straight line
             200075      3   7/31/1990   M/E ‐ LINE #6                             7,853.00      ‐7,853.00          0   10 Yr straight line
             200075      4   7/31/1994   M/E ‐ LINE #6                               995.15        ‐995.15          0   10 Yr straight line
             200075      5   7/31/1995   M/E ‐ LINE #6                            84,009.99     ‐84,009.99          0   10 Yr straight line
             200075      6   7/31/1996   M/E ‐ LINE #6                             4,679.43      ‐4,679.43          0   10 Yr straight line
             200075      7   7/31/1998   M/E ‐ LINE #6                            11,839.46     ‐11,839.46          0   10 Yr straight line
             200075      8   7/31/1999   M/E ‐ LINE #6                             2,349.00      ‐2,349.00          0   10 Yr straight line
             200076      0   7/31/1987   M/E ‐ CURING UNIT                         6,421.04      ‐6,421.04          0   10 Yr straight line
             200076      1   7/31/1988   M/E ‐ CURING UNIT                         5,147.15      ‐5,147.15          0   10 Yr straight line
             200076      2   7/31/1993   M/E ‐ CURING UNIT                         3,520.00      ‐3,520.00          0   10 Yr straight line
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  200076   3    7/31/1996   M/E ‐ CURING UNIT                                  211.4        ‐211.4           0   10 Yr straight line
  200077   0    7/31/1998   LINE #6                                       632,776.35   ‐632,776.35           0   10 Yr straight line
  200077   1    7/31/1999   LINE #6                                        36,098.22    ‐36,098.22           0   10 Yr straight line
  200078   0    7/31/1987   M/E ‐ CALENDERS                                24,450.00    ‐15,449.85    9,000.15   10 Yr straight line
  200078   1    7/31/1988   M/E ‐ CALENDERS                                 3,389.99     ‐3,389.99           0   10 Yr straight line
  200078   2    7/31/1989   M/E ‐ CALENDERS                                 4,668.68     ‐4,668.68           0   10 Yr straight line
  200078   3    7/31/1990   M/E ‐ CALENDERS                                 2,719.88     ‐2,719.88           0   10 Yr straight line
  200078   4    7/31/1992   M/E ‐ CALENDERS                                14,667.43    ‐14,667.43           0   10 Yr straight line
  200078   5    7/31/1993   M/E ‐ CALENDERS                                19,473.88    ‐19,473.88           0   10 Yr straight line
  200078   6    7/31/1994   M/E ‐ CALENDERS                                 8,157.00     ‐8,157.00           0   10 Yr straight line
  200078   7    7/31/1999   M/E ‐ CALENDERS                                 9,440.00     ‐9,440.00           0   10 Yr straight line
  200083   0    7/31/1989   M/E ‐ NAPPING                                 297,531.94   ‐297,531.94           0   10 Yr straight line
  200083   2    7/31/1991   M/E ‐ NAPPING                                   6,543.75     ‐6,543.75           0   10 Yr straight line
  200083   3    7/31/1993   M/E ‐ NAPPING                                  10,208.21    ‐10,208.21           0   10 Yr straight line
  200083   4    7/31/1994   M/E ‐ NAPPING                                  31,852.33    ‐31,852.33           0   10 Yr straight line
  200084   0    7/31/1987   M/E ‐ PUT ‐ UP                                 15,791.17    ‐15,791.17           0   10 Yr straight line
  200084   1    7/31/1988   M/E ‐ PUT ‐ UP                                  5,788.00     ‐5,788.00           0   10 Yr straight line
  200084   2    7/31/1989   M/E ‐ PUT ‐ UP                                 43,162.48    ‐43,162.48           0   10 Yr straight line
  200084   3    7/31/1995   M/E ‐ PUT ‐ UP                                  8,226.21     ‐8,226.21           0   10 Yr straight line
  200084   4    7/31/1996   M/E ‐ PUT ‐ UP                                  9,500.00     ‐9,500.00           0   10 Yr straight line
  200084   5    7/31/1997   M/E ‐ PUT ‐ UP                                 18,500.00    ‐18,500.00           0   10 Yr straight line
  200084   6    7/31/1998   M/E ‐ PUT ‐ UP                                  1,895.00     ‐1,895.00           0   10 Yr straight line
  200085   0    7/31/1987   M/E ‐ SHIPPING DEPARTMENT                      26,396.00    ‐14,641.11   11,754.89   10 Yr straight line
  200085   1    7/31/1988   M/E ‐ SHIPPING DEPARTMENT                      80,409.50    ‐80,409.50           0   10 Yr straight line
  200085   2    7/31/1989   M/E ‐ SHIPPING DEPARTMENT                       1,250.00     ‐1,250.00           0   10 Yr straight line
  200085   3    7/31/1993   M/E ‐ SHIPPING DEPARTMENT                       1,165.00     ‐1,165.00           0   10 Yr straight line
  200085   4    7/31/1994   M/E ‐ SHIPPING DEPARTMENT                      20,774.00    ‐20,774.00           0   10 Yr straight line
  200085   5    7/31/1995   M/E ‐ SHIPPING DEPARTMENT                       8,301.33     ‐8,301.33           0   10 Yr straight line
  200085   6    7/31/1996   M/E ‐ SHIPPING DEPARTMENT                      19,080.00    ‐19,080.00           0   10 Yr straight line
  200085   7    7/31/1997   M/E ‐ SHIPPING DEPARTMENT                       6,890.00     ‐6,890.00           0   10 Yr straight line
  200085   8    7/31/1998   M/E ‐ SHIPPING DEPARTMENT                      34,748.29    ‐34,748.29           0   10 Yr straight line
  200085   9    7/31/1999   M/E ‐ SHIPPING DEPARTMENT                      22,590.75    ‐22,590.75           0   10 Yr straight line
  200086   1    7/31/1997   M/E ‐ MAINTENANCE                               4,590.20     ‐4,590.20           0   10 Yr straight line
  200087   0    7/31/1993   M/E ‐ OCCUPANCY                                 5,683.90     ‐5,683.90           0   10 Yr straight line
  200087   1    7/31/1994   M/E ‐ OCCUPANCY                                 2,951.42     ‐2,951.42           0   10 Yr straight line
  200087   2    7/31/1998   M/E ‐ OCCUPANCY                                 7,523.90     ‐7,523.90           0   10 Yr straight line
  200087   3    7/31/1999   M/E ‐ OCCUPANCY                                 2,120.34     ‐2,120.34           0   10 Yr straight line
  200088   0    7/31/1988   M/E ‐ LAB DEPARTMENT                              352.99       ‐352.99           0   10 Yr straight line
  200088   1    7/31/1990   M/E ‐ LAB DEPARTMENT                            2,100.00     ‐2,100.00           0   10 Yr straight line
  200088   2    7/31/1993   M/E ‐ LAB DEPARTMENT                            8,169.00     ‐8,169.00           0   10 Yr straight line
  200107   0    7/31/1999   M/E ‐ LINE #6                                  47,463.28    ‐47,463.28           0   10 Yr straight line
  200126   0    3/31/2000   Machinery & Equipment                           3,139.28     ‐2,288.49      850.79   10 Yr straight line
  200132   0    6/22/2000   Erhardt & Leimer KRA‐50 rail guiding system     3,945.42     ‐3,945.42           0   10 Yr straight line
  200136   0    8/17/2000   4000lb LP Catapiller Forklift Model VC40D       2,200.00     ‐2,200.00           0   10 Yr straight line
  200137   0    8/18/2000   Forklift, Model VC40C                           2,200.00     ‐2,200.00           0   10 Yr straight line
  200138   0    7/31/1994   M/E CALENDERS                                  13,209.57    ‐13,209.57           0   10 Yr straight line
  200139   0     2/1/1995   M/E ‐ BLEACHING                                 7,950.61     ‐7,950.61           0   10 Yr straight line
  200143   0   11/21/2000   1996 Gover Sizzor Lift                          3,675.00     ‐3,675.00           0   10 Yr straight line
  200144   0   12/18/2000   Heat Transfer Print Machine                    52,263.67    ‐52,263.67           0   10 Yr straight line
  200150   0   12/13/2001   A Frames                                        8,999.97     ‐8,999.97           0   10 Yr straight line
  200151   0    1/16/2002   New Table for Line #6                           2,073.00     ‐2,073.00           0   10 Yr straight line
  200152   0    1/29/2002   Lift Bracket for Mitsubishi Forklift            1,075.00     ‐1,075.00           0   10 Yr straight line
  200154   0    3/14/2002   20HP Worthington Air Compressor                 2,000.00     ‐2,000.00           0   10 Yr straight line
  200155   0     8/1/2001   New Calendar                                   26,416.85    ‐26,416.85           0   10 Yr straight line
  200163   0     7/1/2002   Orion‐Model H‐77 Semi‐Automatic Wrapping M      6,995.00     ‐6,995.00           0   10 Yr straight line
  200166   0    6/28/2002   Verduin Calenders                              13,700.00    ‐13,700.00           0   10 Yr straight line
  200168   0    6/28/2002   Pad Range 4                                     4,200.00     ‐4,200.00           0   10 Yr straight line
  200169   0    6/28/2002   Lift Trucks                                     4,500.00     ‐4,500.00           0   10 Yr straight line
  200174   0    7/31/2002   Print Blanket                                  28,081.29    ‐28,081.29           0   10 Yr straight line
  200178   0     8/9/2002   Tenter Clips                                   31,677.44    ‐31,677.44           0   10 Yr straight line
  200181   0    9/16/2002   Tilt Trucks                                     1,177.50     ‐1,177.50           0   10 Yr straight line
  200183   0   10/15/2002   Tenter Chain                                   21,375.00    ‐21,375.00           0   10 Yr straight line
  200185   0   11/12/2002   Trumeters                                      10,626.00    ‐10,626.00           0   10 Yr straight line
  200190   0   11/30/2002   Used high lifts and parts                      13,610.00    ‐13,610.00           0   10 Yr straight line
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  200191   0   11/30/2002   Strapex Rotary stretch wrap tunnel                4,000.00     ‐4,000.00        0   10 Yr straight line
  200198   0    4/14/2003   Rock Hill Printing & Equip. purchases               495.94       ‐495.94        0   10 Yr straight line
  200199   0    4/14/2003   Rock Hill Printing & Equip. purchases               247.97       ‐247.97        0   10 Yr straight line
  200200   0    4/14/2003   Rock Hill Printing & Equip. purchases             1,487.83     ‐1,487.83        0   10 Yr straight line
  200203   0    4/14/2003   Rock Hill Printing & Equip. purchases             1,983.77     ‐1,983.77        0   10 Yr straight line
  200205   0    4/30/2003   MCD 710 Signode Strappers w/ Scales & Convey      1,500.00     ‐1,500.00        0   10 Yr straight line
  200206   0    5/30/2003   5 Port Battery Charger w/ Analyzer                     855          ‐855        0   10 Yr straight line
  200207   0    6/19/2003   Gas/Exhaust System                                1,200.00     ‐1,200.00        0   10 Yr straight line
  200208   0    7/31/2003   Gessner Napper with spare parts                   3,000.00     ‐3,000.00        0   10 Yr straight line
  200214   0    7/31/2003   Motorola Portable Radios                          2,683.00     ‐2,683.00        0   10 Yr straight line
  200216   0    7/31/2003   Orthomat Straightener BFMC‐104A                  61,500.00    ‐61,500.00        0   10 Yr straight line
  200216   1    7/31/2003   Orthomat Straightener BFMC‐104A                   2,445.70     ‐2,445.70        0   10 Yr straight line
  200218   0    9/19/2003   MEC 6, 15lbs. Drycleaning Machine                21,536.37    ‐21,536.37        0   10 Yr straight line
  200233   0    2/29/2004   Forklifts                                        24,567.86    ‐24,567.86        0   10 Yr straight line
  200237   0   11/30/2003   Uncurlers ‐ Bleach                                     350          ‐350        0   10 Yr straight line
  200238   0   11/30/2003   Uncurlers ‐ Screen Print                               175          ‐175        0   10 Yr straight line
  200242   0    1/13/2004   Line 3 ‐ Elk Upgrade                             28,814.84    ‐28,814.84        0   10 Yr straight line
  200245   0   12/31/2003   American Lathe                                    2,500.00     ‐2,500.00        0   10 Yr straight line
  200246   0    1/24/2004   Finishing Data Logger                             1,458.00     ‐1,458.00        0   10 Yr straight line
  200247   0    2/24/2004   Caterpillar GC25K‐LP Cushion Tire Forklift       18,913.00    ‐18,913.00        0   10 Yr straight line
  200249   0     3/8/2004   80" Aframe Winder ‐ Napping Project              13,764.80    ‐13,764.80        0   10 Yr straight line
  200250   0    2/10/2004   Ohaus Scale                                            400          ‐400        0   10 Yr straight line
  200251   0    2/10/2004   Bow Rolls                                         1,000.00     ‐1,000.00        0   10 Yr straight line
  200252   0    3/24/2004   Doall Vertical Milling Machine                    5,368.00     ‐5,060.59   307.41   10 Yr straight line
  200253   0    3/24/2004   Ford tractor with mower & fertilizer spreader     5,300.00     ‐5,300.00        0   10 Yr straight line
  200254   0    3/24/2004   Bobcat with backhoe & brush attachment            7,500.00     ‐7,500.00        0   10 Yr straight line
  200255   0    3/24/2004   American Tool Lathe with attachment & Gantry     16,635.46    ‐16,635.46        0   10 Yr straight line
  200257   0   10/31/2003   Gas/Exhaust Sytem                                 4,074.00     ‐4,074.00        0   10 Yr straight line
  200258   0    9/30/2003   Gessner Napper with spare parts                   7,843.05     ‐7,843.05        0   10 Yr straight line
  200260   0    8/31/2003   Tenter head                                     181,342.58   ‐181,342.58        0   10 Yr straight line
  200262   0     9/2/2003   Shrink Wrap Machine for long rolls               13,455.54    ‐13,455.54        0   10 Yr straight line
  200265   0     8/1/2004   400 HP Cleaver Brooks Model E Boiler             10,720.54    ‐10,720.54        0   10 Yr straight line
  200266   0    8/26/2004   48" Center height a‐frames                       17,499.92    ‐17,499.92        0   10 Yr straight line
  200268   0   10/31/2004   3000 Gallon Stainless Steel Tank with Mixer      11,081.16    ‐11,081.16        0   10 Yr straight line
  200269   0    11/1/2004   ConvertaMax 26 Automatic Floor Scrubber           2,756.00     ‐2,756.00        0   10 Yr straight line
  200270   0    11/1/2004   Gessner Worker Roll Grinder                      10,539.00    ‐10,539.00        0   10 Yr straight line
  200271   0    11/1/2004   Sarco Pump                                        5,000.00     ‐5,000.00        0   10 Yr straight line
  200272   0   11/15/2004   Heat Pump for Napping                             1,431.90     ‐1,431.90        0   10 Yr straight line
  200273   0   12/10/2004   Phoenix Model# 2150 Stretch Wrap Machine          7,450.00     ‐7,450.00        0   10 Yr straight line
  200274   0   11/29/2004   Boiler and Air Compressor from                   36,665.22    ‐36,665.22        0   10 Yr straight line
  200275   0   11/30/2004   Overhead Heater from                              1,961.00     ‐1,961.00        0   10 Yr straight line
  200276   0   11/30/2004   Laminator                                         6,517.10     ‐6,517.10        0   10 Yr straight line
  200278   0    3/25/2005   Wet aframes                                      18,861.22    ‐18,861.22        0   10 Yr straight line
  200280   0     4/4/2005   Incinerators for Line #6                         19,101.59    ‐19,101.59        0   10 Yr straight line
  200281   0     4/1/2005   Crown A‐frame Tugger                                   500          ‐500        0   10 Yr straight line
  200282   0     5/3/2005   Air Compressor                                   16,640.07    ‐16,640.07        0   10 Yr straight line
  200285   0    4/30/2006   130" Verduin Calender                            47,816.31    ‐47,816.31        0   10 Yr straight line
  200286   0    4/30/2006   Spare AC drives                                   2,250.00     ‐2,250.00        0   10 Yr straight line
  200287   0    4/30/2006   Spare AC drives                                   2,250.00     ‐2,250.00        0   10 Yr straight line
  200288   0    4/30/2006   108" Stork Transfer Print Machine                33,527.96    ‐33,527.96        0   10 Yr straight line
  200291   0    6/30/2006   100 HSF Zeks Dryer                               15,260.00    ‐15,260.00        0   10 Yr straight line
  200294   0   10/31/2006   Daewoo GC25E3 Forklifts                          16,629.00    ‐16,629.00        0   10 Yr straight line
  200295   0   10/31/2006   Daewoo BC25S Electric Forklift                    1,411.00     ‐1,411.00        0   10 Yr straight line
  200298   0    6/30/2003   warehouse racking                                 7,750.40     ‐7,750.40        0   10 Yr straight line
  200300   0    7/31/2009   Fire‐Retardant Compounding                      116,871.94   ‐116,871.94        0   10 Yr straight line
  200301   0    7/31/2009   Warehouse conveyor                               85,979.19    ‐85,979.19        0   10 Yr straight line
  200302   0    7/31/2009   Wide Inspection Machine                         147,149.85   ‐147,149.85        0   10 Yr straight line
  200303   0    7/31/2009   130" Verduin                                    109,547.01   ‐109,547.01        0   10 Yr straight line
  200304   0    7/31/2009   Cooling Tower                                          435          ‐435        0   10 Yr straight line
  200305   0    7/31/2009   Kellogg 10hp air compressor                       2,880.00     ‐2,880.00        0   10 Yr straight line
  200306   0    7/31/2009   Shanklin shrink wrap tunnel                      71,921.44    ‐71,921.44        0   10 Yr straight line
  200307   0    7/31/2009   Line #1 tenter chain                             23,636.96    ‐23,636.96        0   10 Yr straight line
  200308   0   11/30/2009   Line #6 blade                                     2,100.00     ‐2,100.00        0   10 Yr straight line
  200309   0   11/30/2009   Casters for saturator A‐frames                    1,241.20     ‐1,241.20        0   10 Yr straight line
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            200310         0   11/30/2009   Line #3 pints                                      3,869.76       ‐3,869.76             0   10 Yr straight line
            200311         0   11/30/2009   Line #6 pins for cure box                          2,113.10       ‐2,113.10             0   10 Yr straight line
            200313         0     3/4/2010   Foam Recycle Tank Scale                            3,611.50       ‐3,611.50             0   10 Yr straight line
            200315         0    3/31/2010   Forklift ‐ 2004 Mitsubishi FGC25N s/n AF82F006     5,000.00       ‐5,000.00             0   10 Yr straight line
            200316         0    3/31/2010   Forklift ‐ 2003 Cat GC25K s/n AT28D03721           6,000.00       ‐6,000.00             0   10 Yr straight line
            200318         0    8/31/2010   Mitsubishi FGC25N Forklift                         5,500.00       ‐5,500.00             0   10 Yr straight line
            200319         0    8/31/2010   Mitsubishi FGC25N Forklift                         5,500.00       ‐5,500.00             0   10 Yr straight line
            200320         0   11/19/2010   Line #3 Kenyon tenter chain                       28,275.00      ‐28,275.00             0   10 Yr straight line
            200322         0    4/30/2011   Line #3 flow meter                                 7,187.50       ‐7,187.50             0   10 Yr straight line
            200323         0    6/30/2011   Geniez45/22 Articulating Lift                      3,027.59       ‐3,027.59             0   10 Yr straight line
            200324         0    9/30/2011   Line #3 ‐ Mid South Roller                         5,395.00       ‐5,305.08         89.92   10 Yr straight line
            200325         0    9/30/2011   Line #3 ‐ Anar Rubber Works                        3,413.31       ‐3,356.41          56.9   10 Yr straight line
            200328         0   10/31/2011   Air Compressor ‐ SSR‐125                           1,667.00       ‐1,625.33         41.67   10 Yr straight line
            200329         0   10/31/2011   Compressed Air Receiver                            1,667.00       ‐1,625.33         41.67   10 Yr straight line
            200330         0   10/31/2011   Marley                                                  833         ‐812.18         20.82   10 Yr straight line
            200331         0   10/31/2011   Gorman Rupp Waste Pumps                            2,500.00       ‐2,437.50          62.5   10 Yr straight line
            200332         0   10/31/2011   Condensate System                                       833         ‐812.18         20.82   10 Yr straight line
            200333         0    2/13/2012   Verduin Calender Roll Refill                       6,296.50       ‐5,929.20         367.3   10 Yr straight line
            200334         0    6/15/2012   Mount Hope Bowed Rollers                           3,000.00       ‐2,725.00           275   10 Yr straight line
            200335         0    6/15/2012   Merrow 70‐D3B‐2 Sewing Mach Head w/ slimlin        1,250.00       ‐1,135.42        114.58   10 Yr straight line
            200336         0    7/12/2012   Security Camera System                             3,673.23       ‐3,305.89        367.34   10 Yr straight line
            200337         0    7/19/2012   LeMaire Transfer Print Machine                   102,361.59      ‐92,125.44     10,236.15   10 Yr straight line
            200338         0   11/16/2012   Fire Alarm System Upgrade                          2,992.30       ‐2,593.33        398.97   10 Yr straight line
            200339         0   11/16/2012   Industrial Park ‐ Heating System                   4,617.08       ‐4,001.49        615.59   10 Yr straight line
            200340         0    12/4/2012   Vacuum Trucks                                     14,500.00      ‐12,445.82      2,054.18   10 Yr straight line
            200341         0   11/30/2012   2007 Caterpillar C5000 4750lb Forklift             9,225.00       ‐7,995.00      1,230.00   10 Yr straight line
            200342         0   11/30/2012   2006 Caterpillar C5000 4750lb Forklift             9,225.00       ‐7,995.00      1,230.00   10 Yr straight line
            200343         0    3/15/2013   Line #6 Exhaust System                             6,975.00       ‐5,812.50      1,162.50   10 Yr straight line

            200346         0    8/31/2013   2006 JLG 1930ES Electri Scissorlift                 5,432.50       ‐4,300.73     1,131.77   10 Yr straight line
            200347         0    8/31/2013   2000 Toyota 7FGCU25 5000 lb Forklift                9,778.50       ‐7,741.31     2,037.19   10 Yr straight line
            200348         0    8/31/2013   2000 Toyota 7FGCU25 5000 lb Forklift                9,778.50       ‐7,741.31     2,037.19   10 Yr straight line
            200349         0   12/31/2013   Caterpillar Model GP45KT Propane Forklift          16,820.00      ‐12,755.17     4,064.83   10 Yr straight line
            200350         0   12/31/2013   Ingersoll‐Rand Model T‐30 Dual Head Air Compr       2,030.00       ‐1,539.42       490.58   10 Yr straight line
            200351         0   12/31/2013   Tennant Model 7400 Propane Riding Floor Swee        1,740.00       ‐1,319.50        420.5   10 Yr straight line
            200353         0     6/2/2014   Line #6 ‐ Stripped AH‐360 burners                   6,486.00       ‐4,594.25     1,891.75   10 Yr straight line
            200355         0    7/25/2014   Line #3 ‐ Knife coating roll                        3,175.00       ‐2,222.50        952.5   10 Yr straight line
            200356         0   10/31/2014   Foam Deaerator                                      5,750.00       ‐3,881.25     1,868.75   10 Yr straight line
            200357         0   10/31/2014   Ameristar Heat Pump ‐ 4 ton                         4,550.00       ‐3,071.25     1,478.75   10 Yr straight line
            200358         0    2/28/2015   Modine Ceiling Mounted Gas Heater                      678.5         ‐435.37       243.13   10 Yr straight line
            200359         0    2/28/2015   Sterling Model QVEF‐250 Ceiling Mounted Gas H       2,537.00       ‐1,627.91       909.09   10 Yr straight line
            200360         0    2/28/2015   240"Hx72"Dx120"L Teardrop Pallet Rack               5,208.87       ‐3,342.38     1,866.49   10 Yr straight line
            200361         0    2/28/2015   2005 Yale Order Picker Fork LIft                    9,646.06       ‐6,189.58     3,456.48   10 Yr straight line
            200362         0    2/28/2015   Dayton Warehouse Celing mounted fans                  578.76          ‐371.4       207.36   10 Yr straight line
            200363         0    3/12/2015   Wash Range Fiberglass Hood                          7,358.00       ‐4,660.07     2,697.93   10 Yr straight line
            200364         0   10/26/2015   Bush Hog ‐ 2015 CIP Xtreme 60"                      3,005.00       ‐1,727.88     1,277.12   10 Yr straight line
            200365         0   11/25/2015   Toyota Electric Forklift Model 7FBOL120             3,031.25       ‐1,717.74     1,313.51   10 Yr straight line
            200366         0     4/5/2016   Forklift Sidewinder Attachment                           750         ‐393.75       356.25   10 Yr straight line
            200367         0    5/31/2016   130" Verduin two roll calendar Serial #672‐B336    85,086.63      ‐43,928.02    41,158.61   10 Yr straight line
            200368         0    5/31/2016   Niagra Roll Former Model 3X48 ‐ 16 gallon capac          885         ‐457.25       427.75   10 Yr straight line
            200369         0    5/31/2016   Roper Whitney Inc. Pexto, Model 0617‐B                   590         ‐304.83       285.17   10 Yr straight line
            200370         0    5/31/2016   Wysong Shear Model 1010‐HM, Capacity 10‐gua         8,260.00       ‐4,267.67     3,992.33   10 Yr straight line
            200371         0    6/30/2017   Carte Transformers 1000 kva, 3 phase, 60HZ          8,673.00       ‐3,541.48     5,131.52   10 Yr straight line
            200372         0    9/30/2017   Lemaire Print Blanket                               6,197.84       ‐2,375.82     3,822.02   10 Yr straight line
            200373         0    7/31/2018   Line #1 Foam Coating Range                      1,279,680.97     ‐383,892.31   895,788.66   10 Yr straight line
            200374         0    4/30/2006   A frame tugger                                      3,000.00       ‐3,000.00            0   10 Yr straight line
            200375         0    4/30/2006   A frame tugger                                      1,500.00       ‐1,500.00            0   10 Yr straight line
            200062         0    7/31/1999   INACTIVE ASSETS                                 2,244,306.24   ‐2,244,306.24            0   10 Yr straight line

Construction in Progress
As of July 31, 2021

Main number          SNo. Cap. date         Name                                             Acq.value     Accum.dep.       Book val
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  400018   0 1/24/2011    ELY Propane Vaporizer System     6,218.08    0    6,218.08   not depreciated
  400019   0 4/19/2011    Foam Compound Storage Tanks      1,115.51    0    1,115.51   not depreciated
  400020   0 4/30/2011    Ammonium Stearate Compounding    1,279.90    0    1,279.90   not depreciated
  400023   0   9/3/2014   Industrial Grinder              38,544.40    0   38,544.40   not depreciated
  400024   0 11/30/2015   CIP ‐ Open Width Bleach Line    83,404.19    0   83,404.19   not depreciated
              Case 21-02590-dd                       Doc 1        Filed 10/05/21 Entered 10/05/21 12:54:29                                    Desc Main
                                                                 Document     Page 120 of 175
 Fill in this information to identify the case:

 Debtor name         Rockland Industries, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   CIT                                            Describe debtor's property that is subject to a lien                          $0.00                    $0.00
       Creditor's Name                                Related to A/R credit insurance
                                                      Claim 2C60
       201 South Tryon Street
       Charlotte, NC 28202
       Creditor's mailing address                     Describe the lien
                                                      Lien against A/R but not owed any money
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   TM Capital                                     Describe debtor's property that is subject to a lien                     Unknown                       $0.00
       Creditor's Name                                Granted a securitry interest in Rockland's
                                                      assets to secure payment of a fee in the event
       1230 Peachtree St NE                           of certain sales of Rockland's assets.
       Atlanta, GA 30309
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Rockland Industries, Inc.                                                         Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                         Disputed




 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Rockland Industries, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,003.44
           3 Day Blinds                                                         Contingent
           2220 East Cerritos Ave.                                              Unliquidated
           Anaheim, CA 92806                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $12,606.00
           48Forty Solutions LLC                                                Contingent
           PO Box 849729                                                        Unliquidated
           Dallas, TX 75284-9729                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $199.33
           Accomplish Quilting                                                  Contingent
           810 Napier Ave                                                       Unliquidated
           Saint Joseph, MI 49085                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $516.13
           Accurate Forklift                                                    Contingent
           1120 Oakleigh Drive                                                  Unliquidated
           Atlanta, GA 30344                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 18
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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,431.78
          Adam J. Leaderman                                                     Contingent
          4714 Kitty Hawk Dr.                                                   Unliquidated
          Atlanta, GA 30342                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Family Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,283.39
          ADP, LLC                                                              Contingent
          PO Box 842875                                                         Unliquidated
          Boston, MA 02284-2875                                                 Disputed
          Date(s) debt was incurred 9/10/21
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number 4147
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,800.00
          Al Jazira Al Arabia Sons                                              Contingent
          PO box 53321                                                          Unliquidated
          Jeddah, 21533                                                         Disputed
          Saudi Arabia
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $315,004.88
          Alice P. Johnson                                                      Contingent
          PO Box 240                                                            Unliquidated
          Bamberg, SC 29003-0240                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Property Taxes
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,136.60
          Almanzel Furniture Co Ltd.                                            Contingent
          PO Box 6641                                                           Unliquidated
          Jeddah, 21423                                                         Disputed
          Saudi Arabia
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Am. Retrmt. Plan Svcs.                                                Contingent
          Executive Plaza 1, Suite 802                                          Unliquidated
          11350 McCormick Rd                                                    Disputed
          Hunt Valley, MD 21031
                                                                             Basis for the claim:
          Date(s) debt was incurred 6/22/21
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,772.00
          American Textile Specialties                                          Contingent
          321 England Place                                                     Unliquidated
          Spartanburg, SC 29303                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 18
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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $143,101.24
          Arthur R. Johnson Co Inc                                              Contingent
          PO Box 320205                                                         Unliquidated
          Brooklyn, NY 11232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,102.95
          Atlantic Broadband                                                    Contingent
          520 East Pine Log Rd                                                  Unliquidated
          Aiken, SC 29803                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Internet and Phone
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,452.28
          Atlantic Corporation                                                  Contingent
          PO Box 60002                                                          Unliquidated
          Charlotte, NC 28260                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,477.89
          B-H Transfer Co.                                                      Contingent
          PO Box 151                                                            Unliquidated
          Sandersville, GA 31082                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $203.10
          Boone's Country Store                                                 Contingent
          23 Country Store                                                      Unliquidated
          Boones Mill, VA 24065                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,759.68
          Buckeye Business Products                                             Contingent
          PO Box 392340                                                         Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,244.00
          Cady Industries Inc.                                                  Contingent
          c/o Rosenthal & Rosenthal Inc                                         Unliquidated
          PO Box 88926                                                          Disputed
          Chicago, IL 60695-1926
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 3 of 18
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              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,957.60
          Cantwell-Cleary                                                       Contingent
          Paper & Packaging                                                     Unliquidated
          7575 Washing Blvd.                                                    Disputed
          Elkridge, MD 21075
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,327.26
          Caraustar Converted Products Group                                    Contingent
          PO Box 935013                                                         Unliquidated
          Atlanta, GA 31193-5013                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $280.00
          Catawba Valley Community College                                      Contingent
          Attn: Business Office                                                 Unliquidated
          2550 Highway 70 SE                                                    Disputed
          Hickory, NC 28602
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $647.00
          Central Supply/CSC Inc.                                               Contingent
          PO Box 188                                                            Unliquidated
          Fountain Inn, SC 29644                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Christine Civiletti                                                   Contingent
          2707 Gray Monor Terrace                                               Unliquidated
          Dundalk, MD 21222
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $721.72
          City Electric Company                                                 Contingent
          Charleston Division                                                   Unliquidated
          PO Box 131811                                                         Disputed
          Dallas, TX 75313
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $758.00
          Coastal Filtration                                                    Contingent
          9208 Avondale Road                                                    Unliquidated
          Parkville, MD 21234                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 4 of 18
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 Debtor       Rockland Industries, Inc.                                                               Case number (if known)
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $900.36
          Comcast Business                                                      Contingent
          PO Box 37601                                                          Unliquidated
          Philadelphia, PA 19101-0601                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $849.62
          Commercial Seaming                                                    Contingent
          PO Box 39                                                             Unliquidated
          Henderson, NC 27536                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,647.22
          Continental Textile Co                                                Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Debts
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,580.00
          Custom Synthesis, LLC                                                 Contingent
          PO Box 5254                                                           Unliquidated
          Anderson, SC 29623                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,064.64
          Daylight Transport                                                    Contingent
          PO Box 93155                                                          Unliquidated
          Long Beach, CA 90809                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,785.01
          Dillon Supply Company                                                 Contingent
          PO Box 896595                                                         Unliquidated
          Charlotte, NC 28289-6595                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,613.27
          Dilmar Oil Company                                                    Contingent
          PO Box 5629                                                           Unliquidated
          Florence, SC 29502-5629                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,067.15
          Distinctive Stationary                                                Contingent
          Att: Bruce Raeke Jr.                                                  Unliquidated
          204 Azar Court                                                        Disputed
          Halethorpe, MD 21227
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,479.23
          DuBose Strapping, Inc                                                 Contingent
          PO Box 674435                                                         Unliquidated
          Detroit, MI 48267-4435                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,890.00
          Dystar LP                                                             Contingent
          PO Box 75193                                                          Unliquidated
          Charlotte, NC 28275-0193                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          East Federal, LLC                                                     Contingent
          3520 East Federal Street
                                                                                Unliquidated
          Baltimore, MD 21213
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Case pending 24-C-20-005122
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98,245.00
          Eastman Chemical Financial Corp                                       Contingent
          PO Box 785157                                                         Unliquidated
          Philadelphia, PA 19178-5157                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Edward M. Coles, Jr.                                                  Contingent
          268 McGee St.                                                         Unliquidated
          Bamberg, SC 29003
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $662.00
          Elevate Textiles                                                      Contingent
          PO Box 507                                                            Unliquidated
          Mount Holly, NC 28120                                                 Disputed
          Date(s) debt was incurred 6/22/21
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,212.34
          Estes Express Lines                                                   Contingent
          PO Box 25612                                                          Unliquidated
          Richmond, VA 23260-5612                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $147,932.64
          Euler Hermes North America Ins Co                                     Contingent
          800 Red Brook Blvd
                                                                                Unliquidated
          Suite 400C
          Owings Mills, MD 21117                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Euler Hermes (assignee) for Hamrick Mills
          Last 4 digits of account number                                    24-C-21-003198
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $618,830.40
          Euler Hermes North America Ins Co                                     Contingent
          800 Red Brook Blvd
                                                                                Unliquidated
          Suite 400C
          Owings Mills, MD 21117                                                Disputed

          Date(s) debt was incurred                                                         Euler Hermes assignee for J.C. Sussman
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Case No. 24-C-21-001652 CN
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $149.10
          Everhard Products, Inc                                                Contingent
          1016 Ninth Street, SW                                                 Unliquidated
          Canton, OH 44707                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,797.44
          Extex Corporation                                                     Contingent
          33 34th Street                                                        Unliquidated
          Brooklyn, NY 11232-2001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,813.80
          Fabric Tex Corporation                                                Contingent
          372 Creek Path Avenue                                                 Unliquidated
          Oakville, Ontario L6L 6X3                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $31.00
          FedEx                                                                 Contingent
          PO Box 371461                                                         Unliquidated
          Pittsburgh, PA 15250-7461                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,158.00
          FedEx Freight Economy                                                 Contingent
          PO Box 223125                                                         Unliquidated
          Pittsburgh, PA 15250-2125                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,750.00
          Fibro Chem, LLC                                                       Contingent
          PO Box 150684                                                         Unliquidated
          Ogden, UT 84415-0684                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,074.03
          First Film Extruding                                                  Contingent
          Division of Balcan Plastics                                           Unliquidated
          11320 State Route 9, Suite 100                                        Disputed
          Champlain, NY 12919
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $130.73
          Frank Parsons Paper Co Inc.                                           Contingent
          PO Box 791416                                                         Unliquidated
          Baltimore, MD 21279-1416                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,335.00
          G&D Transportation Brokerage                                          Contingent
          50 Commerce Drive                                                     Unliquidated
          Morton, IL 61550                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,584.40
          GCS, Inc                                                              Contingent
          400 Gate Road                                                         Unliquidated
          Inman, SC 29349                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,805.04
          Georgia Forklift Inc                                                  Contingent
          155 Wes Walker Memorial Dr                                            Unliquidated
          Suite 100                                                             Disputed
          Ball Ground, GA 30107
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,946.38
          Heartland Window Treatments                                           Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Debts
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,935.00
          HEIQ                                                                  Contingent
          PO Box 5228                                                           Unliquidated
          Concord, NC 28027                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $125.00
          Highland Art Logistics, Inc.                                          Contingent
          PO Box 23255                                                          Unliquidated
          Los Angeles, CA 90023                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          Highway Transport Logistics, I                                        Contingent
          6420 Baum Drive                                                       Unliquidated
          Knoxville, TN 37919                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,810.28
          Hinton & Hillman Inc                                                  Contingent
          5755 North Point Parkway                                              Unliquidated
          Suite 26                                                              Disputed
          Alpharetta, GA 30022
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,400.00
          Hnry Logistics                                                        Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Debts
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $131,426.38
          ICL-IP America, Inc.                                                  Contingent
          PO Box 3247                                                           Unliquidated
          Carol Stream, IL 60132-3247                                           Disputed
          Date(s) debt was incurred 1/31/20
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300,983.39
          Imptex International Corp.                                            Contingent
          76 North Broadway RM#4040                                             Unliquidated
          Hicksville, NY 11801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,018.40
          Industrial Packaging Supplies                                         Contingent
          PO Box 2009                                                           Unliquidated
          Fountain Inn, SC 29644                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $465.50
          Industrial Repair Service, Inc                                        Contingent
          2650 Business Drive                                                   Unliquidated
          Cumming, GA 30028                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $66,178.13
          International Paper                                                   Contingent
          PO Box 644095                                                         Unliquidated
          Pittsburgh, PA 15264-4095                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,800.00
          Intertek Testing Services NA                                          Contingent
          PO Box 405176                                                         Unliquidated
          Atlanta, GA 30384-5176                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          James L. Swann                                                        Contingent
          PO Box 1106                                                           Unliquidated
          168 Panther Lane
                                                                                Disputed
          Bamberg, SC 29003
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,173.00
          Jiangsu Longda Transfer Printing                                      Contingent
          Textile Compnay Ltd                                                   Unliquidated
          Luoshe Town, Wuxi City                                                Disputed
          CN 214187 Jiangsu Province 100
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Karon Boatwright                                                      Contingent
          375 Dandridge Road                                                    Unliquidated
          Walterboro, SC 29488
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,292.82
          LA Continental Fabric Inc                                             Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Debts
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Larry A. Walsh                                                        Contingent
          8454 Church Road                                                      Unliquidated
          Pasadena, MD 21122
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,571.36
          Lone Star Corrugated Container                                        Contingent
          PO Box 177357                                                         Unliquidated
          Irving, TX 75017-7357                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,486.25
          Madaris Transportation, LLC                                           Contingent
          PO Box 62892                                                          Unliquidated
          Baltimore, MD 21264-2892                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,071.36
          Maxon Corporation                                                     Contingent
          15189 Collection Center Drive                                         Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $61,414.43
          Micro Emulsions Inc.                                                  Contingent
          PO Box 160306                                                         Unliquidated
          Spartanburg, SC 29316                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $285.92
          Motion Industries Inc.                                                Contingent
          PO Box 404130                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $229.20
          MSC Industrial Supply Co                                              Contingent
          PO Box 953635                                                         Unliquidated
          Saint Louis, MO 63195-3635                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $775.92
          Multicorp, Inc                                                        Contingent
          9693 Gerwig Lane, Suite O                                             Unliquidated
          Columbia, MD 21046                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,584.16
          Nalco Company                                                         Contingent
          PO Box 70716                                                          Unliquidated
          Chicago, IL 60673-0716                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Nancy Bell                                                            Contingent
          2811 Christopher Ave                                                  Unliquidated
          Baltimore, MD 21214
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Employee
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,425.90
          Nelson Printing Corporation                                           Contingent
          PO Box 20427                                                          Unliquidated
          Charleston, SC 29413-0427                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,334.97
          Nexsen Pruet                                                          Contingent
          PO Drawer 2426                                                        Unliquidated
          Columbia, SC 29202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,021.73
          Noah M. Berman                                                        Contingent
          12 Wilson Street                                                      Unliquidated
          Berwick, ME 03901-2937                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Family Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $515,118.43
          Northwest Fabric                                                      Contingent
          10 City Place                                                         Unliquidated
          Suite 15H                                                             Disputed
          White Plains, NY 10601
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,664.97
          Old Dominion Freight                                                  Contingent
          PO Box 415202                                                         Unliquidated
          Boston, MA 02241-5202                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,305.59
          Pamela Berman                                                         Contingent
          900 Fallscroft Way                                                    Unliquidated
          Timonium, MD 21093-1705                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Family Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,513.81
          Parks Printing                                                        Contingent
          8295 Henry Harris Road                                                Unliquidated
          Fort Mill, SC 29707                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $175.93
          Quill Office Products                                                 Contingent
          PO Box 37600                                                          Unliquidated
          Philadelphia, PA 19101-0600                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $132,355.26
          Rogers & Brown                                                        Contingent
          PO Box 162005                                                         Unliquidated
          Atlanta, GA 30321-0005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $248,796.30
          Rohm & Haas Company                                                   Contingent
          PO Box 741801                                                         Unliquidated
          Atlanta, GA 30384-1801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $371.22
          Romantex S.A.C.                                                       Contingent
          AV Paz, Soldan 185                                                    Unliquidated
          San Isidro, Lima, Peru                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $394.00
          S. C. Dept of Health and Environmental C                              Contingent
          Bureau of Radiological Health                                         Unliquidated
          2600 Bull Street                                                      Disputed
          Columbia, SC 29201
                                                                             Basis for the claim:    License Fee
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,052.71
          S. Walter Packaging Corp                                              Contingent
          1210 Northbrook Drive                                                 Unliquidated
          Suite 350                                                             Disputed
          Feasterville, PA 19053
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $200.90
          Sailrite                                                              Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Debts
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,377.77
          Southeastern Freight Lines                                            Contingent
          PO Box 100104                                                         Unliquidated
          Columbia, SC 29202-3104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52,801.00
          Stanley B. Fradin                                                     Contingent
          6875 Willow Wood Drive                                                Unliquidated
          Apt 2083                                                              Disputed
          Boca Raton, FL 33434
                                                                             Basis for the claim:    Retirement Benefits
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 14 of 18
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              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $524.17
          Star Textile                                                          Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Debts
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,305.59
          Stephen R. Leaderman                                                  Contingent
          675 President St., Ste 2304                                           Unliquidated
          Baltimore, MD 21202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Family Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,041.22
          Supplyone Rockwell, Inc                                               Contingent
          PO Box 534331                                                         Unliquidated
          Atlanta, GA 30353-4331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,036.86
          Tencarva Machinery Co                                                 Contingent
          PO Box 409897                                                         Unliquidated
          Atlanta, GA 30384-9897                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,262.50
          The Parker Company                                                    Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade Debts
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $184.80
          The Stroud Purchasing Group                                           Contingent
          5950 Symphony Woods                                                   Unliquidated
          Columbia, MD 21044                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $339.80
          The Toner Company                                                     Contingent
          20533 Biscayne Blvd                                                   Unliquidated
          #510                                                                  Disputed
          Miami, FL 33180
                                                                             Basis for the claim:    Trade Debts
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,685.62
          Thompson Coburn LLP                                                   Contingent
          Attorneys at Law                                                      Unliquidated
          PO Box 18379M                                                         Disputed
          Saint Louis, MO 63195
                                                                             Basis for the claim:    Legal
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,798.00
          Thunderbolt Global Logistics                                          Contingent
          1501 Saint Paul Street, Ste 127                                       Unliquidated
          Baltimore, MD 21202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $597.30
          Tipco Technologies                                                    Contingent
          11412 Cronhill Dr                                                     Unliquidated
          Owings Mills, MD 21117                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,145.00
          U.S. Logistics Inc                                                    Contingent
          PO Box 225                                                            Unliquidated
          Elizabeth, NJ 07207                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $781.06
          USF Holland Inc.                                                      Contingent
          27052 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $106,262.81
          Van Antimo USA Inc.                                                   Contingent
          1326 Fifth Avenue, Suite 343                                          Unliquidated
          Seattle, WA 98101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $111,336.00
          Vantage Chemical Corporation                                          Contingent
          PO Box 8851                                                           Unliquidated
          Asheville, NC 28814                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.110     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $323.22
           Veritiv Operating Company                                            Contingent
           Veritiv-Columbia                                                     Unliquidated
           PO Box 409884                                                        Disputed
           Atlanta, GA 30384-9884
                                                                             Basis for the claim:    Trade Debts
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.111     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $457.85
           Vertical Communications, Inc.                                        Contingent
           PO Box 654180                                                        Unliquidated
           Dallas, TX 75265                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $243.69
           W.B. Mason Co. Inc                                                   Contingent
           PO Box 981101                                                        Unliquidated
           Boston, MA 02298-1101                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,663.54
           Walltracts                                                           Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:    Trade Debts
                                                                             Is the claim subject to offset?     No       Yes

 3.114     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,065.60
           Yates Bleachery                                                      Contingent
           PO Box 800                                                           Unliquidated
           Flintstone, GA 30725                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $4,307.00
           YRC                                                                  Contingent
           PO Box 13573                                                         Unliquidated
           Newark, NJ 07188-3573                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,774.65
           Zoro Tools Inc                                                       Contingent
           PO Box 5233                                                          Unliquidated
           Janesville, WI 53547-5233                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Debts
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 17 of 18
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              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.1       Hamrick Mills
           PO Box 102                                                                            Line     3.41
           Gaffney, SC 29342
                                                                                                        Not listed. Explain

 4.2       J.C. Sussman (Northwest Faabric)
           10 City Place                                                                         Line     3.42
           Suite 15 H
                                                                                                        Not listed. Explain
           White Plains, NY 10601

 4.3       Jeremy C. B. Wyatt
           40 West Chesapeake Ave                                                                Line     3.36
           Ste 600
                                                                                                        Not listed. Explain
           Towson, MD 21204

 4.4       Joel D. Seledee
           1 N. Charles St.                                                                      Line     3.41
           Ste 2300
                                                                                                        Not listed. Explain
           Baltimore, MD 21201

 4.5       Joel D. Seledee
           1 N. Charles St.                                                                      Line     3.42
           Ste 2300
                                                                                                        Not listed. Explain
           Baltimore, MD 21201

 4.6       Michael J. Bollinger Co., Inc.
           3520 East Federal Street                                                              Line     3.36
           Baltimore, MD 21213
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  3,878,693.34

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    3,878,693.34




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 18 of 18
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 Fill in this information to identify the case:

 Debtor name         Rockland Industries, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   2 Copiers in Baltimore
             lease is for and the nature of               office, payment based
             the debtor's interest                        on number of copies
                                                          with minimum
                                                          maitenance
                  State the term remaining                6/20/2022
                                                                                       Advance Business Systems
             List the contract number of any                                           10766 York Road
                   government contract                                                 Linthicum Heights, MD 21090


 2.2.        State what the contract or                   Computer support
             lease is for and the nature of               services for SAP
             the debtor's interest                        Systems/Software

                  State the term remaining                on 60 days notice            Apiphan, Inc
                                                                                       745 Atlantic Ave
             List the contract number of any                                           8th Floor
                   government contract                                                 Boston, MA 02110


 2.3.        State what the contract or                   Trademark Assignment
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                             Chinatex Oriental, Inc.
                                                                                       209 West 40th Street
             List the contract number of any                                           4th Floor
                   government contract                                                 New York, NY 10018


 2.4.        State what the contract or                   Trademark Coexistence
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                             Chinatex Oriental, Inc.
                                                                                       209 West 40th Street
             List the contract number of any                                           4th Floor
                   government contract                                                 New York, NY 10018




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Rockland Industries, Inc.                                                            Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   License and Asset
             lease is for and the nature of               Purchase Agreement
             the debtor's interest

                  State the term remaining                                             Chinatex Oriental, Inc.
                                                                                       209 West 40th Street
             List the contract number of any                                           4th Floor
                   government contract                                                 New York, NY 10018


 2.6.        State what the contract or                   Office Lease of 4969
             lease is for and the nature of               Mercantile Rd Suite A,
             the debtor's interest                        Baltimore, MD 21236

                  State the term remaining                02/28/2027                   Mercantile Road, LLC
                                                                                       c/o Hill Management Services,LLC
             List the contract number of any                                           PO Box 4835
                   government contract                                                 Timonium, MD 21094


 2.7.        State what the contract or                   Copier lease in
             lease is for and the nature of               Bamberg
             the debtor's interest

                  State the term remaining                on 30 days notice
                                                                                       Ricoh Copiers Inc
             List the contract number of any                                           70 Valley Stream Pkway
                   government contract                                                 Malvern, PA 19355


 2.8.        State what the contract or                   Granted a security
             lease is for and the nature of               interest in Rockland's
             the debtor's interest                        assets and A/R to
                                                          secure payment of a
                                                          fee in the event of
                                                          certain sales of
                                                          Rockland's assets.
                  State the term remaining                                             TM Capital
                                                                                       1230 Peachtree Street, NE
             List the contract number of any                                           Suite 550
                   government contract                                                 Atlanta, GA 30309


 2.9.        State what the contract or                   Telephone system in
             lease is for and the nature of               Bamberg, SC facility
             the debtor's interest

                  State the term remaining                6/2022                       Vertical
                                                                                       8840 Stanford Blvd
             List the contract number of any                                           Suite 4100
                   government contract                                                 Columbia, MD 21045




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
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 Debtor name         Rockland Industries, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Rockland Industries, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                         $75,906.54
       From 8/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                     $2,481,047.28
       From 8/01/2020 to 7/31/2021
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $19,339,474.55
       From 8/01/2019 to 7/31/2020
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                   $35,109,177.39
       From 8/01/2018 to 7/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                   2018 From 1120 Amended
       From 1/01/2021 to Filing Date                                                           Refund Check                                   $971,065.45


       From the beginning of the fiscal year to filing date:                                   Chinatex Oriental Royalty
       From 1/01/2021 to Filing Date                                                           Deposit                                          $50,000.00



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                                                                                               Description of sources of revenue            Gross revenue from
                                                                                                                                            each source
                                                                                                                                            (before deductions and
                                                                                                                                            exclusions)
       From the beginning of the fiscal year to filing date:                                   Chinatex Oriental Quartly
       From 1/01/2021 to Filing Date                                                           Royalty Payment                                         $11,875.00


       For prior year:                                                                         AXA Equitable Life
       From 1/01/2020 to 12/31/2020                                                            Insurance Termination
                                                                                               Settlement                                              $61,011.25


       For prior year:                                                                         AXA Equitable Life
       From 1/01/2020 to 12/31/2020                                                            Insurance Dividends                                     $10,550.50


       For prior year:                                                                         Proceeds from Sale of
       From 1/01/2020 to 12/31/2020                                                            Edison Highway Real Estate                           $4,350,000.00


       For prior year:                                                                         Palmetto State Bank PPP
       From 1/01/2020 to 12/31/2020                                                            Loan -100% Forgiven                                    $481,861.00


       For prior year:                                                                         Proceeds from logging
       From 1/01/2020 to 12/31/2020                                                            Industrial Park Land by Mid
                                                                                               Carolina Timber Co., Inc                                $11,418.89


       For year before that:                                                                   AXA Equitable Life
       From 1/01/2019 to 12/31/2019                                                            Insurance Dividends                                     $21,719.86


       For year before that:                                                                   Proceeds from sale of Sun
       From 1/01/2019 to 12/31/2019                                                            Life Financial Inc investment                          $252,101.57


       For the fiscal year:                                                                    AXA Equitable Life
       From 1/01/2018 to 12/31/2018                                                            Insurance Loan Advance                               $1,170,197.67


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               ADP, LLC                                                    7/30/2021                          $4,188.51          Secured debt
               PO Box 842875                                               8/16/2021                                             Unsecured loan repayments
               Boston, MA 02284-2875                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.2.
               Am. Retrmt. Plan Svcs.                                      7/19/2021                          $6,722.50          Secured debt
               Executive Plaza 1, Suite 803                                                                                      Unsecured loan repayments
               11350 McCormick Rd                                                                                                Suppliers or vendors
               Hunt Valley, MD 21031
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Board of Public Works Bamberg SC                            7/7/21                           $50,161.86           Secured debt
                                                                           8/6/21                                                Unsecured loan repayments
                                                                           9/2/21                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               First Insurance Funding Corp                                7/19/2021                        $13,551.99           Secured debt
                                                                           8/30/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Hill Management Services, Inc.                              7/30/2021                        $23,114.25           Secured debt
                                                                           8/30/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               Mitel Cloud Services                                        7/26/21                            $9,930.44          Secured debt
                                                                           8/30/21                                               Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               AT&T                                                        9/28/2021                            $210.29          Secured debt
               PO Box 6416                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60197-6416                                                                                       Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               Circuit Court for Baltimore, MD                             9/28/2021                              $20.00         Secured debt
               111 North Calvert St                                                                                              Unsecured loan repayments
               Baltimore, MD 21202                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Filing fee


       3.9.
               Assured Partners                                            9/28/2021                            $170.00          Secured debt
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.10
       .
            Delta Dental                                                                                        $688.33               Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    East Federal, LLC et al v.                        Claim for                  Circuit Court for Baltimore,                   Pending
               Rockland Industries, Inc. et al                   damages by                 MD                                             On appeal
               24-C-20-005122 OT                                 abutting                   111 North Calvert St
                                                                                                                                           Concluded
                                                                 landowner                  Baltimore, MD 21202
                                                                 relating to
                                                                 drainage and
                                                                 water supply

       7.2.    Euler Hermes North American                       Collection action          Circuit Court for Baltimore,                   Pending
               Ins. Co as Assignee of J.C.                       by factor for              MD                                             On appeal
               Sussman v. Rockland                               $618,830.40                111 North Calvert St
                                                                                                                                           Concluded
               Industries, Inc                                                              Baltimore, MD 21202
               24-C-21-001652 CN


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               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.3.    Euler Hermes North American                       Collection action            Circuit Court for Baltimore,                Pending
               Ins. Co as Assignee of                            by factor for                MD                                          On appeal
               Hamrick v. Rockland                               $147,932.64                  111 North Calvert St
                                                                                                                                          Concluded
               Industries, Inc                                                                Baltimore, MD 21202
               24-C-21-003198 CN

       7.4.    Colonial Chemical Solutions,                      Collection Action            State Court of Chatham                      Pending
               Inc. v. Rockland Industries,                      by supplier for              County Georgia                              On appeal
               Inc                                               $22,155.33.
                                                                                                                                          Concluded
               STVC20-00889                                      Settled for $17,500
                                                                 and dismissed in
                                                                 Oct 2020

       7.5.    Wegochem International LLC                        Collection action            US District Court for the                   Pending
               v. Rockland Industries, Inc                       by supplier for              District of MD                              On appeal
               1:20-cv-00704-GLR                                 $343,057.81.                 Baltimore Division
                                                                                                                                          Concluded
                                                                 Settled by                   101 W Lombard St.
                                                                 payment on                   Baltimore, MD 21201
                                                                 12/11/2020 for
                                                                 $315,000.00

       7.6.    Wells Fargo Bank NA v.                            Collection action            Circuit Court for Baltimore,                Pending
               Rockland Industries Inc.                          by factor for $83,           MD                                          On appeal
               C-30-CV-20-002232                                 301.42. Settled for          111 North Calvert St
                                                                                                                                          Concluded
                                                                 $55,000.00 in May            Baltimore, MD 21202
                                                                 2021


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy


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    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Beal, LLC
                 PO Box 11277
                 Columbia, SC 29211                                  Attorney Fees                                             12/4/2020                $787.50

                 Email or website address
                 ccooper@bealllc.com

                 Who made the payment, if not debtor?
                 All payments were made from
                 retainer in Beal, LLC's trust
                 account.


       11.2.     Beal, LLC
                 PO Box 11277
                 Columbia, SC 29211                                  Attorney Fees                                             4/21/2021              $3,009.83

                 Email or website address
                 ccooper@bealllc.com

                 Who made the payment, if not debtor?
                 All payments were made from
                 retainer in Beal, LLC's trust
                 account.


       11.3.     Beal, LLC
                 PO Box 11277
                 Columbia, SC 29211                                  Attorney Fees                                             8/11/2021              $3,431.43

                 Email or website address
                 ccooper@bealllc.com

                 Who made the payment, if not debtor?
                 All payments were made from
                 retainer in Beal, LLC's trust
                 account.


       11.4.     Beal, LLC
                 PO Box 11277
                 Columbia, SC 29211                                  Attorney Fees                                             9/24/2021              $1,365.00

                 Email or website address
                 ccooper@bealllc.com

                 Who made the payment, if not debtor?
                 All payments were made from
                 retainer in Beal, LLC's trust
                 account.




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                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.5.     Beal, LLC
                 PO Box 11277
                 Columbia, SC 29211                                                                                            9/21/2021             $25,000.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Retainer


       11.6.     Beal, LLC
                 PO Box 11277
                 Columbia, SC 29211                                  Retainer replenshment.                                    09/30/2021            $27,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.7.     Beal, LLC
                 PO Box 11277
                 Columbia, SC 29211                                                                                            10/1/2021             $32,260.28

                 Email or website address


                 Who made the payment, if not debtor?
                 From Retainer Balance



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers            Total amount or
                                                                                                                      were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                           Description of property transferred or                  Date transfer           Total amount or
                Address                                          payments received or debts paid in exchange             was made                         value
       13.1 Colonial Chemical Solutions,                         Collection Action by supplier, settled and
       .    Inc                                                  dismissed
                                                                 Case No STV20-00889                                     Oct 2020                    $17,500.00

                Relationship to debtor




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               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.2                                                      Collection Action by supplier, settled and
       .    Wegochem International LLC                           dismissed
                                                                 Case No. 1:20-cv-00704-GLR                              12/11/2020                  $315,000.00

               Relationship to debtor



       13.3 Wells Fargo Bank NA                                  Collection Action by factor, settled and
       .                                                         dismissed.                                              May 2021                     $55,000.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Rockland Industrial Inc 401(K) Profit Sharing Plan and Trust                               EIN: XX-XXXXXXX

                    Has the plan been terminated?
                       No
                       Yes


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                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Rockland Industries, Inc Group Health Plan                                                 EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     M & T Bank                                      XXXX-4786                   Checking                 10/06/2020                      $5,259.36
                 One Light Street                                                            Savings
                 16th Floor
                                                                                             Money Market
                 Baltimore, MD 21202
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
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      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Warehouse Property                               Holds titles to real property                    EIN:         XX-XXXXXXX
             Investments, LLC
                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Donna M. Neimiller
                    1636 Morse Road
                    Forest Hill, MD 21050
       26a.2.       Jim Beitman


       26a.3.       Shirley Mitz


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       Name and address                                                                                                          Date of service
                                                                                                                                 From-To
       26a.4.       Pat Fowler


       26a.5.       Stephen R. Leaderman
                    675 President St., Ste 2304
                    Baltimore, MD 21202
       26a.6.       Brenda Grubowski


       26a.7.       Karon Boatwright


       26a.8.       Tom Truman


       26a.9.       Thomas M. Kasputys
                    4 Fallon Court., Apt C
                    Nottingham, MD 21236
       26a.10.      Nancy Bell


       26a.11.      David Harris


       26a.12.      Kim Graham


       26a.13.      Beth Ray


       26a.14.      Joan Wehberg


       26a.15.      Christina Padgett


       26a.16.      Eileen Dunn


       26a.17.      Christine Civiletti



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                          Date of service
                                                                                                                                 From-To
       26b.1.       SC&H Group, Inc.                                                                                             since 2003
                    910 Ridgebrok Road
                    Sparks Glencoe, MD 21152




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 11
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 Debtor      Rockland Industries, Inc.                                                                  Case number (if known)



       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       MidCap Business Credit, LLC                                                                                         2020
                    433 South Main Street
                    West Hartford, CT 06110

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Rockland Industries, Inc
                    4969 Mercantile Road, Suite A
                    Nottingham, MD 21236-5045
       26c.2.       Rockland Industries, Inc
                    253 Calhoun St
                    Bamberg, SC 29003

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Bank of America
                    300 Galleria Parkway, Suite 800
                    Atlanta, GA 30339-3153
       26d.2.       TM Capital
                    1230 Peachtree Street, NE
                    Suite 550
                    Atlanta, GA 30309
       26d.3.       GGG Partners LLC
                    3155 Roswell Rd Ne
                    Suite 120
                    Greenwich, CT 06830
       26d.4.       Berkley Capital
                    475 Steamboat Rd
                    Greenwich, CT 06830
       26d.5.       CIT
                    201 South Tryon Street
                    Charlotte, NC 28202
       26d.6.       Sterling Commercial Credit
                    10559 Citation Dr. #204
                    Brighton, MI 48116
       26d.7.       MidCap Business Credit, LLC
                    433 South Main Street
                    West Hartford, CT 06110

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.




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               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mark R. Berman                                 900 Fallscroft Way                                  Director/President/Sharehold          2.36%
                                                      Lutherville Timonium, MD 21093-1705                 er

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Pamela Berman                                  900 Fallscroft Way                                  Director/Shareholder                  24.21%
                                                      Lutherville Timonium, MD 21093-1705

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Thomas M. Kasputys                             4 Fallon Court., Apt C                              Director/Vice                         1.66%
                                                      Nottingham, MD 21236                                President/Shareholder

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Adam J. Leaderman                              4714 Kitty Hawk Dr.                                 Director/Shareholder                  24.21%
                                                      Atlanta, GA 30342

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Stephen R. Leaderman                           675 President St., Ste 2304                         Director/Vice                         24.21%
                                                      Baltimore, MD 21202                                 President/Treasurer/Sharehol
                                                                                                          der
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Donna M. Neimiller                             1636 Morse Road                                     Director/Vice President
                                                      Forest Hill, MD 21050



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Mark R. Berman
       .    900 Fallscroft Way                                                                                           10/9/2020 -
               Timonium, MD 21093-1705                           $279,231.00                                             10/1/2021          Salary

               Relationship to debtor
               Employee/Shareholder/Direct
               or



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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2 Thomas M. Kasputys
       .    4 Fallon Court., Apt C                                                                                       10/9/2020 -
               Nottingham, MD 21236                              $112,981.00                                             10/1/2021         Salary

               Relationship to debtor
               Employee/Director


       30.3 Stephen R. Leaderman
       .    675 President St., Ste 2304                                                                                  10/9/2020 -
               Baltimore, MD 21202                               $177,672.00                                             10/1/2021         Salary

               Relationship to debtor
               Employee/Shareholder/Direct
               or


       30.4 Donna M. Neimiller
       .    1636 Morse Road                                                                                              10/9/2020 -
               Forest Hill, MD 21050                             $173,269.00                                             10/1/2021         Salary

               Relationship to debtor
               Employee/Director


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Warehouse Property Investments, LLC                                                                        EIN:        XX-XXXXXXX
    owned 100% by Rockland Industries Inc

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      Rockland Industries, Inc.                                                                  Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 5, 2021

 /s/ Mark Berman                                                        Mark Berman
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                                                   District of South Carolina
     In re        Rockland Industries, Inc.                                                                        Case No.
                                                                                   Debtor(s)                       Chapter      11

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
I.       Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
         be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                  For legal services, I have agreed to accept_______________                                   $    Hourly Rates as set forth in employment application
                  Prior to the filing of this statement I have received___      _
                                                                                __                             $    See attached Exhibit A
                  Balance Due-     -   -
                                       ---    -    -
                                                   -
                                                                                                               $                 0.00

2.       The source of the compensation paid to me was:
                  ■ Debtor           D Other (specify):

3.       The source of compensation to be paid to me is:
                  ■    Debtor        D    Other (specify):

4.           ■   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates ofmy law firm.

             D I have agreed to share the abovewdisclosed compensation with a person or persons who are not members or associates of my law firm. A
               copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above wdisclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
         b.      Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         d.      [Other provisions as needed]
                       Negotiations with creditors, preparation and filing of plan of reorganization and representation of Debtor at all
                       hearings through the effective date of the plan,

6.       By agreement with the debtor(s), the abovewdisclosed fee does not include the following service:

                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

       October 5, 2021                                                            /s/ Michael M. Beal
       Date                                                                       Michael M. Beal
                                                                                  Signature ofAttorney
                                                                                  Beal, LLC
                                                                                  PO Box 11277
                                                                                  Columbia, SC 29211
                                                                                  803-728-0803
                                                                                  ccooper@bealllc.com
                                                                                  Name of law firm




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                                                                       District of South Carolina
 In re      Rockland Industries, Inc.                                                                      Case No.
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 Adam J. Leaderman                                                   Common         126573.42                         24.21%
 4714 Kitty Hawk Dr.
 Atlanta, GA 30342

 Alexander J. Leaderman Generation Skippi                            Common         47840                             1.83%
 fbo Erica C. Berman
 4969 Mercantile Road
 Suite A
 Nottingham, MD 21236-5045

 Alexander J. Leaderman Generation Skippi                            common         9568                              1.83%
 fbo Ariel N. Berman
 4969 Mercantile Rd
 Suite A
 Nottingham, MD 21236-5045

 Alexander J. Leaderman Generation Skippi                            Common         9568                              1.83%
 fbo Noah M. Berman
 4969 Mercantile Rd
 Suite A
 Nottingham, MD 21236-5045

 Alexander J. Leaderman Generation Skippi                            Common         9568                              1.83%
 fbo Scott P. Leaderman
 4969 Mercantile Rd
 Suite A
 Nottingham, MD 21236-5045

 Alexander J. Leaderman Generation Skippi                            Common         9568                              1.83%
 fbo David M. Leaderman
 4969 Mercantile Rd
 Suite A
 Nottingham, MD 21236-5045

 Ariel K. Berman                                                     Common         15323                             2.93%
 25 Sawin St. #2
 Watertown, MA 02472-1510

 David M. Leaderman                                                  Common         12927                             2.47%
 4717 Kitty Hawk Dr
 Atlanta, GA 30342

 Erica C. Berman                                                     Common         15323                             2.93%
 300 E. 75th Street
 Apt 28F
 New York, NY 10021-3381



Sheet 1 of 2 in List of Equity Security Holders
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 In re:    Rockland Industries, Inc.                                                                     Case No.
                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 Mark R. Berman                                                      Common           12328                                     2.36%
 900 Fallscroft Way
 Lutherville Timonium, MD 21093-1705

 Noah M. Berman                                                      Common           15323                                     2.93%
 12 Wilson Street
 Berwick, ME 03901-2937

 Pamela Berman                                                       Common           126573.42                                 24.21%
 900 Fallscroft Way
 Lutherville Timonium, MD 21093-1705

 Scott P. Leaderman                                                  Common           15232                                     2.93%
 4714 Kitty Hawk Dr
 Atlanta, GA 30342

 Stephen R. Leaderman                                                Common           126573.42                                 24.21%
 675 President St., Ste 2304
 Baltimore, MD 21202

 Thomas M. Kasputys                                                  Common           8660                                      1.66%
 2903 Coldstream Way
 Apt C
 Parkville, MD 21234


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 5, 2021                                                         Signature /s/ Mark Berman
                                                                                            Mark Berman

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                     District of South Carolina
 In re      Rockland Industries, Inc.                                                                   Case No.
                                                                                 Debtor(s)              Chapter    11


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF




 Date:       October 5, 2021                                          /s/ Mark Berman
                                                                      Mark Berman/President
                                                                      Signer/Title

 Date: October 5, 2021                                                /s/ Michael M. Beal
                                                                      Signature of Attorney
                                                                      Michael M. Beal
                                                                      Beal, LLC
                                                                      PO Box 11277
                                                                      Columbia, SC 29211
                                                                      803-728-0803
                                                                      Typed/Printed Name/Address/Telephone

                                                                      1253 SC
                                                                      District Court I.D. Number




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                        3 DAY BLINDS
                        2220 EAST CERRITOS AVE.
                        ANAHEIM CA 92806


                        48FORTY SOLUTIONS LLC
                        PO BOX 849729
                        DALLAS TX 75284-9729


                        ACCOMPLISH QUILTING
                        810 NAPIER AVE
                        SAINT JOSEPH MI 49085


                        ACCURATE FORKLIFT
                        1120 OAKLEIGH DRIVE
                        ATLANTA GA 30344


                        ADAM J. LEADERMAN
                        4714 KITTY HAWK DR.
                        ATLANTA GA 30342


                        ADP, LLC
                        PO BOX 842875
                        BOSTON MA 02284-2875


                        ADVANCE BUSINESS SYSTEMS
                        10766 YORK ROAD
                        LINTHICUM HEIGHTS MD 21090


                        AL JAZIRA AL ARABIA SONS
                        PO BOX 53321
                        JEDDAH, 21533
                        SAUDI ARABIA


                        ALICE P. JOHNSON
                        PO BOX 240
                        BAMBERG SC 29003-0240


                        ALMANZEL FURNITURE CO LTD.
                        PO BOX 6641
                        JEDDAH, 21423
                        SAUDI ARABIA
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                    AM. RETRMT. PLAN SVCS.
                    EXECUTIVE PLAZA 1, SUITE 802
                    11350 MCCORMICK RD
                    HUNT VALLEY MD 21031


                    AMERICAN TEXTILE SPECIALTIES
                    321 ENGLAND PLACE
                    SPARTANBURG SC 29303


                    APIPHAN, INC
                    745 ATLANTIC AVE
                    8TH FLOOR
                    BOSTON MA 02110


                    ARTHUR R. JOHNSON CO INC
                    PO BOX 320205
                    BROOKLYN NY 11232


                    ATLANTIC BROADBAND
                    520 EAST PINE LOG RD
                    AIKEN SC 29803


                    ATLANTIC CORPORATION
                    PO BOX 60002
                    CHARLOTTE NC 28260


                    B-H TRANSFER CO.
                    PO BOX 151
                    SANDERSVILLE GA 31082


                    BOONE'S COUNTRY STORE
                    23 COUNTRY STORE
                    BOONES MILL VA 24065


                    BUCKEYE BUSINESS PRODUCTS
                    PO BOX 392340
                    CLEVELAND OH 44193


                    CADY INDUSTRIES INC.
                    C/O ROSENTHAL & ROSENTHAL INC
                    PO BOX 88926
                    CHICAGO IL 60695-1926
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                    CANTWELL-CLEARY
                    PAPER & PACKAGING
                    7575 WASHING BLVD.
                    ELKRIDGE MD 21075


                    CARAUSTAR CONVERTED PRODUCTS GROUP
                    PO BOX 935013
                    ATLANTA GA 31193-5013


                    CATAWBA VALLEY COMMUNITY COLLEGE
                    ATTN: BUSINESS OFFICE
                    2550 HIGHWAY 70 SE
                    HICKORY NC 28602


                    CENTRAL SUPPLY/CSC INC.
                    PO BOX 188
                    FOUNTAIN INN SC 29644


                    CHINATEX ORIENTAL, INC.
                    209 WEST 40TH STREET
                    4TH FLOOR
                    NEW YORK NY 10018


                    CHRISTINE CIVILETTI
                    2707 GRAY MONOR TERRACE
                    DUNDALK MD 21222


                    CIT
                    201 SOUTH TRYON STREET
                    CHARLOTTE NC 28202


                    CITY ELECTRIC COMPANY
                    CHARLESTON DIVISION
                    PO BOX 131811
                    DALLAS TX 75313


                    COASTAL FILTRATION
                    9208 AVONDALE ROAD
                    PARKVILLE MD 21234


                    COMCAST BUSINESS
                    PO BOX 37601
                    PHILADELPHIA PA 19101-0601
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                    COMMERCIAL SEAMING
                    PO BOX 39
                    HENDERSON NC 27536


                    CONTINENTAL TEXTILE CO



                    CUSTOM SYNTHESIS, LLC
                    PO BOX 5254
                    ANDERSON SC 29623


                    DAYLIGHT TRANSPORT
                    PO BOX 93155
                    LONG BEACH CA 90809


                    DILLON SUPPLY COMPANY
                    PO BOX 896595
                    CHARLOTTE NC 28289-6595


                    DILMAR OIL COMPANY
                    PO BOX 5629
                    FLORENCE SC 29502-5629


                    DISTINCTIVE STATIONARY
                    ATT: BRUCE RAEKE JR.
                    204 AZAR COURT
                    HALETHORPE MD 21227


                    DUBOSE STRAPPING, INC
                    PO BOX 674435
                    DETROIT MI 48267-4435


                    DYSTAR LP
                    PO BOX 75193
                    CHARLOTTE NC 28275-0193


                    EAST FEDERAL, LLC
                    3520 EAST FEDERAL STREET
                    BALTIMORE MD 21213


                    EASTMAN CHEMICAL FINANCIAL CORP
                    PO BOX 785157
                    PHILADELPHIA PA 19178-5157
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                    EDWARD M. COLES, JR.
                    268 MCGEE ST.
                    BAMBERG SC 29003


                    ELEVATE TEXTILES
                    PO BOX 507
                    MOUNT HOLLY NC 28120


                    ESTES EXPRESS LINES
                    PO BOX 25612
                    RICHMOND VA 23260-5612


                    EULER HERMES NORTH AMERICA INS CO
                    800 RED BROOK BLVD
                    SUITE 400C
                    OWINGS MILLS MD 21117


                    EVERHARD PRODUCTS, INC
                    1016 NINTH STREET, SW
                    CANTON OH 44707


                    EXTEX CORPORATION
                    33 34TH STREET
                    BROOKLYN NY 11232-2001


                    FABRIC TEX CORPORATION
                    372 CREEK PATH AVENUE
                    OAKVILLE, ONTARIO L6L 6X3


                    FEDEX
                    PO BOX 371461
                    PITTSBURGH PA 15250-7461


                    FEDEX FREIGHT ECONOMY
                    PO BOX 223125
                    PITTSBURGH PA 15250-2125


                    FIBRO CHEM, LLC
                    PO BOX 150684
                    OGDEN UT 84415-0684


                    FIRST FILM EXTRUDING
                    DIVISION OF BALCAN PLASTICS
                    11320 STATE ROUTE 9, SUITE 100
                    CHAMPLAIN NY 12919
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                    FRANK PARSONS PAPER CO INC.
                    PO BOX 791416
                    BALTIMORE MD 21279-1416


                    G&D TRANSPORTATION BROKERAGE
                    50 COMMERCE DRIVE
                    MORTON IL 61550


                    GCS, INC
                    400 GATE ROAD
                    INMAN SC 29349


                    GEORGIA FORKLIFT INC
                    155 WES WALKER MEMORIAL DR
                    SUITE 100
                    BALL GROUND GA 30107


                    HAMRICK MILLS
                    PO BOX 102
                    GAFFNEY SC 29342


                    HEARTLAND WINDOW TREATMENTS



                    HEIQ
                    PO BOX 5228
                    CONCORD NC 28027


                    HIGHLAND ART LOGISTICS, INC.
                    PO BOX 23255
                    LOS ANGELES CA 90023


                    HIGHWAY TRANSPORT LOGISTICS, I
                    6420 BAUM DRIVE
                    KNOXVILLE TN 37919


                    HINTON & HILLMAN INC
                    5755 NORTH POINT PARKWAY
                    SUITE 26
                    ALPHARETTA GA 30022


                    HNRY LOGISTICS
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                    ICL-IP AMERICA, INC.
                    PO BOX 3247
                    CAROL STREAM IL 60132-3247


                    IMPTEX INTERNATIONAL CORP.
                    76 NORTH BROADWAY RM#4040
                    HICKSVILLE NY 11801


                    INDUSTRIAL PACKAGING SUPPLIES
                    PO BOX 2009
                    FOUNTAIN INN SC 29644


                    INDUSTRIAL REPAIR SERVICE, INC
                    2650 BUSINESS DRIVE
                    CUMMING GA 30028


                    INTERNATIONAL PAPER
                    PO BOX 644095
                    PITTSBURGH PA 15264-4095


                    INTERTEK TESTING SERVICES NA
                    PO BOX 405176
                    ATLANTA GA 30384-5176


                    J.C. SUSSMAN (NORTHWEST FAABRIC)
                    10 CITY PLACE
                    SUITE 15 H
                    WHITE PLAINS NY 10601


                    JAMES L. SWANN
                    PO BOX 1106
                    168 PANTHER LANE
                    BAMBERG SC 29003


                    JEREMY C. B. WYATT
                    40 WEST CHESAPEAKE AVE
                    STE 600
                    TOWSON MD 21204


                    JIANGSU LONGDA TRANSFER PRINTING
                    TEXTILE COMPNAY LTD
                    LUOSHE TOWN, WUXI CITY
                    CN 214187 JIANGSU PROVINCE 100
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                    JOEL D. SELEDEE
                    1 N. CHARLES ST.
                    STE 2300
                    BALTIMORE MD 21201


                    KARON BOATWRIGHT
                    375 DANDRIDGE ROAD
                    WALTERBORO SC 29488


                    LA CONTINENTAL FABRIC INC



                    LARRY A. WALSH
                    8454 CHURCH ROAD
                    PASADENA MD 21122


                    LONE STAR CORRUGATED CONTAINER
                    PO BOX 177357
                    IRVING TX 75017-7357


                    MADARIS TRANSPORTATION, LLC
                    PO BOX 62892
                    BALTIMORE MD 21264-2892


                    MAXON CORPORATION
                    15189 COLLECTION CENTER DRIVE
                    CHICAGO IL 60693


                    MERCANTILE ROAD, LLC
                    C/O HILL MANAGEMENT SERVICES,LLC
                    PO BOX 4835
                    TIMONIUM MD 21094


                    MICHAEL J. BOLLINGER CO., INC.
                    3520 EAST FEDERAL STREET
                    BALTIMORE MD 21213


                    MICRO EMULSIONS INC.
                    PO BOX 160306
                    SPARTANBURG SC 29316


                    MOTION INDUSTRIES INC.
                    PO BOX 404130
                    ATLANTA GA 30384
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                    MSC INDUSTRIAL SUPPLY CO
                    PO BOX 953635
                    SAINT LOUIS MO 63195-3635


                    MULTICORP, INC
                    9693 GERWIG LANE, SUITE O
                    COLUMBIA MD 21046


                    NALCO COMPANY
                    PO BOX 70716
                    CHICAGO IL 60673-0716


                    NANCY BELL
                    2811 CHRISTOPHER AVE
                    BALTIMORE MD 21214


                    NELSON PRINTING CORPORATION
                    PO BOX 20427
                    CHARLESTON SC 29413-0427


                    NEXSEN PRUET
                    PO DRAWER 2426
                    COLUMBIA SC 29202


                    NOAH M. BERMAN
                    12 WILSON STREET
                    BERWICK ME 03901-2937


                    NORTHWEST FABRIC
                    10 CITY PLACE
                    SUITE 15H
                    WHITE PLAINS NY 10601


                    OLD DOMINION FREIGHT
                    PO BOX 415202
                    BOSTON MA 02241-5202


                    PAMELA BERMAN
                    900 FALLSCROFT WAY
                    TIMONIUM MD 21093-1705


                    PARKS PRINTING
                    8295 HENRY HARRIS ROAD
                    FORT MILL SC 29707
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                    QUILL OFFICE PRODUCTS
                    PO BOX 37600
                    PHILADELPHIA PA 19101-0600


                    RICOH COPIERS INC
                    70 VALLEY STREAM PKWAY
                    MALVERN PA 19355


                    ROGERS & BROWN
                    PO BOX 162005
                    ATLANTA GA 30321-0005


                    ROHM & HAAS COMPANY
                    PO BOX 741801
                    ATLANTA GA 30384-1801


                    ROMANTEX S.A.C.
                    AV PAZ, SOLDAN 185
                    SAN ISIDRO, LIMA, PERU


                    S. C. DEPT OF HEALTH AND ENVIRONMENTAL C
                    BUREAU OF RADIOLOGICAL HEALTH
                    2600 BULL STREET
                    COLUMBIA SC 29201


                    S. WALTER PACKAGING CORP
                    1210 NORTHBROOK DRIVE
                    SUITE 350
                    FEASTERVILLE PA 19053


                    SAILRITE



                    SOUTHEASTERN FREIGHT LINES
                    PO BOX 100104
                    COLUMBIA SC 29202-3104


                    STANLEY B. FRADIN
                    6875 WILLOW WOOD DRIVE
                    APT 2083
                    BOCA RATON FL 33434


                    STAR TEXTILE
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                    STEPHEN R. LEADERMAN
                    675 PRESIDENT ST., STE 2304
                    BALTIMORE MD 21202


                    SUPPLYONE ROCKWELL, INC
                    PO BOX 534331
                    ATLANTA GA 30353-4331


                    TENCARVA MACHINERY CO
                    PO BOX 409897
                    ATLANTA GA 30384-9897


                    THE PARKER COMPANY



                    THE STROUD PURCHASING GROUP
                    5950 SYMPHONY WOODS
                    COLUMBIA MD 21044


                    THE TONER COMPANY
                    20533 BISCAYNE BLVD
                    #510
                    MIAMI FL 33180


                    THOMPSON COBURN LLP
                    ATTORNEYS AT LAW
                    PO BOX 18379M
                    SAINT LOUIS MO 63195


                    THUNDERBOLT GLOBAL LOGISTICS
                    1501 SAINT PAUL STREET, STE 127
                    BALTIMORE MD 21202


                    TIPCO TECHNOLOGIES
                    11412 CRONHILL DR
                    OWINGS MILLS MD 21117


                    TM CAPITAL
                    1230 PEACHTREE STREET, NE
                    SUITE 550
                    ATLANTA GA 30309


                    U.S. LOGISTICS INC
                    PO BOX 225
                    ELIZABETH NJ 07207
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                    USF HOLLAND INC.
                    27052 NETWORK PLACE
                    CHICAGO IL 60673


                    VAN ANTIMO USA INC.
                    1326 FIFTH AVENUE, SUITE 343
                    SEATTLE WA 98101


                    VANTAGE CHEMICAL CORPORATION
                    PO BOX 8851
                    ASHEVILLE NC 28814


                    VERITIV OPERATING COMPANY
                    VERITIV-COLUMBIA
                    PO BOX 409884
                    ATLANTA GA 30384-9884


                    VERTICAL
                    8840 STANFORD BLVD
                    SUITE 4100
                    COLUMBIA MD 21045


                    VERTICAL COMMUNICATIONS, INC.
                    PO BOX 654180
                    DALLAS TX 75265


                    W.B. MASON CO. INC
                    PO BOX 981101
                    BOSTON MA 02298-1101


                    WALLTRACTS



                    YATES BLEACHERY
                    PO BOX 800
                    FLINTSTONE GA 30725


                    YRC
                    PO BOX 13573
                    NEWARK NJ 07188-3573


                    ZORO TOOLS INC
                    PO BOX 5233
                    JANESVILLE WI 53547-5233
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                                                               United States Bankruptcy Court
                                                                     District of South Carolina
 In re      Rockland Industries, Inc.                                                                   Case No.
                                                                                  Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Rockland Industries, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 5, 2021                                                     /s/ Michael M. Beal
 Date                                                                Michael M. Beal
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Rockland Industries, Inc.
                                                                     Beal, LLC
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                                                                     Columbia, SC 29211
                                                                     803-728-0803
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